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                               EXHIBIT 41




                               EXHIBIT 41



                                                                     Exhibit 41
                                                                     Page 668
    Case 2:18-cv-08048-SVW-JC Document 80 Filed 10/07/19 Page 2 of 126 Page ID #:1882
9/30/2019           Elon Musk on Twitter: "The holier-than-thou hypocrisy of big media companies who fay claim to the truth, but publish only enough to suga ...


                                                   Tweet                                                                             Q Search Twitter


    ©       Home                                   Elon Musk$
                                                   @elonmusk

    #       Explore                        The holier-than-thou hypocrisy of big media companies
                                           who lay claim to the truth, but publish only enough to
    4;.     Notifications                  sugarcoat the lie, is why the public no longer respects
                                           them
    B       Messages
                                                                                                                                                       Welcom,

                                                Electrek.Co @ElectrekCo · May 23. 2018                                                Twitter just got lots of new
    l:::J   Bookmarks
                                            Tesla (TSLA) could rally as media negativity is 'increasingly immaterial', says Baird
                                                                                                                                     personalize your color and tf
                                                                                                                                    as well as control your dark rr
                                            electrek.co/2018/05/23/tes... by @fredericlambert                                                               now.
    I§      Lists


            Profile


    e       More                                                                                                                    Relevant people

                                                                                                                                            Elon Musk&
                                                                                                                                            @elonmusk

                                                                                                                                            Electrek.Co
                                                                                                                                            @ElectrekCo
                                                                                                                                            Following the electric
                                                                                                                                            Industry and green e(
                                                                                                                                            SolarCity and more.

                                                                                                                                            Fred Lambert     G
                                                                                                                                            @Fredericlambert
                                          2:25 PM· May 23, 2018 · Twitter for iPhone
                                                                                                                                            Editor-in-Chief at @E
                                                                                                                                            open for tips or email
                                           11.SK Retweets      48.8K Likes                                                                  fred@9to5mac.com -
                                                                                                                                            ideas at zalkon.com


                                                                                                                                    Trends for you
                                            This Tweet is unavailable
                                                                                                                                    Civil War

                                                   Elon Musk& @elonmusk · May 23, 2018                                              #PodcastsOnSpotify
                                                   The media has earned this mistrust. But maybe there is a solution.               11\e best new shows aren't 01
                                                   0     255             629       Q 7K                                                Promoted by Spotify


                                                   Molly Jong-Fast G @MollyJongFast · May 23, 2018                                  #FearTWD
                                                   Ugh, come on ... why yoCJ gotta be this way @elonmusk
                                                   0     49              2              179                                         #Married2Med

                                                                                                                                    Kamara
                                            This Tweet is unavailable

                                                                                                                                    Show more
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                                                   Michelle Stewart @minerva411 · May 23, 2018
                                                   My fav response by far, thank you @jessphoenix2018                               Morev        2019 Twitter, Inc.



                                                          Jess Phoenix                 @jessphoenix2018 · May 23, 2018
                                                       Replying to @elonmusk
                                                       @SethMacFarlane called, and he wants @TheOrville's Majority Rule
                                                     episode plot back.


                                                                         3         v    41

                                            This Tweet is unavailable

https:/ftwitter.com/elonmusk/status/999355619390865408                                                                                                            1/3

                                                                                                                                        Exhibit 41
                                                                                                                                        Page 669
    Case 2:18-cv-08048-SVW-JC Document 80 Filed 10/07/19 Page 3 of 126 Page ID #:1883
9/30/2019            Elon Musk on Twitter: "The holier-than-thou hypocrisy of big media companies who lay claim to the truth, but publish only enough to suga ...


                                                    Michelle Stewart @minerva411 · May 23, 2018                                       Q    Search Twitter
                                                    I know, right! She nailed it
     @       Home                                   0 3                            v   6

                                                    5 more replies
     #       Explore
                                                     Wikileaks      @wikileaks · May 24, 2018                                    v
                                                     Replying to @elonmusk
     4:,.1   Notifications
                                                     That's why @Wikileaks publishes full document archives ("scientific
                                                    journafism" i.e reproducible results) and why CNN responds fike this:
     B       Messages
                                                         Wikileaks      @wikileaks · Oct 16, 2016
                                                      CNN falstely states that it unlawful for the public--but not for CNN--to
     hi      Bookmarks
                                                      search Wikileaks #PodestaEmails


     ~       Lists


             Profile


    e        More




                                                    Reson8 the G(ra)i(t) @Reson8theGrait · May 24, 2018                       v
                                                    LMAO see @elonmusk u publish the truth someone will lie and say its illegal
                                                    to view it anyways. @cnn i/Qanon

                                                    0                              v   63




https://twitter.com/elonmusk/status/999355619390865408                                                                                                        213

                                                                                                                                          Exhibit 41
                                                                                                                                          Page 670
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                               EXHIBIT 42




                               EXHIBIT 42



                                                                     Exhibit 42
                                                                     Page 671
 Case 2:18-cv-08048-SVW-JC Document 80 Filed 10/07/19 Page 5 of 126 Page ID #:1885


From:           Dave Arnold [/O=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP
                (FYDI BO HF23SPDLT)/CN=RE Cl Pl ENTS/CN=29DFOA7 448F04984910EC59F5077BD85-DAVE ARNOLD]
Sent:           9/4/2018 1:46:44 PM
To:             Juleanna Glover Liuleanna@ridgelywalsh.com]
Subject:        FW: FW: BuzzFeed News: Elon



See below. !'l! call you.

From: Ben Smith <ben@buzzfeed.com>
Sent: Tuesday, September 4, 2018 1:44 PM
To: Dave Arnold <dwarnold@tesla.com>
Subject: Re: FW: BuzzFeed News: Elon

Hi Dave,

Happy to chat, but you've been doing this long enough to know that you agree to the terms of a conversation in
advance.

I'm at 646 369 3687 if you want to give a call right now.

Ben



Ben Smith
@buzzfeedben
Signal/cell: 646 369 3687

On Tue, Sep 4, 2018 at 4:41 PM, Dave Arnold <dwamold@tesla.com> wrote:
 Hi Ben-


Do you have a second to chat about this·? My understanding is the emails Elon sent that Ryan is referring to below were
dearly labeled "Off the Record'', yet he is nonetheless intending to publish them. That doesn't seem right.


Thanks,


 Dave




From: Ryan Mac <ryan.mac@buzzfeed.com>
Sent: Tuesday, September 4, 2018 1:04 PM
To: Dave Arnold <dwarnold@tesla.com>
Subject: BuzzFeed News: Elon


Hey Dave,
                                                                                   h©XHIBIT

Hope you had a nice long weekend.                                                  Depor_e,~alq j
                                                                                   JlJ.w.tLRpt/i!_!_
                                                                                     WWW.DEPOBOOKPRODUCTS.COM

                                                                                                          Exhibit 42
                                                                                                          PageTESLA000559
                                                                                                                672
Case 2:18-cv-08048-SVW-JC Document 80 Filed 10/07/19 Page 6 of 126 Page ID #:1886



Just wanted to give you a heads up that we're working on a story about Elon and some accusations he made to
me about the British diver Vernon Unsworth. Elon emailed me last week with some new accusations that we
intend to publish. I wanted to see if Tesla PR had any response to that. In addition, we wanted to pose the
following question:


Does Tesla and its board believe that Elon Musk is still the right person to lead the company in the future?


Feel free to ring me if you have any questions.


Thank you,




□
Ryan Mac I BuzzFeed News I Senior Technology Reporter Cell: (949) 315-9364 I Office: (415) 477-1620
@rmac18 i l21 2nd Street, 3rd Floor, San Francisco, CA 94105 J
                                                                                                      J




https://wv,rw.buzzfoed.com/ryanma.c




                                                                                                Exhibit 42
                                                                                                PageTESLA000560
                                                                                                      673
Case 2:18-cv-08048-SVW-JC Document 80 Filed 10/07/19 Page 7 of 126 Page ID #:1887




       From:                   Google Alerts
       To:                     ~
       Subject:                Google Alert - Elon musk
       Date:                   Sunday, July 15, 2018 7:03:31 PM




             Elon musk
             Dnily update         July 16, 2018

             NEWS



             Elon Musk just called one of the Thai cave rescuers a pedophile
             Vox
             While the rest of the world celebrated the rescue of 12 Thai boys and their soccer coach trapped in a
             cave in northern Thailand this week, Elon Musk is ...

             Elon Musk Calls a Diver That Rescued Thai Soccer Team a 'Pedo' on Twitter - TIME
             Elon Musk taking heat for calling British diver who aided Thai cave rescue 'pedo' on Twitter - USA
             TODAY
             Elon Musk calls British diver in Thai cave rescue a 'pedo' in baseless attack - The Guardian
             Full Coverage


             L J     I L   l       F,ag as ,rrelevart




             Tesla CEO Elon Musk Donates Nearly $40K to Republican PAC: Report
             NBC Bay Area
             Tesla CEO Elon Musk reportedly donated nearly $40,000 to a Republican political action committee,
             becoming one of their top 50 donors last quarter, ...

             Elon Musk touts environmental, human rights bonafides in an effort to downplay political donations -
             CNBC
             Hey Elon Musk Fans, Don't Take It Personally, He Is Just Playing The Political Game - Forbes
             Elon Musk Just Gave Almost $40000 to Republican-Allied Group - Bloomberg
             Full Coverage

                       ~           Flag as ,rrclevart




             Elon Musk opens Tesla Model 3 sales to all. Auto sales experts give 3
             reasons consumers may ...
             CNBC
             The car is Elon Musk's attempt to make a mass-market sedan in the price range of consumers not in
             the luxury-car segment. The electric-car maker ...

             Elon Musk says the Model 3 represents Tesla's last 'bet the company' initiative - BGR
             Full Coverage

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             L J




                                                                                                                     Exhibit 43
                                                                                                                     Page 674MUSK 000854
Case 2:18-cv-08048-SVW-JC Document 80 Filed 10/07/19 Page 8 of 126 Page ID #:1888




           Diver involved in Thai cave rescue slams Elon Musk's sub as a PR stunt
           Yahoo News
           While Elon Musk's offer of a submarine to help rescue 12 boys and their soccer coach from a
           Thailand cave made for interesting news, not everyone is ...

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           LJ L JL J


           SpaceX launch crisis: Elon Musk UNLIKELY to send
           manned crews to ISS in 2019
           Express.co.uk
           The two rocket companies will most likely not send astronauts into orbit any
           time soon according to a US Government audit report. SpaceX and Boeing ...
                                     rel
           LJLJLJ

           WEB



           Elon Musk courts new controversy after tweeting, then deleting , an attack
           on a British cave explorer
           MSN.com
           Elon Musk launched into a blistering Twitter tirade early Sunday against a British explorer who
           helped spearhead the rescue of a youth soccer team ...

                            F " --    - -
           L JL JL J


           'A Lot of Hoped-for Automation Was Counterproductive', Remembers Elon
           Musk
           Slashdot
           Thursday Elon Musk gave a surprisingly candid interview about Tesla's massive push to increase
           production of Model 3 sedans to 5000 a week.

           LJLJLJ




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                                                                                                             Exhibit 43
                                                                                                             Page 675MUSK 000855
Case 2:18-cv-08048-SVW-JC Document 80 Filed 10/07/19 Page 9 of 126 Page ID #:1889




       From:                  Google Alerts
       To:                   ~
       Subject:              Google Alert - Elon musk
       Date:                 Monday, July 16, 2018 7:03:37 PM




             Elon musk
             Dnily update        July 17, 2018

             NEWS



             Tesla falls 2% after British diver mulls legal action over Elon Musk's
             baseless 'pedo guy' claim
             CNBC
             Tesla's stock fell Monday after a British diver involved in the mission to save 12 Thai boys and their
             soccer coach said he is considering legal action ...

             Elon Musk tweets he'll "bet ya a signed dollar" that Thai cave rescuer is a "pedo" - TechCrunch
             If You're Calling Someone a 'Pedo' on Twitter, Elon Musk, It's Time to Take a Long, Hard Look at ... -
             Inc.com
             Elon Musk makes unfounded accusation against T hai cave rescuer - CNNMoney
             Full Coverage

             l    J    I [ ]      Flag as 1rrelevart




             What's Going on With Elon Musk? How the Happy
             Billionaire Rocket Scientist Became a ...
             TIME
             It ought to be fun being Elon Musk. You get to build rockets. You get to build
             cars. You get to be really, really famous and -    not for nothing -   really, ...

             Will The Real Elon Musk Please Stand Up - Forbes
             Should Tesla Actually Fire Elon Musk? - TheStreet.com
             Is Elon Musk Having a Manic Episode? - Inc.com
             Full Coverage

                                  Flag as 1rrelevart
             LJ .......J LJ



             Will Elon Musk's antics hurt his businesses?
             CNNMoney
             Once again, Elon Musk is in the middle of a controversy of his own making. And he may be testing
             investors' patience. Over the weekend, the tech ...

                                  F'   a•
             LJ .......J LJ


             When Politics Meets Values: Elon Musk's Climate Change Philanthropy
             Forbes




                                                                                                                      Exhibit 43
                                                                                                                      Page 676MUSK_000852
Case 2:18-cv-08048-SVW-JC Document 80 Filed 10/07/19 Page 10 of 126 Page ID #:1890




           Elon Musk's record in business is one of a dedication to attacking some of the world's most pressing
           issues through corporate models. In doing so (and ...

                             F "'
           LJLJLJ

           Elon Musk Signed A 350-Year-Old Book With DeepMind's Demis
           Hassabis
           Forbes
           Business magnate Elon Musk enters the Heavenly Bodies: Fashion & The Catholic Imagination
           Costume Institute Gala at The Metropolitan Museum ...

                             F g
           LJLJLJ

           How internships helped Elon Musk figure out his future
           CNBC
           That was the case for Elon Musk. Before he became a billionaire tech mogul,
           Musk got a taste of professional life as an intern for various employers, ...
                             F




           WEB



           Elon Musk Calls Key Player in Thai Cave Rescue a 'Pedo'
           Atlantic Broadband
           Elon Musk reportedly went on a Twitter rant Sunday against a key player in the recent rescue of 12
           boys and their soccer coach from a cave in ...

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           LJLJLJ



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                                                                                                                  Page 677MUSK 000853
Case 2:18-cv-08048-SVW-JC Document 80 Filed 10/07/19 Page 11 of 126 Page ID #:1891




        From:                     Google Alerts
        To:                   ~
        Subject:              Google Alert - Elon musk
        Date:                 Tuesday, September 04, 2018 7:02:06 PM




              Elon musk
              Dnily update           S, •pl mber 5, 2018

              NEWS



              Elon Musk Triples Down on Pedophilia Claims Against
              American Diver in Thailand
              Fortune
              Elon Musk has piled on previous accusations of pedophilia against Vernon
              Unsworth, an American who has lived for many years in Thailand, and who ...

              Elon Musk doubles down on personal attack against cave rescuer, calls him 'child rapist' -
              MarketWatch
              Elon Musk to 'Pedo Guy: 'IF**king Hope He Sues Me' - Sputnik International
              Elon Musk tells a reporte r to 'stop defending child rapists' as he doubles down on attacking ... -
              Business Insider
              Full Coverage

              LJ .......J   t.J       Flag as ,rrelevart




              Elon Musk Shares SpaceX Video of Dragon Leaving the
              Space Station
              Inverse
              On Monday, CEO Elon Musk shared a video on his personal Twitter page of
              the craft departing from the International Space Station last month, as part ...

              Elon Musk Shares SpaceX Video of Dragon Leaving the Build Spot - Newsline
              Full Coverage


              L J
                              1       F-1ag as irrelevant




              70-hour weeks and 'WTF' emails: 42 employees reveal the
              frenzy of working at Tesla under the 'cult ...
              Business Insider Nordic
              One weeknight in the spring of 2016, Elon Musk, CEO of Tesla, walked the
              floor of his car factory in Fremont, California. He was not alone. On his arm ...

              Paint issues causing Tesla Model 3 bottlenecks, Elon Musk admits -Autoweek
              Why Elon Musk shouldn't worry much about SEC ban - Automotive News
              Elon Musk works so many hours at Tesla, employees are constantly finding him asleep under ... -
              SFGate
              Full Coverage




                                                                                                                    Exhibit 43
                                                                                                                    Page 678MUSK_000821
Case 2:18-cv-08048-SVW-JC Document 80 Filed 10/07/19 Page 12 of 126 Page ID #:1892




           nnn               Flag as irrelevart




           Elon Musk head-butted car in Tesla factory - reports
           TimesLIVE
           Elon Musk apparently got so angry that an assembly line at Tesla lnc.s electric car factory in
           California stopped moving when he got close to it that he ...

           Tesla Model 3 Production Target Missed in Spite of Earlier Claims by CEO Elon Musk - News18
           Full Coverage

           L.J L.J   D       Flag as ,rreleval"I




           Elon Musk Triples Down on Pedophilia Claims Against
           British Diver in Thailand
           Fortune
           Elon Musk has piled on previous accusations of pedophilia against Vernon
           Unsworth, a Briton who has lived for many years in Thailand, and who ...

                                        - _,V(... •
           L JL JL J


           Elon Musk to skip MOVE, India's clean mobility summit to be kicked off by
           PM
           Moneycontrol.com
           Elon Musk will not attend MOVE, a first-of-its-kind two-day summit on mobility being organised by
           Niti Aayog in the national capital. While the ...
                             F .ig __      •v·
           LJ   L.J L.J


           You've heard of Elon Musk, but what about his brother?
           Hear about his ties to Northeast Ohio on ...
           Cleveland 19 News
           Live video from Cleveland19 News is available on your computer, tablet and
           smartphone during all local newscasts. When Cleveland19 News is not ...

                             F
           LJ L.J LJ


           Matt Levine Dissects Elon Musk's Controversial Tweet
           Bloomberg
           It's been quite a few weeks for Tesla and its CEO Elon Musk. Ever since he tweeted, in early August,
           that he was taking Tesla private and that funding ...
                             r          rel v· .
           UL.JU

           Why Musk and Tesla Bulls Shouldn't Worry Much About an SEC Ban
           Bloomberg
           For Tesla Inc. bulls, a bet on the company is very much a bet on Elon Musk, which is why investors
           might be worried about a regulatory probe leading ...




                                                                                                                Exhibit 43
                                                                                                                Page 679MUSK_000822
Case 2:18-cv-08048-SVW-JC Document 80 Filed 10/07/19 Page 13 of 126 Page ID #:1893




           0 0 0             Flag as irrelevart




           Musk renews pedophilia claims against diver in Thai cave rescue
           CBS News
           Elon Musk is apparently renewing his claims that a British diver who assisted in the rescue of a youth
           soccer team from a Thai cave earlier this year is ...

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                                                                                                                    Page 680MUSK_000823
Case 2:18-cv-08048-SVW-JC Document 80 Filed 10/07/19 Page 14 of 126 Page ID #:1894




        From:                    Google Alerts
        To:                   ~
        Subject:              Google Alert - Elon musk
        Date:                    Friday, September 21, 2018 7:02:57 PM




              Elon musk
              Dnily update          S,•pl mber 22, 2018

              NEWS



              SpaceX gets into space tourism while the Department of Justice gets into
              Tesla
              The Verge
              You may remember Unsworth as the cave diver who Elon Musk called a pedo. Musk apologized
              before doubling down a couple times and essentially ...

              SpaceX Exec Says Company Would Launch A Weapon Into Space In 'Defense Of This Country' -
              The Drive
              SpaceX's BFR rocket and spaceship look more real than ever in new 4K renders - Teslarati
              SpaceX's first completed BFR spaceship section spotted in huge Port of LA tent - Teslarati
              Full Coverage

              l    J    I [ ]        Flag as 1rrelevart




              Tesla and SpaceX's uphill climb and Elon Musk's relentless drive
              captured perfectly in tribute video
              Teslarati
              Elon Musk is a man who never takes the easy way out. From starting SpaceX in 2002 to pursue his
              dreams of making humans an interplanetary ...

              Tesla Cars Will Soon Get This Huge Feature - Tom's Guide
              Tesla says dash cam feature using car's built-in cameras is coming soon - Digital Trends
              Two Things to Learn From Elon Musk Smoking Pot While Attending a Podcast Interview - Market Biz
              Full Coverage

                                     Flag as 1rrelevart
              LJ .......J LJ



              Three ways Elon Musk can stop the wheels coming off Tesla
              Toronto Star
              Elon Musk is one of the most interesting people alive. He is the Howard Hughes of our time, a serial
              entrepreneur, a trailblazer in several of the ...

              Tesla Slips as Another Executive Reportedly Exits - Barron's
              Full Coverage


              LJ .......J   LJ       F,ag as 1rrelevart




                                                                                                                     Exhibit 43
                                                                                                                     Page 681MUSK_000793
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           Billionaire investor says not fair Elon Musk 'gets a pass' over bombshell
           tweets
           Fox Business
           Billionaire investor Sam Zell can't seem to wrap his head around how Tesla CEO Elon Musk wasn't
           penalized for making a false statement on Twitter ...
                             F        ·- ...vc.. .
           LJLJLJ


           Elon Musk Explains Tesla Model 3 High Safety Score
           With Ice Skater Analogy
           Inverse
           CEO Elo n Musk said on Twitter that its electric car design, with the heavy
           batteries under the car and an empty front trunk, "helps improve forward ...

           Slow-motion crash footage shows a Tesla Model 3 crumpling into walls and being smashed by ... -
           Daily Mail
           Indian Origin Tesla Model X Owner Escapes Unhurt After Plane Crashes on Electric SUV - News18
           Full Coverage

           LJ LJ     D       F,ag as 1rrelevart




           Elon Musk, Please Hire Me As An Astronaut For Space X's BFS
           Science 2.0
           Dear Mr Musk, you should hire me to fly Yusaku Maezawa to the moon and back. Especially if you
           want to connect to the past and future history of ...

                             , 19
           LJLJU

           How Tesla & Elon Musk Inspired Me To Start An Electric Vehicle
           Company
           CleanTechnica
           September 20th, 2018 by Guest Contributor. Originally published on EVANNEX. By Michael
           Schoening, President, CityFreighter Inc. I've followed ...

                             F'
           LJLJLJ


           Arianna Huffington says tech can do better, from Uber to Elon Musk
           CNET
           Author and serial startup founder Arianna Huffington is on a mission to make tech healthy again,
           whether it's helping put Uber's house in order or ...

           LJLJLI

           Elon Musk's Guide to Tomorrow: How to Fix Earth, and Also Leave It
           The New Yorker (satire)
           If I don't do something soon, Earth will not have much time left. Climate change, overpopulation, and
           general human stupidity threaten the very .. .




                                                                                                                   Exhibit 43
                                                                                                                   Page 682MUSK_000794
Case 2:18-cv-08048-SVW-JC Document 80 Filed 10/07/19 Page 16 of 126 Page ID #:1896




           DOD                  Flag as irrelevart




           Another One Out the Door: Now It's Tesla's Supply Chain
           Chief Who's Leaving
           Fortune
           Another Tesla vice president is leaving the company, according to people
           familiar with the matter, as Elon Musk struggles to contain an exodus of ...

           Tesla Loses Another Executive as Supply Management VP Reportedly Resigns - The Drive
           Tesla loses another executive amid continuing exodus - The National
           Tesla loses its VP of supply chain management - Silicon Valley Business Journal
           Full Coverage

                                Flag as 1rrelevart
           LJLJt_J

           WEB



           elon ru ok
           Art19
           Elon Musk is having a bit of a week, a month, a year. Now the Department of Justice is investigating
           him, as is Today, Explained.
                                f   g    re,   Jnt
           LJLJLJ




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                                                                                                                  Page 683MUSK_000795
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        From:                     Google Alerts
        To:                       ~
        Subject:                  Google Alert - Elon musk
        Date:                     Monday, September 17, 2018 7:06:46 PM




              Elon musk
              Dnily update           S, •pl mber 18, 2018

              NEWS



              Elon Musk Is Sued by Cave Explorer He Accused of Being a Pedophile
              New York Times
              Elon Musk, the brash Silicon Valley billionaire, was sued on Monday by a British cave explorer he
              had accused of being a pedophile after the two ...

              British cave diver sues Elon Musk for defamation over "pedo guy" tweets - Ars Technica
              Elon Musk wants to fix your banged-up Tesla in under an hour - CNET
              Elon Musk vows to fix a Tesla service problem that has been driving customers crazy - Business
              Insider
              Full Coverage


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              Watch: Elon Musk reveals the SpaceX mystery moon traveler
              Vex
              No human being has flown near the moon since December 1972, when the Apollo 17 mission
              returned to Earth. Elon Musk, via his rocket company ...

              Watch Elon Musk announce SpaceX's first Moon passenger today at 6PM PT - The Verge
              Live stream: Elon Musk to name first private passenger to fly around moon on SpaceX BFR - USA
              TODAY
              Here's a new peek at what SpaceX's forthcoming BFR will look like - Mashable
              Full Coverage

                         ~            Flag as 1rrclevart




              SpaceX founder Elon Musk sued by diver who helped with Thai cave
              rescue
              ABC News
              "Elon Musk falsely accused Vern Unsworth of being guilty of heinous crimes. Musk's influence and
              wealth cannot convert his lies into truth or protect ...

              Elon Musk sued for libel by British Thai cave rescuer - BBC News
              Elon Musk sued by Thai-cave rescue volunteer he called a 'child rapist' - Washington Post
              British diver sues Elon Musk for $75000 over 'pedo' claim - The Guardian
              Full Coverage

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                                                                                                                  Exhibit 43
                                                                                                                  Page 684MUSK 000805
Case 2:18-cv-08048-SVW-JC Document 80 Filed 10/07/19 Page 18 of 126 Page ID #:1898




           Elon Musk is about to name the first person to fly around
           the moon in a giant new SpaceX rocket ship
           Markets Insider
           The rocket company, founded by Elon Musk, will release that passenger's
           name and more information about the mission this evening. A hint that Musk ...

                              F ~         .JVL •
           LJLJLJ

           Elon Musk recruits Dogecoin creator to fight cryptocurrency scambots
           TNW
           We might finally be getting an antidote to Twitter's cryptocurrency scambot virus - thanks to none
           other than Tesla CEO Elon Musk. Determined to stop ...

           LJLJLJ


           Here's what SpaceX's ship that will fly passengers around
           the moon will look like
           Mashable
           Just a few hours before SpaceX reveals the identity of BFR's first private
           passenger that will fly around the moon, Elon Musk tweeted two new
           images ...
                     . -,     Flag as irrelevant
           LJLJLJ


           Elon Musk Sued for Defamation by Cave Diver Over 'Pedo' Remarks
           Gizmodo
           In a series of tweets in July, Tesla CEO and SpaceX founder Elon Musk referred to a cave diver
           involved in the rescue of a Thai soccer team as a ...
                              F1:i, as rel 1a,
           LJLJLJ

           Elon Musk sued by the cave rescue diver he called a 'pedo guy' and 'child
           rapist'
           CNBC
           Tesla CEO Elon Musk has been sued by the Thai rescue diver he called a "pedo guy" and "child
           rapist" for libel and slander, according to the lawsuit ...

           LJLJLJ


           Diver who helped with Thai cave rescue sues Elon Musk
           KATC Lafayette News
           A British diver who helped rescue youth soccer players trapped in a Thai cave is suing Tesla CEO
           Elon Musk. Vernon Unsworth alleges that Musk ...

           LJLJLJ




                                                                                                                Exhibit 43
                                                                                                                Page 685MUSK_000806
Case 2:18-cv-08048-SVW-JC Document 80 Filed 10/07/19 Page 19 of 126 Page ID #:1899




           Elon Musk tweets new spacecraft photos
           CNBC
           CNBC's Andrew Ross Sorkin reports on Elon Musk's latest tweets of
           SpaceX's newest spaceships. Watch CNBC Live TV ...

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           LJLJLJ




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        To:                      ~
        Subject:                 Google Alert - Elon musk
        Date:                    Saturday, September 08, 2018 7:04:38 PM




              Elon musk
              Dnily update          S, •pl mber 9, 2018

              NEWS



              Analysis: Elon Musk is hurting Tesla with his bizarre behavior
              CNNMoney
              Investors should be focusing on Tesla's growing sales and ambitious plans to reinvent the American
              automotive world. They should be salivating over ...

              'It's the dumbest experiment in human history': Elon Musk rails against fossil fuel use and climate ... -
              Business Insider
              Tesla Stock Takes A Hi t - After Elon Musk Does The Same - NPR
              Tesla's Shares Fall 7% Amid Executive Departures and Elon Musk's Smokey Interview - Fortune
              Full Coverage


              L J      I L   l       F,ag as orrelevart




              Elon Musk's latest rant misses the point on sex trafficking in Thailand
              Quartz
              Elon Musk hasn't presented any evidence in claiming the Thai cave rescue diver who criticized him
              as a PR hound is a pedophile linked to sex ...
                                     F'             'Vt. •
              LJ ......J LJ


              Elon Musk seen smoking weed on podcast
              CNBC
              Elon Musk seen smoking weed on podcast ... CNBC's Andrew Ross Sorkin
              reports on Tesla CEO Elon Musk's appearance on Joe Rogan's podcast, ...

              LJ    ......J LJ


              Tesla stock drops after CEO Elon Musk takes hit of
              weed in live interview
              NBCNews.com
              Tesla stock drops after CEO Elon Musk takes hit of weed in live interview.
              copied! During an interview with comedian Joe Rogan on Thursday, Musk ...
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           Yale professor says Elon Musk openly smoking weed on
           camera shows that Tesla board is ...
           CNBC
           Jeffrey Sonnenfeld of the Yale School of Management said that Elon Musk's
           decision to smoke weed on Joe Rogan's podcast was a mistake and that ...
                              F~     re.       Jnl
           LJLJLJ

           Elon needs a vacation, not a couple of days at Burning
           Man , says NYT's Jim Stewart
           CNBC
           Jim Stewart, Pulitzer Prize-winning New York Times columnist, joins 'Squawk
           on the Street' to weigh in on the impact of Elon Musk being seen ...

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                                               VL
           LJLJLJ

           This imaginative drawing liked by Elon Musk reveals just how crazy
           SpaceX's first missions to Mars ...
           Business Insider
           Elon Musk, the founder of the rocket company SpaceX, has "aspirational" plans to launch people to
           Mars in 2024 and ultimately colonize the red ...

                              F ~    re.
           LJLJLJ

           Tesla stocks slide after video released of Elon Musk
           smoking marijuana
           ABC News
           Tesla stocks tumbled after a video of Elon Musk smoking marijuana was
           released. The video shows Musk smoking and drinking during an interview ...

                              F      r&
           LJLJLJ


           Market analysts are wary of Elon Musk's erratic behavior
           Axios
           Tesla's stock sank close to its lowest point of the year after CEO Elon Musk appeared to smoke
           marijuana in an interview with comedian Joe Rogan, ...

           L.J L.J LJ




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        Subject:              Google Alert - Elon musk
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              Elon musk
              Dnily update       August 31, 2018

              NEWS



              Steve Bannon lets rip on 'man child' Elon Musk
              Business Insider
              Former White House Strategist Steve Bannon told CNN that Elon Musk and
              other tech CEOs are "all man childs." Bannon said Musk had an ...

              Tesla CEO Elon Musk says the amount of time he spends on Twitter is 'like,
              almost nothing' - Business Insider
              Twitter's CEO Asked Elon Musk to Speak to All of Twitter's Employees. Here's the Truly Surprising ...
              - Inc.com
              Tesla's HR boss on leave of absence as Elon Musk makes waves, report says - CNET
              Full Coverage

                                  Flag 3$ irrelevant




              The Riveter CEO discusses response to her article about
              Elon Musk's tears
              KGO-TV
              Elon Musk's tears started a national conversation. In an interview with the
              New York Times, Musk got emotional opening up about his recent struggles ...

              Tesla HR chief takes leave of absence amid Musk tumult - Automotive News
              Jonathan Aberman: Elon Musk failed to meet the three principles of investing - WTOP
              Full Coverage


              LJ ._J      L.J     Flag as 1rreleval'l




              Tesla and Elon Musk had a wild August- Here's how
              the dramatic month played out
              CNBC
              Tesla and its headline-stealing CEO Elon Musk had a wild August. The month
              began with the electric car company reporting second-quarter earnings ...

              Warren Buffett Doesn't Think Twitter Has Helped Elon Musk Much - Fortune
              Elon Musk Fast Facts - KPAX-TV
              Dry eyes: Elon Musk says he shed no tears in interview - Boston.com
              Full Coverage

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              LJ          D


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                                                                                                                      Page 689MUSK_000827
Case 2:18-cv-08048-SVW-JC Document 80 Filed 10/07/19 Page 23 of 126 Page ID #:1903




           'Pedo,' 'Private' and 'Pravda': How Elon Musk's Twitter
           Posts Are Getting Tesla in Trouble
           Fortune
           Elon Musk has a lot going on at Tesla. As he attempts to change the course
           of car manufacturing history, he is also seemingly trying to change the ...

           Why Tesla bondholders never bought Elon Musk's 'take private' talk - Financial News
           British diver Elon Musk called a 'pedo' is preparing to sue for libel - NEWS.com.au
           Tesla's real problem isn't its shareholders - CNBC
           Full Coverage

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           LJLJLJ


           Elon Musk tweets '!' after watching this crazy footage of
           an airborne Tesla
           MarketWatch
           Getting a Tesla in the air is no easy task, considering a hefty battery pack is
           integrated into its chassis to give the electric vehicle a low center of gravity.

           Elon Musk Highlights Tense Video of Tesla Model S Flying Through the Air - Inverse
           Full Coverage

                           l   Flag as irrelevant
           LJLJLJ



           Catch up on Elon Musk's summer rollercoaster ride
           The Architect's Newspaper
           Elon Musk has had a summer of ups and downs in 2018, even after putting aside all of the twists-
           and-turns of his personal life and turmoil at Tesla.

           Elon Musk accused of astroturfing after SpaceX employees expressed support for Boring Co. project
           - Teslarati
           Full Coverage

                               Flag as 1rrelevart
           LJLJ      LJ

           Elon Musk may be getting sued by Thai cave diver he called a 'pedo'
           USA TODAY
           In a recent Twitter exchange, one user called out Tesla founder Elon Musk for calling a British cave
           diver helping in the Thai cave rescue a pedophile.

                               F   V        VL
           LlLJLJ


           Warren Buffett's advice for Tesla's Elon Musk
           Fox Business
           Berkshire Hathaway Chairman and CEO Warren Buffett has a word of advice for Elon Musk, the
           embattled Tesla CEO who's currently under ...

           Warren Buffett Talks Apple, Campbell Soup And Elon Musk - Benzinga
           Full Coverage




                                                                                                                  Exhibit 43
                                                                                                                  Page 690MUSK_000828
Case 2:18-cv-08048-SVW-JC Document 80 Filed 10/07/19 Page 24 of 126 Page ID #:1904




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           Tesla and Elon Musk's wild August -                              in nine minutes
           CNBC
           From earnings to take-private tweets, Tesla and CEO Elon Musk took us a
           wild ride in the month of August. Here's how CNBC covered the ups and ...

           LJLJLJ                                 '"

           Putin's Financial 'Consigliere' Is Trying to Make Elon Musk's Dream
           Come True
           Daily Beast
           Between intermittent green wisps of shrubbery in the bare Nevada desert, there is a 1,600-foot-long
           life size white tube. The structure, propped up from ...

                               ....::, - -   .... vV'
           LJLJLJ

           WEB



           Reality Check - Elon Musk
           Omny.fm
           The behavior of billionaire Elon Musk on Twitter draws comparisons to a certain US President.

           LJLJLJ




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        To:                         ~
        Subject:                    Google Alert - Elon musk
        Date:                       Wednesday, August 29, 2018 7:03:29 PM




              Elon musk
              Dnily update                 August 30, 2018

              NEWS



              Elon Musk revives Thai cave diver 'pedo' incident, says it's 'strange'
              rescuer hasn't sued
              USA TODAY
              Another day, another Elon Musk Twitter kerfuffle. The Tesla CEO and co-founder resurrected his
              calling of Vern Unsworth, the British diver who ...

              Elon Musk reignites 'pedo guy' controversy, says it's 'strange' cave diver hasn't sued him - CNBC
              Elon Musk Revives Vern Unsworth 'Pedo' Tweets Amid Concerns Over Erratic Twitter Posts -
              Fortune
              A Brief History of Elon Musk's Market-Moving Tweets - WIRED
              Full Coverage

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              Elon Musk astroturfing? SpaceX employees spoke at Boring Company
              town hall
              CNET
              You might have heard that Elon Musk's Boring Company wants to dig a short underground tunnel to
              Los Angeles' Dodgers Stadium. Well, the Boring ...
                                            F g         r&,_ ••mt
              LJ       .......J   L.J


              Dry eyes: Tesla's Musk says he shed no tears in interview
              ABC News
              Elon Musk is denying that he cried during a recent interview with The New York Times in which he
              described how he'd become overwhelmed by the ...

              Elon Musk in the firing line over Tesla's £8bn debt crisis after his aborted plan to take the electric ... -
              This is Money
              Tesla Bonds an Option for Elon Musk to Raise Capital - Nasdaq
              Elon Musk's next move: 5 big challenges facing Tesla - WTHITV.com
              Full Coverage

              l    J              n         Flag as irrelevant




              Elon Musk, it's time to quit Twitter, bruh




                                                                                                                             Exhibit 43
                                                                                                                             Page 692MUSK 000833
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           Los Angeles Times
           By his own admission, he's spending 120 hours a week at the office. He says his physical health and
           personal relationships have suffered. And yet, he ...

           LJLJLJ


           Elon Musk's Employees Posed as Ordinary Citizens at
           His Dodger Stadium Community Meeting
           Sports Illustrated
           A small number of Los Angeles residents showed up at Dodger Stadium on
           Tuesday night for a public hearing about billionaire futurist Elon Musk's ...

           Hardly anyone showed up for the first public hearing on Elon Musk's Dodger Stadium tunnel -
           Curbed LA
           Full Coverage

           LJ   LJ   D          Flag as irrelevant




           Elon Musk should shut up on social media but shouldn't
           be inauthentic, says PR expert
           CNBC
           Marvel Britto, The Britto Agency CEO, discuss the issues for executives on
           social media as high-profile CEOs like Tesla's Elon Musk have had public .. .

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        Subject:              Google Alert - Elon musk
        Date:                 Tuesday, August 28, 2018 7:02:24 PM




              Elon musk
              Dnily update          August 29, 2018

              NEWS



              How Elon Musk's cold calls to rocket scientists helped
              kickstart SpaceX
              CNBC
              Seventeen years ago, Elon Musk knew little about rockets, Mars or space
              technology. But he did have passion, curiosity and a cell phone. So, he ...

              It's Time for Apple to Buy Tesla and Kick Elon Musk to the Curb - Barron's
              Full Coverage

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              L J



              Keeping Tesla Public Won't Save Elon Musk From the SEC-or Angry
              Investors
              WIRED
              Two weeks after announcing he was looking to take the company private, CEO Elon Musk published
              a blog post saying that after speaking to advisers ...

              Do These Five Things And Avoid What Happened To Elon Musk - Forbes
              Elon Musk was right to drop his bungled plan to take Tesla private - The Conversation US
              Elon Musk's next move: 5 big challenges facing Tesla - WFMZ Allentown
              Full Coverage

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              Elon Musk Is Doubling Down on the Pedo Thing
              Jalopnik
              Less than a week after Tesla CEO Elon Musk announced that no, he in fact would NOT be taking
              Tesla private because the funding was not quite as ...

              Elon Musk: I never cried in New York Times interview - CNNMoney
              Elon Musk renews attacks on British cave diver he once called 'pedo' - NBCNews.com
              Elon Musk's Public Reckoning - Wall Street Journal
              Full Coverage

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              Azealia Banks now feels bad about sharing Elon Musk's secrets




                                                                                                               Exhibit 43
                                                                                                               Page 694MUSK 000835
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           The Mercury News
           Maybe the usually belligerent rapper Azealia Banks has genuinely taken pity on Tesla CEO Elon
           Musk, who reportedly went into meltdown mode in ...

           Azealia Banks Apologizes to Elon Musk - Papermag
           Azealia Banks Doesn't Want to Talk About Elon Musk Anymore - Rolling Stone
           Full Coverage

           L J L j   [l       Flag as ,rrelevart




           A non-profit is suing the city of Chicago over its proposed
           Hyperloop deal
           Business Insider
           ... failing to release documents pertaining to the city's agreement with Elon
           Musk's The Boring Company over a planned hyper-loop tunnel project.

           LJLJLJ

           Elon Musk's brother to open Next Door 'urban-casual' eatery in Pinecrest
           development
           cleveland.com
           If his name sounds familiar, think cars not food : Musk, 45, is the brother of Tesla co-founder Elon
           Musk. Construction is under way in the location - now ...
                              F   ~    re._
           LJLJLJ


           Elon Musk needs a number two to help run Tesla:
           Experts
           CNBC
           Jim Press, former Chrysler president, and Willie Pietersen, Columbia business
           professor, discuss Elon Musk hiring a COO to help operate the ...

           LJLJLJ

           Elon Musk's Dugout Loop To Take Fans To Dodger Stadium In Minutes
           CBS Los Angeles
           ELYSIAN PARK (CBSLA)- Imagine getting from Hollywood to Dodger Stadium in a mere four
           minutes. That's the proposal from Elon Musk's Boring ...
                              F
           LJLJLJ

           Elon Musk renews attack on British caver he accused of being a
           paedophile
           Telegraph.co.Uk
           Elon Musk has renewed his attack on the British caver involved in last month's rescue of a group of
           young Thai footballers, whom he had previously ...

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           LJLJLJ




                                                                                                                  Exhibit 43
                                                                                                                  Page 695MUSK 000836
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           Elon Musk's Big Transit Plans Are Precedent-Setting
           GlobeSt.com
           Elon Musk can never quite live up to his company's name. The Boring Co. has announced
           preliminary plans to build an underground high-speed ...
                             F~      re.   Jnl
           LJLJLJ

           WEB



           Q&A: Elon Musk, Tesla and the Saudi connection
           Wheels24
           For the company's investors, Tesla's CEO Elon Musk is a visionary whose electric car is giving us a
           glimpse into the future that successfully integrates ...
                             F,ag          int
           LJLJLJ

           As Long as Elon Musk Is Running Tesla, the Stock Has to Come Down
           RealMoney Pro - TheStreet
           Elon Musk moving past notions of privatization presents an interesting situation for Tesla (TSLA) .
           Personally, I think the incident as a whole displayed ...

           LJLJLJ



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        Date:                 Sunday, August 12, 2018 7:03:56 PM




              Elon musk
              Dnily update       August 13, 2018

              NEWS



              Elon Musk says he'll offer 'short shorts' as Tesla merchandise, in a new
              dig at stock's bearish ...
              CNBC
              Soon, they will also be able to buy Tesla "short shorts," according to a tweet from Tesla CEO Elon
              Musk, in his seemingly never-ending war of words .. .

              Two lawsuits accuse Elon Musk of false statements to boost Tesla share price - CNNMoney
              How Elon Musk Could Use Crypto to Take Tesla Private - Fortune
              Elon Musk, the new king of debt - The Outline
              Full Coverage

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              Tesla, Elon Musk facing lawsuits over tweets to take company private
              USA TODAY
              Tesla and its CEO, Elon Musk, face a pair of class action lawsuits claiming the billionaire violated
              federal securities law through tweets suggesting a ...

              Who Will Fund Elon Musk's Tesla Takeover? It Could Be Saudi Arabia - TIME
              Was Elon Musk's Tesla Buyout Tweet a Bluff After All? - Yahoo Finance
              Elon Musk sparks fury privatising Tesla 'on the CHEAP' after Twitter announcement - Express.co.uk
              Full Coverage

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              Elon Musk's family tree explained
              CNBC
              Elon Musk may be transforming everything from power to space travel, but Elon isn't the only
              entrepreneur in his family tree. Here's a look at the rest of ...

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              Azealia Banks Currently "At Elon Musk's House Alone For Days Waiting
              For Grimes"
              Stereogum
              "Literally been sitting at Elon Musk's house alone for days waiting for Grimes to show up and start




                                                                                                                     Exhibit 43
                                                                                                                     Page 697MUSK 000838
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           these sessions," Azealia Banks wrote on her ...
                             F
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           Elon Musk's "pedo" comment reveals true motives
           The Gateway
           During these events, tech billionaire Elon Musk-well known for his eccentric online personality-
           announced that he was sending his engineers to ...
                             F   ~   re. •v,,m
           LJLJLJ


           This Week in the Future of Cars: Show Me the Money
           WIRED
           There's the Elon Musk kind of gambling, and then there's the actual kind of
           gambling, with slot machines and cards. And cheating at that gambling.
                             F,ag _____ v;...




           Tesla Reveals Model 3 Performance Test After Elon
           Musk's DefCon Talk
           Inverse
           Video of the Tesla Model 3 Performance Edition came a day after company
           CEO Elon Musk attended the DefCon Hacking Conference in Las Vegas ...

                             F' ~
           LJLJLJ


           VIDEO: Forget a CAR, UBER Or Elon Musk's
           HYPERLOOP! Look At What THESE Idiots In NYC ...
           AutoSpies.com
           Tag Links: #nyc, #queens, #subway, #brooklyn, #subwaysurfing, #trainsurfing,
           #surfing, #mta, #traindelay, #stunts, #newyork, #trump, #russia, #putin, ...




           Artwork that's out of this world: US artist to launch huge sculpture diamond-
           shaped sculpture the ...
           Daily Mail
           Named, the Orbital Reflector, the installation is the length of a football field and will be launched on
           one of Elon Musk's SpaceX Falcon 9 rockets.
                             F
           LJLJLJ


           Lawsuits Accuse Elon Musk Falsifying Statements To Boost Tesla Stock
           CBS Philly
           Lawsuits Accuse Elon Musk Falsifying Statements To Boost Tesla StockSo far, there has been no
           comments from Tesla on the lawsuits. Animal Lovers ...




                                                                                                                      Exhibit 43
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              Elon musk
              Dnily update        July 21, 2018

              NEWS



              Beyond Elon Musk's Drama, Tesla's Cars Are Thrilling Drivers
              WIRED
              German engineers concluded the car cost about $28,000 to build (unsurprisingly, Elon Musk took to
              Twitter to call it "the best analysis of the Model 3 to ...

              Elon Musk Responds Hours After Analyst Report Citing Model 3 Cancellations Hits Tesla Stock -
              Fortune
              Tesla had over 7000 new orders (5000 Model 3's and 2000 S/X) last week, says Elon Musk -
              Electrek
              Tesla Model 3: Elon Musk Slams Analyst 'BS' And Reveals Latest Order Stats - Yahoo News
              Full Coverage

              LJ    .__J   O       Flag 3$ irrelevant




              Tech analyst: We want people to see the real Elon Musk
              CNNMoney
              "The public perception of Elon Musk more recently is he is thin-skinned and short-tempered," said
              tech analyst Gene Munster in an interview with ...

              Why Elon Musk isn't the hero we imagined - Engadget
              Analysis: Elon Musk and the forces of 'cognitive tribalism' - The Mercury News
              Elon Musk 'Should Be Shot,' Says Mother of British Diver the Billionaire Called 'Pedo' - Newsweek
              Full Coverage

                           ~       Flag as 1rrclevart




              Elon Musk, Google's DeepMind co-founders promise never to make killer
              robots
              CNBC
              Tesla and SpaceX billionaire Elon Musk and all three of the co-founders of Google's DeepMind are
              among the thousands of individuals and almost ...

              Fears killer robot armies threaten world peace as Elon Musk and tech giants vow to stop them - The
              Sun
              Full Coverage


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                                                                                                                   Page 700MUSK_000849
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           Who Should Play Elon Musk in All Six Thai Cave Rescue Movies?
           Vanity Fair
           Just one day after a youth soccer team was rescued from a cave in Thailand, Hollywood sprang into
           action: Pure Flix C.E.O. and co-founder Michael ...

           Six Picks to Play Elon Musk in the Six Thai Cave Rescue Movies Already in the Works - Gizmodo
           Full Coverage


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           Elon Musk PLEDGES not to manufacture 'disgusting' KILLER ROBOTS
           Express.co.uk
           Demis Hassabis at Google DeepMind and founder of SpaceX, Elon Musk, are among 2,400 people
           who signed the pledge which aims to discourage ...
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           LJ    l_J   LI


           Elon Musk gives tips to optimize Tesla Model 3 Performance, teases 0-60
           mph in 3.3 seconds
           Teslarati
           Elon Musk recently gave some tips for would-be owners of the Model 3 Performance -    in order to
           fully optimize the electric car's capabilities and ...

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           1._JLJLJ


           Trump, Musk and the art of the non-apology
           CNN
           Which brings us neatly to the other example this week: Elon Musk, the online entrepreneur and
           founder of Tesla, who casually flung an accusation of ...

                                            'VL
           LJLJLJ


           Dr. D's column: Elon Musk wants to know how to stop the criticism
           Economic Times
           Dr. D's column: Elon Musk wants to know how to stop the criticism ... To Err Is Human: Elon Musk
           And Other Famous People Who Messed Up 0 ... of 4.
                              F
           LJLJLJ


           If Tesla's brand is harmed in a material way, it's 'over':
           Expert
           CNBC
           Roger McNamee, Elevation Partners co-founder, discusses what impact Elon
           Musk's recent antics could have on Tesla's stock price and brand.

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           Flint mayor plans 'effective investment' with Elon Musk for recovery
           Mlive.com
           FLINT, Ml - Elon Musk and his team have been in touch with Flint Mayor Karen Weaver, and the two
           are talking about potential opportunities for Musk ...
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                                EXHIBIT 44




                                EXHIBIT 44



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   From:      James Gleeson
   Sent:      Tue 7/17/2018 12:49 PM (GMT-07:00)
   To:        Eva Behrend; Sean Pitt
   Cc:
   Bee:
   Subject:   FW: Additional Tweet Coverage




   From: Erica Chen <echen@tesla.com>
   Sent: Tuesday, July 17, 2018 3:47 PM
   To: Sarah O'Brien <sobrien@tesla.com>; Extra net Contact - Sam Teller (Tesla) <steller@tesla.com>;
   Extranet Contact - todd@tesla.com <todd@tesla.com>; Dave Arnold <dwarnold@tesla.com>; James
   Gleeson <James.Gleeson@spacex.com>
   Subject: Re: Additional Tweet Coverage

   The Guardian reports, "Musk and Tesla have gone silent since he deleted the tweets, ignoring repeated
   requests for comment since Sunday. Some shareholders, however, are speaking up."

   James Anderson of Baillie Gifford, Tesla's fourth-largest shareholder, told the Guardian that he agrees
   with some of Elon's past remarks calling out critical analysts, "but this is different. We are in contact
   with the company and we are hopeful that it is being taken with due seriousness." He said he would like
   to see "peace, quiet and execution" at Tesla.

   Gene Munster believes "it has to start with an apology." Loop Ventures published an open letter to Elon
   on behalf of investors, saying the comments to Unsworth "crossed the line" and calling for an apology.
   "Over the last 6 months, there have been too many examples of concerning behavior that is shaking
   investor confidence," the letter said.

   The Guardian, Tesla investors demand Elon Musk apologize for calling Thailand diver 'pedo'



   From: Erica Chen <echen@tesla.com>
   Date: Tuesday, July 17, 2018 at 9:29 AM
   To: Sarah O'Brien <sobrien@tesla.com>, Sam Teller <steller@tesla.com>, Todd Maron
   <todd@tesla .com>, Dave Arnold <dwarnold@tesla.com>, James Gleeson
   <James .Gleeson@spacex.com>
   Subject: Re: Additional Tweet Coverage

   This news cycle has now spread to major news media in all European markets. The Guardian says, " Even
   jokingly accusing someone of sexually abusing children isn't witty or clever. You grow out of these
   baseless, ridiculous epithets, don't you?" In Germany, Handelsblatt thinks "the cave drama in Thailand is
   finally a PR disaster for the EV pioneer," as "even many of his 22 million fans on Twitter have no
   sympathy for the insults." Spanish lifestyle magazine S Mada publishes the headline, " Rise and fall of
   Elon Musk, from iconoclast to hated tyrant like Trump," a comparison that other media also make. In
   Switzerland and France, media including Le Point and Romandie quote ETA analyst Roger Kay and write
   that "this is the most harmful branding thing Elon Musk has ever done." Quest-France adds, "The




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   beautiful rescue of the Thai children is now tarnished by this controversy," while Dutch outlet Das
   Ka pita I suggests, "If this was an attempt to deflect the attention from the other issue, of Elon Musk
   donating to Republicans, then it has succeeded wonderfully."

   UK
   BBC, British cave diver mulls legal action against Elon Musk after tycoon brands him 'paedo'
   BBC, British caver 'could sue' Elon Musk over Twitter attack
   The Guardian, The Guardian view on Elon Musk: a billionaire in need of humility: Editorial
   The Guardian, Elon Musk calls British diver in Thai cave rescue 'pedo' in baseless attack
   The Guardian, I know Elon Musk does good, but he's still a bonehead
   The Times, British caver Vern Unsworth considers suing Elon Musk over paedophile slur
   The Times, Space pioneer Musk cannot defy gravity
   The Times, Thai boys' rescuer Vern Unsworth could sue Elon Musk over paedophile smear
   Financial Times, Teamwork in Thailand triumphs over solo ego
   Financial Times, Just how many dimensions of chess is Elon Musk playing?
   Financial Times, Elon Musk attacks Thai cave rescuer in angry tweet
   The Telegraph, How Elon Musk went from tech superhero to internet villain
   City A.M., Tesla shares sink nearly three per cent after Musk calls British caver 'pedo guy' on Twitter
   City A.M., Tesla boss Elon Musk could face legal action after Thai cave rescuer 'pedo' comments
   The Sun, HIGHLY CHARGED Elon Musk's 'paedo' outburst at hero Brit caver wipes $2bn off Tesla shares as
   he face investor backlash
   The Sun, Brit cave hero who saved trapped Thai children threatens to sue Elon Musk for calling him 'a
   paedo' in vile Twitter rant
   ITV News, UK cave rescuer may sue Elon Musk after 'paedo' tweet I ITV News (YouTube)
   IB Times, Elon Musk Calls British Diver Who Helped Thai Schoolboys A 'Pedo Guy' In Twitter
   Outburst (YouTube)
   Daily Mail, Elon Musk's monstrous attack on one of the British heroes of the Thai cave rescue may have
   shredded his reputation with a single tweet
   Daily Mail, 'This ain't finished': British diver who helped save Thai cave boys says he may SUE Elon Musk
   after the US billionaire labelled him a 'pedo' in extraordinary Twitter rant
   Daily Mail, Elon Musk calls hero diver a 'pedo' and questions if he was even part of Thai cave rescue in
   extraordinary rant after the caver dismissed the billionaire's mini-submarine rescue plan
   Daily Mail, Tesla stock PLUMMETS after Elon Musk called British diver who rescued Thai soccer team a
   'pedo' and was unmasked as a top donor to a Republican PAC
   The Daily Star, Diver could sue Elon Musk: Tycoon in 'pedo' blast at rescuer
   JOE, Thailand diver could take legal action over Elon Musk's "pedo" remark
   Buzz.ie, Thailand rescue diver could sue Elon Musk for calling him a 'pedo'
   Independent, Thailand cave rescuer considers legal action against billionaire Elon Musk after 'pedo'
   tweet
   Independent , ELON MUSK HIT BY BARRAGE OF CRITICISM AFTER LATEST THAI CAVE RESCUE TWEET
   Evening Standard, Who is Elon Musk? What is his net worth? Who is his girlfriend Grimes and what is
   Tesla?
   Express, Elon Musk net worth: How much is Elon Musk worth? How much does he earn from Tesla?
   Express, British cave rescuer planning to SUE Elon Musk after billionaire brands him 'pedo guy'
   M etro, Elon Musk can 'stick his submarine where it hurts' says hero who saved Thai cave boys
   Mirror, Hero British diver may sue Elon Musk for calling him 'PEDO GUY' on Twitter after Thailand cave
   rescue criticism




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   Germany
   Zeit online, The lion and the cave
   Spiegel, Elon Musk insults cave diver
   Spiegel, "With one foot in hell"
   Handelsblatt, Elon Musk - Lost in the cave drama
   Handelsblatt, Elon Musk denounces acclaimed British cave diver as a pedophile
   Die Welt, Elon Musk insults cave diver
   Focus, That insulting gets Elon Musk towards cave diver
   F.A.Z., Musk insults cave diver
   Manager magazin, Cave Diver is considering lawsuit against Musk for insult
   Stern, Musk insults cave diver as pedo
   n-tv, "Pedo Guy" - Musk denounces cave rescuer in Thailand
   t-online, Lawsuit for insult threatens - Elon Musk calls Rescue Diver a pedophile
   Computer Bild, Cave drama in Thailand: Elon Musk freaks out on Twitter!
   Chip, Scandal over Tesla boss Elon Musk: bitter insult after rescue operation in Thailand
   Hamburger Abendblatt, Elon Musk describes diver in Thailand as pedophile
   Frankfurter Rundschau, Cave diver is considering lawsuit against Elon Musk
   Kolnische Rundschau, Billionaire Elon Musk insults cave diver
   Main Post, Musk insults cave diver
   Abendzeitung Munchen, Musk insults cave diver
   Augsburger Allgemeine, Cave Rescue Drama: Elon Musk insults Cave Diver on Twitter
   Stuttgarter Zeitung, Musk insults cave diver
   Rheinische Post, Cave rescuer from Thailand wants to sue Elon Musk
   Die Harke, Musk insults cave diver
   SWR3, Musk insults cave diver
   Heise, Elon Musk: bizarre quarrel with British cave rescuer
   GQ Magazine, After criticism: Elon Musk gets insultling against a cave rescuer
   Noizz, Elon Musk insults rescue diver as pedophile
   Vice, Elon Musk has referred to one of Thailand's rescue divers as a "pedo"
   Autohaus, Tesla CEO insults British diver
   Autokiste, Musk calls British diver a pedo
   Ngin Mobility, The thin-skinned Elon Musk
   Motor-Talk, Elon Musk insults cave diver on twitter
   Automobil Produktion, Elon Musk has an angry fight with British cave diver
   Auto Medienportal, Tesla, Twitter and "Pedo": The fail of Elon Musk
   Automobilwoche, Tesla founder loses temper on Twitter: Elon Musk gets into angry fight with British
   cave diver
   t -online, Elon Musk refers to rescue diver as pedophile
   NWZ, Bad dispute overshadows happy end
   PNP, Ugly retaliation surrounding the cave drama
   Rheinische Post, Cave diver starts fight with Musk
   OVB online, Speleologist is considering lawsuit against Elon Musk
   wallstreet online, Tweet shows dark side of Elon Musk
   Wired, Musk's tweets will have consequences
   W & V, Cave rescue becomes a PR disaster for Elon Musk
   Sputnik News, Reaching a limit: How Elon Musk ruins his image

   France




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   Le Point, Tesla: Elon Musk's escapades begin to worry
   Les Echos, Elon Musk gets carried away, Tesla stock fall
   Europe 1, Tesla shares vacillate after a new Elon Musk controversy
   JDD, Thai, Twitter and pedophilia: SpaceX and Tesla's boss Elon Musk slips again
   Capital, Elon Musk escapades: Tesla shares fall
   Les Numeriques, Elon Musk's escapade penalizes Tesla shares
   Le Figaro, Annoyed by criticisms, Elon Musk insults a rescuer from the Thai cave
   Quest France, Thai cave rescue: Elon Musk insults a rescuer of Pedophile
   Siecle Digital, "Pedo guy": when Elon lashes out (again) on Twitter
   Numerama, Annoyed by a rescuer, Elon Musk lashes out again on Twitter
   Liberation, Children survivors in Thailand: Elon Musk creates a controversy by treating a speleologist of
   "pedophile"
   La Repubblica, Elon Musk insults the rescuer of the Thai boys: "Pedophile"
   Wired, Why is Elon Musk arguing with the rescuers of the boys in Thailand

   The Netherlands and Belgium
   NU, Tesla share price drops after Twitter fight Elon Musk about small submarine
   AD, Elon Musk calls diver ofThai cave 'pedo' after criticism of unusable submarine
   AD, Elon Musk calls rescuer Thai soccer players a pedo
   Trouw, Tesla boss Elon Musk scolds diver on Twitter
   Bright, 'Elon Musk needs guidance'
   HLN, Tesla's share price drop after Elon Musk calls British diver "pedophile"
   HLN, Big outrage after tweet Elon Musk: "Diver who participated in rescue Thai footballers is a
   pedophile"
   De Standaard, Tesla punished
   De Standaard, Elon Musk scolds diver Thai cave for pedophile
   Techpulse, Tesla takes a beating after misbehavior by Elon Musk
   La Libre: Tesla: Elon Musk's escapades begin to worry
   RTBF, Tesla: Elon Musk's escapades begin to worry
   RTL, Tesla: Elon Musk's escapades begin to worry
   NOS, Tesla CEO Elon Musk calls diver Thai rescue operation pedo
   Manners, Diver goes down hard on Elon Musk, Tesla CEO calls him a pedo
   NRC, Diver Thai caves 'furious' after acquisitions of pedophilia Elon Musk
   De Telegraaf, Elon Musk calls Thai savior 'pedo' and is under fire
   LindaNieuws, Elon - Mr. Tesla - Musk calls rescuing diver Thailand 'pedo' in tweet
   Business Insider, Elon Musk called a British diver from the Thai cave rescue a 'pedo guy' - then deleted
   the tweets hours later with no explanation
   Welingelichtekringen, Big fuss about tweet Elon Musk: He calls the savior of Thai cave children a
   pedophile
   Das Kapital, Elon Musk calls someone a pedo and distracts the world from real problems
   Finanzen, Elon Musk called a British diver from the Thai cave rescue a 'pedo guy' - then deleted the
   tweets hours later with no explanation
   Panorama, Billionaire Elon Musk calls savior Thai football team 'pedo guy'
   De Gelderlander, Rejected Elon Musk calls rescuer Thai football players a 'pedo'
   Socialweb, Ugh, Elon Musk attacks British diver who called his submarine 'just a PR stunt'
   De Morgen, Big outrage after tweet Elon Musk, who denounces diver for pedophile
   Nieuwsblad, Elon Musk accuses criticaster who called his submarine "advertising stunt" of pedophilia
   Tech pulse, Elon Musk shocked by accusing diver for 'pedo'




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   7sur7, Elon Musk treats a diver who participated in the rescue in Thailand as "pedophile"
   Paris Match, Elon Musk calls rescuer ofThai children pedophile
   Knack, Musk rants on Twitter after criticism from savior Thailand
   Metronieuws, Speleologist considers complaint against Musk after accusation of pedophilia

   Norway
   Fjordabladet, Tesla stock dives after CEO launching pedo attack
   Sunnm0ringen, Tesla stock dives after CEO launching pedo attack
   Shifter, Tesla goes into reverse on stock exchange: Thailand-tweets being pointed out
   Dn.no, Downhill with Tesla stock after Musks pedo attack
   Adresseavisen, Tesla stock dives after CEO launching pedo attack
   ABC Nyheter, Tesla stock dives after CEO launching pedo attack
   NA24, Tesla stock dives after CEO launching pedo attack
   E24, Tesla stock dives after CEO launching pedo attack
   Aftenposten, Tesla stock dives after CEO launching pedo attack
   Resett, Tesla stock dives after CEO launching pedo attack
   Finansavisen, Twitter bullshit sinks Tesla stock
   Dagbladet, Musk called cave diver "pedo". That caused the Tesla stock to take a dive
   VG Nyhetsd0gnet, Tesla stock falls 3.5 % after Musk attack on diver
   E24 Aksjelive, Tesla stock falls after Twitter tirade from Musk
   Dn.no, Elon Musk with pedophilia accusations against Brit participating in Thai rescue operation
   Adresseavisen, Elon Musk with pedophilia accusations against Brit participating in Thai rescue operation
   Sunnm0rsposten, Elon Musk with pedophilia accusations against Brit participating in Thai rescue
   operation
   Avisen Agder, Elon Musk with pedophilia accusations against Brit participating in Thai rescue operation
   Dagsavisen, Elon Musk with pedophilia accusations against Brit participating in Thai rescue operation
   Folkebladet, Elon Musk with pedophilia accusations against Brit participating in Thai rescue operation
   Nettavisen, Elon Musk with pedophilia accusations against Brit participating in Thai rescue operation
   ABC Nyheter, Elon Musk with pedophilia accusations against Brit participating in Thai rescue operation
   Aftenposten, Elon Musk with pedophilia accusations against Brit participating in Thai rescue operation
   DN Investor, Elon Musk with pedophilia accusations against Brit participating in Thai rescue operation
   Firda Tidend, Elon Musk with pedophilia accusations against Brit participating in Thai rescue operation
   Fjordabladet, Elon Musk with pedophilia accusations against Brit participating in Thai rescue operation
   Sunnm0ringen, Elon Musk with pedophilia accusations against Brit participating in Thai rescue operation
   VG Nett, Musk calls caver diver "pedo"

   Finland, Sweden, Denmark
   lltalehti (Fl}, Thai cave rescue diver who was called pedophile by Elon Musk is thinking about legal action
   lltasanomat (Fl), Elon Musk attacked Thai rescue hero - deleted his tweet later
   Helsingin Sanomat (Fl), Elon Musk in dispute with hero diver: called him "pedophile" - thinking of legal
   actions
   Tekniikan Maailma {Fl), Elon Musk called rescue diver "pedophile" - Promised a video of his sub in the
   cave
   Vie (Fl}, Billionaire Elon Musk attacked Thai boys rescue diver on twitter
   Kauppalehti (Fl}, Elon Musk's behavior is worrying investors - Tesla chief called cave rescue diver
   "pedophile", stock is falling
   Tekniikka & Talous (Fl}, Elon Musk's twitter dispute ate 2 billion of Tesla's worth - called hero rescue
   diver "pedophile"




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   Expressen (SE), Dispute between Elon Musk and rescue diver - "Pedophile"
   VA Finans (SE), Tesla stock is falling after Elon Musk's tweet
   Omni (SE), Diver was called "pedophile" - thinking about suing Elon Musk
   DI Digital (SE), Elon Musk attacks Thai rescue diver on twitter
   Brea kit (SE), Elon Musk attacks cave rescuer on twitter after he criticized his sub
   Fyens (DK), Elon Musk calls rescue diver "pedophile"
   Nordjyske (DK), Tesla stock is falling after Elon Musk's "pedophile" tweets
   TV2 (DK), Tesla owner in storm weather after diver scandal - threatened with actions while the stock
   falls

   Spain and Portugal
   S Moda (ES), Rise and fall of Elon Musk, from iconoclast to hated tyrant like Trump
   Hipertextual (ES), Thai cave diver threatens to sue Elon Musk
   ABC (ES), Musk calls Thai cave rescue worker a "pedophile" who accused him of being an opportunist
   Euronews (ES), Elon Musk attacks Thai diver
   La Tercera (ES), Elon Musk calls "pedophile" to one of the divers who rescued Thai cave boys
   El Mundo (ES), Elon Musk calls 'pedophile' to one of the Thai cave rescuers
   El Diario (ES), Elon Musk called a British diver from the Thai cave rescue a 'pedo guy' who told him to
   stick his submarine 'where it hurts'
   La Vanguardia (ES), Elon Musk calls pedophile to a British diver who participated in the Thai cave rescue
   El Peri6dico (ES), Elon Musk calls "pedophile" to one of the divers who rescued Thai cave boys
   Gizmodo (ES), One of the Thai children rescuers threatens to sue Elon Musk for calling him a pedophile
   La Nueva Espana (ES), Elon Musk calls Thai cave rescuer a pedophile
   CNN (ES), Thailand's child rescuer considers suing Elon Musk for a tweet in which he called him
   "pedophile"
   Antena 3 (ES), Elon Musk calls "pedophile" to one of the divers who rescued Thai cave boys
   El Periodista Digital (ES), Musk calls 'pedophile' to the diver who criticized his plan to save children in
   Thailand by submarine
   La Sexta (ES), Elon Musk calls 'pedophile' to one of the Thai cave rescuers
   TVI 24 (PT), Tesla owner calls "pedophile" to one of the divers who rescued Thai cave boys
   RTP (PT), British diver and Elon Musk in war of words
   Renascen~a (PT), Controversy after rescue in Thailand. Musk and diver exchange accusations
   Jornal de Notfcias (PT), Elon Musk calls 'pedophile' to a British diver
   Notfcias ao Minuto (PT), Elon Musk calls Thai cave rescuer a pedophile
   Sabado (PT), Elon Musk calls 'pedophile' to a Thai cave rescuer
   Publico (PT), Elon Musk calls Thai cave diver a "pedophile"
   Pplware (PT), And the story continues ... Elon Musk calls one of the Thai cave divers a pedophile
   Diario de Notfcias (PT) Elon Musk called a diver from the Thai cave rescue a 'pedo guy' and to stick his
   submarine 'where it hurts'
   Correio da Manha (PT), Musk "calls pedophile" the diver who told him to stick his submarine 'where it
   hurts'
   Observador (PT), Elon Musk calls "pedophile" to one of the divers who rescued Thai cave boys
   Sapo 24 (PT), Diver who helped rescue the Thai children threatens to sue Elon Musk
   Aquela Maquina (PT), Elon Musk calls "pedophile" to Thai cave diver and sinks Tesla
   Expresso (PT), British diver threatens to sue Elon Musk for accusing him of pedophilia
   ZAP (PT), Diver told Elon to stick his submarine where it hurts. Musk calls him 'pedophile'
   Jornal de Neg6cios (PT), Musk controversy with rescue in Thailand sinks Tesla and leaves analysts
   worried




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   Switzerland and Austria
   Romandie (CH), Tesla: Elon Musk's escapades begin to worry
   24 Heures (CH), Tesla: Elon Musk's antics worry
   RTS (CH), Tesla loses 2.75% at Wall Street following Elon Musk's latest antics
   20 Minutes (CH), Elon Musk pays price for his latest outburst at the stock market
   Le Temps (CH), Tesla: Elon Musk's escapades begin to worry his brands
   Le Matin (CH), Tesla: Elon Musk's escapades begin to worry
   Luzerner Zeitung (CH), Musk insults cave diver
   NZZ (CH), Elon Musk describes British cave diver that was involved in Thai rescue plan as pedophile
   20 Minuten (CH), Musk calls British cave diver a pedophile
   Bluewin (CH), Musk insults cave diver as pedophile
   Cash (CH), Elon Musk in ugly twitter row with British cave diver
   Watson (CH), Elon Musk insults rescue cave diver as pedophile
   NAU (CH), Elon Musk insults rescue cave diver as pedophile
   TIO (CH), Elon Musk's tweet hits Tesla at the stock market
   Tagblatt (CH), Elon Musk insults cave diver
   Le Temps (CH), Cave diver, called pedophile by Elon Musk, ponders lawsuit
   Bluewin (CH), Thailand: Rescue diver makes fun of Musk's mini-submarine
   NAU (CH), "Musk can inject his submarine where it hurts"
   Kleine Zeitung (AT), Elon Musk insults cave diver
   Kleine Zeitung (AT), Rescue diver ponders lawsuit against Elon Musk
   Futurezone (AT), Elon Musk and cave diver in ugly row: "inject submarine where it hurts"
   Futurezone (AT), Row between Elon Musk and cave diver escalates
   Futurezone (AT), Following criticism of mini-submarine: Elon Musk loses it and insults rescue diver
   Futurezone (AT), Following heavy insult: Cave diver ponders lawsuit against Elon Musk
   Standard (AT), Elon Musk denounces cave diver as pedophile
   Standard (AT), "Just a PR gag": Rescue diver criticizes Musk for help in cave operation
   Standard (AT), Elon Musk denounces cave diver, shares drop
   Krone (AT), Tesla-CEO insults rescue diver as pedophile
   Tiroler Tageszeitung (AT), Elon Musk describes Thailand cave diver as pedophile
   OE24 (AT), Elon Musk insults cave diver as pedophile
   ORF (AT), Bad row with consequences
   ORF (AT), British cave diver threatens to sue Tesla-CEO
   Heute (AT), Insulted cave diver threatens lawsuit against Elon Musk
   Heute (AT), "Inject it, where it hurts"
   Futurezone (AT), "Just a PR gag": Rescue diver criticizes Musk's mini-submarine




   From: Erica Chen <echen@tesla.com>
   Date: Tuesday, July 17, 2018 at 9:03 AM
   To: Sarah O'Brien <sobrien@tesla.com>, Sam Teller <steller@tesla.com>, Todd Maron
   <todd@tesla.com>, Dave Arnold <dwarnold@tesla.com>, James Gleeson
   <James.Gleeson@spacex.com>
   Subject: Re: Additional Tweet Coverage




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   Vern Unsworth told Reuters, "I 've been approached by British lawyers, American lawyers. I haven't
   decided what to do next yet."

   "I can't let it go. There's too much out there already," Unsworth said. Asked which law firm he would
   hire, he responded, "I don't know yet. I have to take advice." Unsworth declined to identify who had
   approached him.

   "It's taken a bit of the pleasure out of what's happened, what we've achieved, for me anyway," he said,
   adding that it had upset his family in Britain. "It's very much upset my daughter."

   Tesla spokespeople did not immediately respond to requests for comment. Musk could not be reached
   for comment.

   Reuters, British Caver Says He Approached by U.S., British Lawyers Over Musk's Comments

   New coverage since last night:
   Fortune, After Elon Musk's 'Pedo' Tweet, Tesla Shares Fall 4% as Some Invest ors Worry About His Erratic
   Behavior
   LA Times, Elon Musk is at war with everyone from regulators to stock analysts to a Thai child rescuer
   Esquire, Unsurprisingly, Tesla Shares Fall After Elon Musk Calls Cave Rescuer A "Pedo" In Tweet
   Jalopnik, The 'Pedo' Thing Has Tesla Investors Pissed
   Newsweek, TESLA STOCK: WHAT HAPPENED TO SHARE PRICE AFTER DIP FOLLOWING ELON MUSK'S
   TWITTER FIGHTS. 'PEDO GUY' POST
   Newsmax, Elon Musk's Social Media Conduct May Be Bad for His Tesla Business



   From: Erica Chen <echen@tesla.com>
   Date: Monday, July 16, 2018 at 4:33 PM
   To: Sarah O'Brien <sobrien@tesla.com>, Sam Teller <steller@tesla.com>, Todd Maron
   <todd@tesla .com>, Dave Arnold <dwarnold@tesla.com>, James Gleeson
   <James.Gleeson@spacex.com>
   Subject: Re: Additional Tweet Coverage

   Associated Press reports Elon "has fought back, often around the clock on Twitter," but he "may have
   gone one tweet too far." Jalopnik wonders, " How can someone be so accomplished, so successful, so
   adored by so many people and yet still be so wildly, uncontrollably insecure that any amount of entirely
   reasonable criticism triggers a response like this?"

   Representatives ofT. Rowe Price, Fidelity Investments and Baillie Gifford - Tesla's three largest
   shareholders - declined to comment. Gene Munster said the tweets raised questions about Elon's
   distractibility and "maturity," adding, "This crossed a line, and it needs to stop." Gordon Johnson, the
   managing director of investment research firm Vertical Group, said, "This thing is unraveling," adding,
   "You had a very big shareholder last week say they want him to focus on executing and stop with the
   tweets - and then, this weekend, you get more tweets. What's his angle? What is he doing? ... He
   keeps promising all ofthese things, and he keeps missing, and he's not being held to task."




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   AP also mentions, "For the first four months of the year, Musk was averaging around 100 tweets per
   month. But the tweets spiked to about 400 per month starting in May as Musk was under pressure to
   raise production of the Model 3."

   Associated Press, Elon Musk's Social Media Conduct May Be Bad for His Business
   Bloomberg TV, Musk's Twitter Controversy
   The Washington Post, Elon Musk's "pedo" attack rattles Tesla investors: "This thing is unraveling"
   MarketWatch, Tesla shares. at lowest in six weeks. fall further in late trading
   Business Insider, Tesla slides after an eventful weekend for Elon Musk
   Fast Company, Elon Musk accuses Thai cave rescue diver of being a pedophile
   SF Chronicle, Elon Musk's "pedo guy" cave tweet could hurt Tesla
   The Mercury News, Has Elon Musk gone too far with tweet about Thai cave rescue diver?
   Jalopnik, Now We Know For Sure: Elon Sucks Like All These Jackasses Suck
   The Daily Beast, Elon Musk Joins the Fringe Right in Calling His Foe a 'Pedo'
   Futurism, Electric Cars Are Too Important For Elon Musk to Put at Risk



   From: Sarah O'Brien <sobrien@tesla.com>
   Date: Monday, July 16, 2018 at 1:21 PM
   To: Sam Teller <steller@tesla.com>, Todd Maron <todd@tesla.com>, Dave Arnold
   <dwarnold@tesla.com>, James Gleeson <James.Gleeson@spacex.com>
   Cc: Erica Chen <echen@tesla.com>
   Subject: Additional Tweet Coverage

   FYI: Media continue to cover E's tweet, with some stories mentioning that the "outburst" comes "just a
   week after he said in a Bloomberg interview that he would try to be less combative on Twitter." Reuters
   notes that a number of investors and analysts believe his comments are adding to their concerns that
   he's distracted from Tesla's main business. James Anderson of Baillie Gifford called the events "a
   regrettable instance" and said he had reiterated to Tesla the need for " peace and execution" of its core
   business. GQ comments, "If Musk can't have the credit, he'll make damn sure the other guy doesn't get
   it, either," while Mashable suggests, "Here's an easy PR strategy: Never tweet. It's not worth it."

   In an opinion piece, Reuters says "firing him for his 'pedo guy' tweet could precipitate a crisis of
   confidence among investors. Unlike the eventual ouster of Travis Kalanick at privately held Uber, for a
   capital-hungry public company that might prove terminal. Directors could consider stripping him of
   either the chairman or chief executive title. Or they could dock his compensation." The piece adds, "At
   the very least the board should require him to apologize and perhaps swear off Twitter. To do nothing
   would send a worrying message: that directors are unwilling or unable to rein in Musk's more troubling
   traits."

   KBB analyst Rebecca Lindland believes his comments could hurt sa les and ultimately anger investors.
   "When you're looking to expand the appeal of your product beyond innovators themselves, beyond
   early adopters ... you've got to be careful," she said, "You've got to start acting like a CEO."

   Reuters, Tesla shares fall 3.5 percent after CEO Musk abuses British diver
   Reuters BreakingViews, Libel risk
   Financial Times, Teamwork in Thailand triumphs over solo ego [full text below]




                                                                                                 Exhibit 44
                                                                                                 Page 712 SPACEX00000102
Case 2:18-cv-08048-SVW-JC Document 80 Filed 10/07/19 Page 46 of 126 Page ID #:1926



   NY Daily News, Elon Musk tries to help, but does not always succeed
   CNN, Will Elon Musk's antics hurt his businesses?
   CNN, Elon Musk makes unfounded accusation against Thai cave rescuer
   Fortune, Elon Musk Spins Out of Control
   The Onion, Elon Musk Insists He'd Be Much More Innovative Pedophile Than Thailand Rescue Worker
   Business Insider, Elon Musk is at the center of an astonishing number of bizarre news stories and public
   feuds - here are all of the Tesla CEO's unusual recent moments in the spotlight
   Forbes, Will The Real Elon Musk Please Stand Up
   GQ, Elon Musk Suddenly Incapable of Not Looking Like an Ass in Public
   Ars Technica, Elon Musk could face lawsuit for calling cave rescuer a "pedo guy"
   Mashable, British rescuer threatens to sue Elon Musk following 'pedo guy' tweet
   The Huffington Post, Elon Musk Lashes Out At Thai Cave Rescuer, Baselessly Calls Him A 'Pedo Guy'
   MarketWatch, Tesla shares at worst in six weeks, at bottom of Nasdaq 100
   TheStreet, Should Tesla Actually Fire Elon Musk?
   The Motley Fool, Why Shares ofTesla Rose 10% in the First Half of 2018
   Newsweek, JUSTINE MUSK'S ESSAY ON MARRIAGE TO ELON RESURFACES AMID 'PEDO' TWEET
   CONTROVERSY
   Inc, Does Elon Musk Need a Vacation?
   Inc, Elon Musk Proves Once And For All: Don't Tweet Tired
   The Guardian, The Guardian view on Elon Musk: a billionaire in need of humility
   The Guardian, Elon Musk calls British diver in Thai cave rescue 'pedo' in baseless attack

   Financial Times, Teamwork in Thailand triumphs over solo ego

   Elon Musk plays an understudy role in underwater cave rescue




   In a year dominated by geopolitical gloom, there has been one unabashed moment of celebration. The
   rescue of 12 Thai boys and their football coach from a deep underwater cave was a global triumph. It
   was an act of engineering and strategic brilliance. The international divers acted selflessly in lethal
   circumstances where success was by no means guaranteed. Leaders and citizens across the world have
   lauded their achievement.

   Nearly everyone, that is, except Elon Musk. The tech entrepreneur and chief executive of Tesla inserted
   himself into the crisis by offering a "mini-submarine" he had constructed to save the children. The
   experts deemed his solution inappropriate. Vern Unsworth, one of the British divers behind the rescue,
   decried Mr Musk's efforts as a "PR stunt" that had "absolutely no chance of working". Despite his
   billions and an army of 22m Twitter followers, Mr Musk was overruled by the experts.

   He did not take well to being told to go away. Over the weekend, Mr Musk tweeted that Mr Unsworth
   (who is threatening to sue for libel in return) was a "pedo guy" and pledged to take his pod to the cave
   anyway to prove he was right. His desire to come out on top of this argument speaks to the feral
   instincts of his natural Silicon Valley home, where the winner frequently takes all. In technology, human
   lives tend not to be directly at stake. Such an emergency ca lls for imagination, flexibility and timeliness
   - not grandstanding and the worst of tech's "move fast and break things" ethos.




                                                                                                   Exhibit 44
                                                                                                   Page 713 SPACEX00000103
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   By defaming Mr Unsworth, widely celebrated as a hero, Mr Musk has revealed a less appealing side to
   his character that should not escape the attention of investors. Such personal insults suggest he had at
   least one eye on enhancing his own reputation through this crisis.

   This dispute represents two different worlds colliding. The rescue operation was a team effort; the
   divers who rescued the boys brought expertise from Australia, Scandinavia, Belgium and the US. They
   worked tirelessly together towards a common goal.

   The rescue team is proof of the advantages in having expertise in a specific field. The divers and rescue
   specialists knew what had to be done to save the boys and set about it methodically. Mr Musk, on the
   other hand, believes in the value of bringing fresh eyes to complex chal lenges. Yet it would be naive to
   think that any individual alone was best equipped to deliver salvation.

   Mr Musk's intervention also exposes one flaw in "flat hierarchy", the slimline management structure
   favoured by Silicon Valley. lfteam members defer to each other's expertise then such a structure can
   encourage useful collaboration. But reducing layers of management - as Mr Musk has recently done at
   Tesla - can sometimes allow leaders to tinker and assert their influence counter-productively. His
   efforts in Thailand suggest this was precisely the tech-man's approach.

   The drama of the underground rescue - whether the trapped Thai children or the Chilean miners in
   2010 - is best managed by largely anonymous individuals working together without ego. They do not
   depend on chief executives bubbling with optimism and flashy innovations. An offer to help in such a
   perilous situation is welcome. Rudely asserting one's own authority at the expense of the team is not.

   The Thai boys were saved by a systematic collective approach. The intervention of Mr Musk, who has
   conceded he might be a useful "narcissist", points to the limits of Silicon Valley's "yes, we can" attitude.
   This was one situation where the last thing a trained team needed was a dose of disruption.




                                                                                                    Exhibit 44
                                                                                                    Page 714 SPACEX00000104
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                                EXHIBIT 45




                                EXHIBIT 45



                                                                      Exhibit 45
                                                                      Page 715
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From:          Richard Otto [/O=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP
               {FYDI BO HF 23SPDLT)/CN=RECI PIENTS/CN=B3D0CFDAS60E43DDBSEF28EF02C53A78-RICHARD OTT]
Sent:          7/15/2018 11:46:28 AM
To:            DL-USComms [dl-uscomms@tesla.com]
Subject:       Business Insider, Elon Musk calls British diver from the Thai cave rescue a 'pedo guy' after he said Elon 'can stick his
               submarine where it hurts'



Reporting on this morning's tweets from Elon, several outlets note that "Elon took to Twitter to suggest a critic of his
submarine rescue plan is a pedophile."

The Tweets read:
•       Water level was actually very low & still (not flowing) -you could literally have swum to Cave 5 with no gear,
which is obv how the kids got in. If not tme, then I challenge this dude to sho,v final rescue video. Huge credit to pump &
generator team. Unsung heroes here.
•       You know what, don't bother showing the video. We will make one of the mini-sub/pod going all the way to
Cave 5 no problemo. Sorry pedo guy, you really did ask for it.

Business Insider notes, "Musk was responding to criticism from British caver Vernon Unsworth, who told CNN that Musk
'can stick his submarine where it hurts'," and continues, "[Elon] was widely mocked on social media after the boys were
rescued without the use of his submarine. He hit back at his critics this week, saying the dive team had instructed him to
keep working on the submarine."

Business Insider, t~on l\/lusk cans Brit~sh dlver frorn the Thai cave rescue a ;Qedo guyi aft er he sa~d ~Jon ~can sbck h~s




                                                                                                                  Exhibit 45
                                                                                                                  Page 716TESLA000201
      Case 2:18-cv-08048-SVW-JC Document 80 Filed 10/07/19 Page 50 of 126 Page ID #:1930

From:        Tim Higgins [Tim.Higgins@wsj.com]
Sent:        7/15/2018 2:33:44 PM
To:           Dave Arnold [dwarnold@tesla.com]
Subject:      Elon's tweets



Hi,
Any comment on Elon's tweets today suggesting the diver in Thailand was a pedophile?

Tim Higgins
tech & autos reporter
The Wall Street Journal I San Francisco bureau
tim.higgins@wsj .com I @timkhiggins




                                                                                       Exhibit 45
                                                                                       Page 717TESLA000202
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From:            Kolodny, Lora (NBCUniversal) [Lora.Kolodny@nbcuni.com]
Sent:            7/15/2018 2:33:56 PM
To:              Dave Arnold [dwarnold@tesla.com]
CC:              Sarah O'Brien [sobrien@tesla.com]; David, Javier (NBCUniversal) [Javier.David@nbcuni.com]
Subject:         CNBC.com inquiry - Tesla/ Elon Musk - tweets on Thai rescue diver


Dave, Sarah -

Please meet my colleague Javier David, on CC. He is CNBC.com's weekend editor.
https://www.cnbc.com/javier-david/

We were wondering if Tesla, or Elon Musk, or both would like to share a statement or any further information about this
tweet from Musk that has kicked up a lot of concern and controversy:
https:ljtwitter.com/elonmusk/status/1018497953051258880

As you know, Musk called Vern Unsworth "pedo guy" in one Tweet, and in another tweet, doubled down on this assertion
saying "Bet ya a signed dollar it's true."

Questions on my mind:
1.      Can you confirm whether or not Musk was serious and stands by his comment(s)? If yes, does he plan to share
evidence supporting his allegations?
2.      Did Musk delete the tweet himself? Or was that done at the urging of the board or PR team at Tesla? Did Twitter
remove it?
3.         If he was not saying this in earnest, does he plan to issue an apology?
4.         Is Musk now planning to take any leave of absence from Twitter? If yes, for how long? Starting when?
5.         How has Tesla's board responded to these tweets today, if at aU?



Thank you for any information or statement(s) you can provide us.



Lora Kolodny, tech reporter
Lora.Kolodnv(Zilnbcuni.com
Office:   415-792-5085
Mobile: 415-939-5841




                                                                                                             Exhibit 45
                                                                                                             Page 718TESLA000203
      Case 2:18-cv-08048-SVW-JC Document 80 Filed 10/07/19 Page 52 of 126 Page ID #:1932

From:        Duncan Riley [duncan@nichenet.com.au]
Sent:        7/16/2018 4:06:35 AM
To:          Dave Arnold [dwarnold@tesla.com]
Subject:     Elon's comments on expats




I'm interested in knowing what Tesla's official position is on Elon Musk's comment that a member of the cave
rescue team in Thailand is a "pedo" and "sus."

I'll be upfront with you - while I'm also a Senior Writer at SiliconANGLE I'm also a white expat in northern
Thailand <200kms from where the cave is.

Does Tesla believe that the ~7 million odd expats, ~500,000-1 million of them white, are pedophiles? Thailand
has 38 million foreign visitors last year and Bangkok at 20 million is the most visited city by foreign tourists in
the world - does Elon think all people visiting Thailand are "sus?"

Dave, I know it's not your doing and I'd hate to be in your situation but I'd like something on the record if you
are willing to comment.

Thanks

Duncan.



Duncan Riley
Senior Writer, SiliconANGLE
e: duncan@nichenet.com.au
t: http://twitter.com/duncanriley
w: http://w-ww.siliconangle.com




                                                                                                 Exhibit 45
                                                                                                 Page 719TESLA000209
      Case 2:18-cv-08048-SVW-JC Document 80 Filed 10/07/19 Page 53 of 126 Page ID #:1933

From:            Rex Crum [rcrum@bayareanewsgroup.com]
Sent:            7/16/2018 6:41:05 AM
To:              Dave Arnold [dwarnold@tesla.com]
Subject:         Comments on Elon's Tweets


Hi Dave. Hey, I've been tasked this morning with seeking out some comments from Tesla, and industry
analysts, about Elon's "pedo" tweet, and other comments on Twitter in this back-and-forth with Vern Unsworth.
Elon is known for being pretty open with his comments on just about anything, but suggesting Unsworth is a
pedophile,and then offering a signed dollar as a bet if true.

It's one thing to mock the quality of analysts' questions on an earnings call ...But, calling a guy a "pedo" .. .That
seems like opening yourself up to a lawsuit.

Will Tesla, or Elon, have some comment on this matter this morning? If so, I' appreciate it if you could send it
tome.

Thanks Dave,

Rex


Rex Cnnn Senior Business Web Editor I Editorial
rcrum@bayareanewsgroup.com

'mrexcrum

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From:          Press [/O=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP
               {FYDI BO HF 23SPDLT)/CN=RECI PIENTS/CN=4C069ESSE37744F 297F496AFA98025AC-PRESS]
Sent:          7/16/2018 7:10:37 AM
To:            Dave Arnold [dwarnold@tesla.com]; Gina Antonini [gantonini@tesla.com]; Erica Chen [echen@tesla.com]; Kamran
               Mumtaz [kmumtaz@tesla.com]
Subject:       FW: URGENT: LA Times question on Vernon Unsworth




From: "Masunaga, Samantha" <Samantha.Masunaga@latimes.com>
Date: Monday, July 16, 2018 at 7:07 AM
To: Press <press@tesla.com>, James Gleeson <James.Gleeson@spacex.com>
Subject: URGENT: LA Times question on Vernon Unsworth

Hi there,
I'm working on a story this morning about British cave diver Vernon Unsworth's comments to journalists that he would
consider taking legal action against Elon after hearing about Elon's tweets suggesting that he was a pedophile. I wanted
to reach out and see if SpaceX or Tesla had any statement on Unsworth's comments, or Elon's tweets.

If I could get in touch with someone as soon as possible, I would greatly appreciate it.

Best,
Samantha

Samantha Masunaga
Staff Writer
Los Angeles Times


213-237-5778
@smasunaga




                                                                                                       Exhibit 45
                                                                                                       Page 721TESLA000211
          Case 2:18-cv-08048-SVW-JC Document 80 Filed 10/07/19 Page 55 of 126 Page ID #:1935

From:                   Press [/O=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP
                        {FYDI BO HF 23SPDLT)/CN=RECI PIENTS/CN=4C069ESSE37744F 297F496AFA98025AC-PRESS]
Sent:                   7/16/2018 7:13:19 AM
To:                     Dave Arnold [dwarnold@tesla.com]; Gina Antonini [gantonini@tesla.com ]; Erica Ch en [ech en@tesla.com]; Kam ran
                        Mumtaz [kmumtaz@tesla.com]
Subject:                FW: Seeking com m ent on Elon Musk's tweets about British cave diver




From: Levi Sumagaysay <lsumagaysay@bayareanewsgroup.com>
Date: Monday, July 16, 2018 at 6:04 AM
To: Press <press@tesla.com>
Subject: Seeking comment on Elon Musk's tweets about British cave diver

Good morning. Does Tesla have any comment about the tweets by Mr. Musk accusing British cave diver Vernon
Unsworth of being a "pedo," which appear to have been deleted? In addition, Mr. Musk said he would produce a video
proving his submarine would have been able to reach the children in the Thai cave. Will he be producing such a video?

Thanks,
Levi

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From:            Press [/O=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP
                 {FYDI BO HF 23SPDLT)/CN=RECI PIENTS/CN=4C069ESSE37744F 297F496AFA98025AC-PRESS]
Sent:            7/16/2018 7:15:09 AM
To:              Dave Arnold [dwarnold@tesla.com]; Gina Antonini [gantonini@tesla.com]; Erica Chen [echen@tesla.com]; Kamran
                 Mumtaz [kmumtaz@tesla.com]
Subject:         FW: Seeking comment on Musk "pedo" comments and fallout




From: "Selk, Avi" <Avi.Selk@washpost.com>
Date: Monday, July 16, 2018 at 4:51 AM
To: "media@spacex.com" <media@spacex.com>, Press <press@tesla.com>
Subject: Seeking comment on Musk "pedo" comments and fallout

Good morning,

I am writing about Elon Musks's since-deleted tweet Sunday, in which he accused British cave explorer Vernon Unsworth
of pedophilia.

I am    updating today with Unsworth's remarks that he is considering legal action.

I am seeking comment from Musk as well as spokespeople for SpaceX and Tesla, individually that a) address and
elaborate on the accusations Musk made and his decision to delete them and b) address Unsworth's reaction to the
comments. See references below.

My deadline is ASAP. Thanks for your help .



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rescue-cai!s-actual-rescuer-a-pedo/?utm term=.440lf3c383a7

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Avi Selk
The Washington Post - Staff Writer
202-334-6995 o




                                                                                                                   Exhibit 45
                                                                                                                   Page 723TESLA000214
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   From:      James Gleeson
   Sent:      Mon 7/23/2018 5:19 PM (GMT-07:00)
   To:        Eva Behrend
   Cc:
   Bee:
   Subject:   FW: Mr. Musk's apology




   From: Sam Teller <sa m@boringcompany.com>
   Sent: Wednesday, July 18, 2018 9:45 AM
   To: Mihir Zaveri <mihir.zaveri@nytimes.com>
   Cc: James Gleeson <James.Gleeson@spacex.com>; Sarah O'Brien <sobri en@tesla.com>
   Subject: Re: Mr. Musk's apology


   Mihir, thanks for reaching out. We don't have any further comment on the record.


   Off the record: Everyone makes mistakes and Elon admitted his. The businesses are good and
   proceeding as usual. Elon deleted the tweet about the demo so I think it's safe to assume he's not
   planning to do it.


   Sam


   On Jul 18, 2018, at 8:09 AM, Mihir Zaveri <mihir.zaveri@nytimes.com> wrote:

    Hi, this is Mihir Zaveri with The New York Times.

    I'm writing about Mr. Musk's apology to Vern Unsworth
    here: https:/ /twitter. com/e lo nmusk/status/ l O1947215 2 7963 8118 5?ref src=twsrc%5Etfw% 7Ctw
    camp%5Etweetembed% 7Ctwterm%5E 10194721527963 81185&ref url=https%3A%2F%2Fww
    w.bloomberg.com%2Fnews%2Farticles%2F2018-07-18%2Fmusk-apo logizes-to-u-k-diver-he-
    labeled-as-pedophile

    -- What prompted the apology? Has Mr. Musk heard back from Vern Unsworth?
    -- Have you all read this letter from Gene Munster: https://loupventures.com/an-open-letter-to-
    elon-musk/ ? How would you respond (including the specific assertion that Mr. Musk has
    shown "too many examples" of concerning behavior)? Will Mr. Musk change how he uses
    social media?
    -- Is there a worry that this exchange will affect Mr. Musk's businesses?
    -- Is it still your intention to do a demo to show the submarine would have worked, as Mr. Musk
    stated?

    Thank you, I'm at 212 556 8484. Writing to post this afternoon.
    Mihir



                                                                                          Exhibit 45
                                                                                          Page 724 SPACEX00000080
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                                EXHIBIT 46




                                EXHIBIT 46



                                                                      Exhibit 46
                                                                      Page 725
9/28/2019
       Case                    What's the fullDocument
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                                                                                                  59rescue effort? Page
                                                                                                      of 126       - Quora ID #:1939

                    Search for questions, people, and topics                                                                                                  Sign In



      Tham Luang Cave Rescue (July 2018)   Elon Musk    Journalism   Startup Founders and Entrepreneurs   Related Questions

     What's the full story behind Elon Musk's involvement                                                 What did the media get right/wrong re: Jeremy
     with the Thai cave rescue effort?                                                                    Arnold’s post about Elon Musk and the Thai cave
                                                                                                          rescue effort?

                                                                                                          Why did Elon Musk accuse the cave-diver, Vern
     10 Answers
                                                                                                          Unsworth, who masterminded the Thai cave
                                                                                                          rescue, of being a pedo
                                                                                                                             pedophile?
            Jeremy Arnold, Consultant to SMEs/startups. Business analyst background.
            Updated Jun 14, 2019 · Upvoted by Jessica Shambora, Former journalist at Travel+Leisure &     What do you think of "Elon Musk wades into Thai
            Fortune magazines · Author has 898 answers and 7.6m answer views                              cave to drop off tiny rescue submarine — which
                                                                                                          won't be used"?
     As is often the case, there’s a nuanced story with multiple morals here — one that
     most news outlets have, for whatever reasons, failed to tell.                                        What do Tesla and SpaceX employees think about
                                                                                                          Elon Musk’s involvement in the Thai Cave Boys
     Let’s start with the common narrative, which I think is fairly represented in this tweet
                                                                                                          rescue?
     (chosen randomly among hundreds like it):
                                                                                                          How was Elon Musk's submarine intended to help
                                                                                                          the Thai Cave Rescue?
                       rich fitzmaurice
                       @FitzmauriceRich                                                                   Why didn't Elon Musk get the credit he deserved
                                                                                                          for his involvement in the Thai cave rescue effort?
                Very disappointed in @elonmusk during this Thai episode.
                Jumped on a PR opportunity, throws his expensive toy out the                              Was Elon Musk helpful at the Thai cave rescue?
                pram when told it *so obviously* wouldn’t work and now
                                                                                                          What do you think of "Just what was the point of
                disrespecting heroes involved who clearly did a super human
                                                                                                          Elon Musk's 'non-practical' submarine rescue
                feat in rescuing boys.                                                                    effort in Thailand?"?
                    22 8:27 AM - Jul 16, 2018
                                                                                                          What do you think of Elon Musk's negtive
                                                                                                          comments on Thai cave rescue heros?
                    18 people are talking about this
                                                                                                          What do you think of "Elon Musk Has Finally
     We have a few inter-related claims here:                                                             Apologized to the Thai Cave Diver He Called a
                                                                                                          'Pedo'"?
                                                                                                           Pedo
       1. That Musk’s involvement was primarily about PR.

       2. That his “expensive toy” was of no value to rescue efforts.                                     In Other Languages
       3. That he was disrespectful of rescuers in the plural.
                                                                                                          En Español: ¿Cuál es la historia completa detrás de la
     And then, of course, we have Musk’s already-infamous “pedo
                                                           pedo guy” dig.                                 participación de Elon Musk en el esfuerzo de rescate
                                                                                                          de las cuevas tailandesas?
     We’ll take each of those in turn, using context to determine how fair or unfair each claim
                                                                                                          En Français : Quelle est l'histoire complète de
     might be.
                                                                                                          l'implication d'Elon Musk dans l'effort de sauvetage
                                                                                                          des cavernes thaïlandaises ?

                                                                                                          In Deutsch: Was ist die gesamte Geschichte hinter der
     #1: The massive PR stunt.                                                                            Sache mit Elon Musk und der Rettung der
                                                                                                          thailändischen Kinder von der Höhle?
     This criticism came in three somewhat contradictory flavors. Some blamed Musk for
                                                                                                          日本語版: イーロン・マスクがタイの洞窟での遭難事
     making too much of his efforts, some blamed him for not making a different contribution,
                                                                                                          件の舞台裏で活躍していたというのは本当ですか？
     and some blamed him for not solving totally unrelated problems.
                                                                                                          Em Português: Qual é a história completa por trás do
     To give a few representative examples:                                                               envolvimento de Elon Musk no esforço de resgate da
                                                                                                          caverna tailandesa?

                       Aubrey Blanche        @adblanche · Jul 8, 2018
                       Like, I'm excited @elonmusk sent people to get kids out of a cave.
                       But could he also send his program managers to orchestrate
                       getting 3000 kids back to their families? And maybe pay for the
                       therapy they'll need?

                       Vivianne Castillo
                       @vcastillo630

                Unless there's an opportunity for him to showoff the cool
                technologies SpaceX can build - like the "kid-sized" submarine
                for cave rescue - I doubt he'll do anything about the kids at the
                border
                                                                                                                                      Exhibit 46
https://www.quora.com/Whats-the-full-story-behind-Elon-Musks-involvement-with-the-Thai-cave-rescue-effort                                                          1/17
                                                                                                                                      Page 726
9/28/2019
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                                                                                                     of 126       - Quora ID #:1940
                   7 1:33 PM - Jul 8, 2018
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                   See Vivianne Castillo's other Tweets


                                                                                                      Related Questions


                                                                                                      What did the media get right/wrong re: Jeremy
                                                                                                      Arnold’s post about Elon Musk and the Thai cave
                                                                                                      rescue effort?

                                                                                                      Why did Elon Musk accuse the cave-diver, Vern
                                                                                                      Unsworth, who masterminded the Thai cave
                                                                                                      rescue, of being a pedo
                                                                                                                         pedophile?

                                                                                                      What do you think of "Elon Musk wades into Thai
                                                                                                      cave to drop off tiny rescue submarine — which
                                                                                                      won't be used"?
     So an engineer hasn’t used his free time to solve a border-control problem that’s outlasted
     every elected politician and subject-matter expert that’s ever been paid to figure it out?       What do Tesla and SpaceX employees think about
     Time for the tar and feathers, I guess.                                                          Elon Musk’s involvement in the Thai Cave Boys
                                                                                                      rescue?
     More to the point though, one does wonder why Musk was ever vocal about this particular
     issue in the first place?                                                                        How was Elon Musk's submarine intended to help
                                                                                                      the Thai Cave Rescue?
     Well, as it turns out, we know exactly why.
                                                                                                      Why didn't Elon Musk get the credit he deserved
                                                                                                      for his involvement in the Thai cave rescue effort?
                      Mabz @MabzMagz · Jul 3, 2018
                                                                                                      Was Elon Musk helpful at the Thai cave rescue?
                      Hi sir, if possible can you assist in anyway to get the 12 Thailand
                      boys and their coach out of the cave. @elonmusk                                 What do you think of "Just what was the point of
                                                                                                      Elon Musk's 'non-practical' submarine rescue
                       Elon Musk
                                                                                                      effort in Thailand?"?
                       @elonmusk

                I suspect that the Thai govt has this under control, but I’m happy                    What do you think of Elon Musk's negtive
                                                                                                      comments on Thai cave rescue heros?
                to help if there is a way to do so
                   20.3K 10:02 AM - Jul 4, 2018                                                       What do you think of "Elon Musk Has Finally
                                                                                                      Apologized to the Thai Cave Diver He Called a
                   3,459 people are talking about this                                                'Pedo'"?
                                                                                                       Pedo


     Note the date. The boys went missing on June 23rd. It had been a national news issue for
     well over a week at that point — i.e., just long enough for engineering types to begin
     wondering if perhaps they could do something to help.

     As for why Musk thought that open conversations on Twitter were a positive means to that
     end?


                      Jeremy Liew, Partner at Lightspeed @jeremysliew · Jul 6, 2018
                      This thread is an amazing demonstration of @elonmusk brilliant
                      mind but could the conversation have happened better over I
                      dunno a phone? twitter.com/yuris/status/1…

                       Elon Musk
                       @elonmusk

                It’s open so that others who are closer to the problem can
                consider this as one possible solution
                   9,262 6:04 PM - Jul 6, 2018

                   630 people are talking about this


     But surely he could do more than just facilitate dialogue on social media?




                                                                                                                                Exhibit 46
https://www.quora.com/Whats-the-full-story-behind-Elon-Musks-involvement-with-the-Thai-cave-rescue-effort                                                   2/17
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       Case                    What's the fullDocument
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                                                                                                      Related Questions


                                                                                                      What did the media get right/wrong re: Jeremy
                                                                                                      Arnold’s post about Elon Musk and the Thai cave
                                                                                                      rescue effort?

                                                                                                      Why did Elon Musk accuse the cave-diver, Vern
                                                                                                      Unsworth, who masterminded the Thai cave
     So, in sum, a wealthy problem-solver with a long history of responding to charity requests       rescue, of being a pedo
                                                                                                                         pedophile?
     on Twitter is asked to see what he can do to help. He agrees, opens dialogue for ideas,
     takes them to the on-the-ground experts for feedback, then sends some of his best                What do you think of "Elon Musk wades into Thai
                                                                                                      cave to drop off tiny rescue submarine — which
     engineers to work pro bono on practical mechanics.
                                                                                                      won't be used"?
     And this is a bad thing…?
                                                                                                      What do Tesla and SpaceX employees think about
                                                                                                      Elon Musk’s involvement in the Thai Cave Boys
                                                                                                      rescue?

     #2: The expensive toy.                                                                           How was Elon Musk's submarine intended to help
                                                                                                      the Thai Cave Rescue?
     From Musk’s first announcement that his team was working on a miniature submarine to
     help the divers, Twitter was quick to criticize.                                                 Why didn't Elon Musk get the credit he deserved
                                                                                                      for his involvement in the Thai cave rescue effort?
       I studied engineering. Anyone who's known to have a basic knowledge of geography
                                                                                                      Was Elon Musk helpful at the Thai cave rescue?
       and engineering know that Elon Musk's "Escape Pod Submarine" is not helpful at this
       present situation. Still he played along, trying to seek global attention. @elonmusk           What do you think of "Just what was the point of
       you're wrong! #ThaiCaveResue                                                                   Elon Musk's 'non-practical' submarine rescue
       — Vishnu Narayanan (@NarayananVI) July 10, 2018                                                effort in Thailand?"?

     Of course, one could point out that SpaceX and Boring Co. engineers had also “studied            What do you think of Elon Musk's negtive
     engineering” at some point in their careers — being that many of them are literal rocket         comments on Thai cave rescue heros?
     scientists and all (not to mention their knowledge advantage re: the specific cave system in
                                                                                                      What do you think of "Elon Musk Has Finally
     question). But why let that obvious truth get in the way of cheap criticism for some sweet,
                                                                                                      Apologized to the Thai Cave Diver He Called a
     sweet internet karma?
                                                                                                      'Pedo'"?
                                                                                                       Pedo
     Sadder yet, this skepticism wasn’t limited to internet trolls.


                      BBC News (World)         @BBCWorld · Jul 10, 2018
                      Elon Musk's offer 'not practical' for cave mission, Thai rescue chief
                      says bbc.in/2u1WT0t




                       Elon Musk
                       @elonmusk

                The former Thai provincial governor (described inaccurately as
                “rescue chief”) is not the subject matter expert. That would be
                Dick Stanton, who co-led the dive rescue team. This is our direct
                correspondence:




                                                                                                                                Exhibit 46
https://www.quora.com/Whats-the-full-story-behind-Elon-Musks-involvement-with-the-Thai-cave-rescue-effort                                                   3/17
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       Case                   What's the fullDocument
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                                                                                                      Related Questions


                                                                                                      What did the media get right/wrong re: Jeremy
                                                                                                      Arnold’s post about Elon Musk and the Thai cave
                                                                                                      rescue effort?

                                                                                                      Why did Elon Musk accuse the cave-diver, Vern
                                                                                                      Unsworth, who masterminded the Thai cave
                                                                                                      rescue, of being a pedo
                                                                                                                         pedophile?

                   31.3K 10:03 AM - Jul 10, 2018                                                      What do you think of "Elon Musk wades into Thai
                                                                                                      cave to drop off tiny rescue submarine — which
                   5,319 people are talking about this                                                won't be used"?

                                                                                                      What do Tesla and SpaceX employees think about
     Note that last sentence:
                                                                                                      Elon Musk’s involvement in the Thai Cave Boys
       If it isn’t needed or won’t help, that would be great to know. Otherwise, it would be very     rescue?
       helpful to have as much design direction as possible.
                                                                                                      How was Elon Musk's submarine intended to help
                                                                                                      the Thai Cave Rescue?
     Clearly the words of an egomaniac dedicated to inserting himself into a process where he
     was neither invited nor desired.                                                                 Why didn't Elon Musk get the credit he deserved
                                                                                                      for his involvement in the Thai cave rescue effort?
     Anyway, to expand a bit more on the details here:
                                                                                                      Was Elon Musk helpful at the Thai cave rescue?
         Narongsak Osotthanakorn, the provincial governor quoted by BBC, went on to
         say: “Even though their equipment is technologically sophisticated, it doesn't fit           What do you think of "Just what was the point of
         with our mission to go in the cave.” In other words, the problem wasn’t that the             Elon Musk's 'non-practical' submarine rescue
         sub was useless. It was that they’d already come up with an alternate plan before            effort in Thailand?"?
         the sub arrived. (Note: Narongsak was actually transitioning out as governor. He
                                                                                                      What do you think of Elon Musk's negtive
         just stayed on as the political head of the rescue team until it was completed.)
                                                                                                      comments on Thai cave rescue heros?
         From the description of the rescue efforts (which had to be expedited because of
                                                                                                      What do you think of "Elon Musk Has Finally
         a lull in the rain before the cave flooded again), the sub still could have been
                                                                                                      Apologized to the Thai Cave Diver He Called a
         useful. At the very least, it could have replaced the need for the stretcher and
                                                                                                      'Pedo'"?
                                                                                                       Pedo
         pulley system used in the more open areas. It just arrived too late to make it into
         the planning process.

         Some suggested that the length of the sub might have kept it from navigating
         some of the cave’s tight corners. But you know who else thought of this? Musk
         and his engineers. Hence why they sent an inflatable version built to the same
         dimensions to test it without the risk of blocking the passage.

         You know who was excited about the sub? The Thai Navy. Musk even loaned out
         his engineers to teach them how to use it for future missions.


                      Than R.      @thanr · Jul 11, 2018
                      SpaceX team met w/ Admiral Apakorn Youkongpaew and members
                      of Thai Navy yesterday in CEI to train them on the mini-submarine.
                      Navy believes it could be helpful and practical in future rescue
                      efforts and will conduct further testing in Bangkok in the near future.




                       Elon Musk
                       @elonmusk

                Glad to hear that. Engineering team also getting feedback from
                the British dive team on how to improve the design for future

                                                                                                                                Exhibit 46
https://www.quora.com/Whats-the-full-story-behind-Elon-Musks-involvement-with-the-Thai-cave-rescue-effort                                                   4/17
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       Case                   What's the fullDocument
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               applications.
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                   12.7K 11:43 PM - Jul 11, 2018

                   1,032 people are talking about this
                                                                                                      Related Questions

     So, again, we have a wealth of condemnation and ridicule directed at Musk for what
                                                                                                      What did the media get right/wrong re: Jeremy
     exactly? For collaborating with the dive team to come up with something that, at worst,
                                                                                                      Arnold’s post about Elon Musk and the Thai cave
     would add to their toolbox for other rescue missions?                                            rescue effort?

                                                                                                      Why did Elon Musk accuse the cave-diver, Vern
                      Elon Musk                                                                       Unsworth, who masterminded the Thai cave
                      @elonmusk                                                                       rescue, of being a pedo
                                                                                                                         pedophile?
               Replying to @dtemkin
                                                                                                      What do you think of "Elon Musk wades into Thai
               This reaction has shaken my opinion of many people. We were                            cave to drop off tiny rescue submarine — which
               asked to create a backup option & worked hard to do so.                                won't be used"?
               Checked with dive team many times to confirm it was
                                                                                                      What do Tesla and SpaceX employees think about
               worthwhile. Now it’s there for anyone who needs it in future.
                                                                                                      Elon Musk’s involvement in the Thai Cave Boys
               Something’s messed up if this is not a good thing.                                     rescue?
                   59.1K 4:20 AM - Jul 11, 2018
                                                                                                      How was Elon Musk's submarine intended to help
                                                                                                      the Thai Cave Rescue?
                   7,350 people are talking about this
                                                                                                      Why didn't Elon Musk get the credit he deserved
     Something’s messed up indeed.                                                                    for his involvement in the Thai cave rescue effort?

                                                                                                      Was Elon Musk helpful at the Thai cave rescue?

                                                                                                      What do you think of "Just what was the point of
     #3: Disrespecting the heroes.                                                                    Elon Musk's 'non-practical' submarine rescue
                                                                                                      effort in Thailand?"?
     As everyone knows, Musk’s tweet history is littered with examples of him taking credit at
     the expense of those actually “in the arena”.                                                    What do you think of Elon Musk's negtive
                                                                                                      comments on Thai cave rescue heros?

                     Sean Gardner       @2morrowknight · Jul 8, 2018                                  What do you think of "Elon Musk Has Finally
                     That's good news. Huge thanks to @elonmusk and all of the                        Apologized to the Thai Cave Diver He Called a
                     specialists worldwide who have assisted the Thai government with                 'Pedo'"?
                                                                                                       Pedo
                     this rescue. Indeed, good things can happen when people
                     (especially people worldwide) work together. #AwesomeHumans
                     #Thailand twitter.com/ABC/status/101…

                       ABC News        @ABC
                       Two boys rescued from being trapped in a cave with their
                       soccer team and coach in Thailand are loaded into ambulances
                       before being transported for treatment at a hospital in Chiang
                       Rai.

                       Four boys were extracted amid ongoing rescue operations.
                       abcn.ws/2MZIZD0




                                                                                                                                Exhibit 46
https://www.quora.com/Whats-the-full-story-behind-Elon-Musks-involvement-with-the-Thai-cave-rescue-effort                                                   5/17
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                       @elonmusk

                Thanks, but we’ve not done anything useful yet. It is all other
                people.                                                                               Related Questions

                   9,796 7:16 PM - Jul 8, 2018
                                                                                                      What did the media get right/wrong re: Jeremy
                                                                                                      Arnold’s post about Elon Musk and the Thai cave
                   668 people are talking about this
                                                                                                      rescue effort?

     Ok, so maybe not. But what about all those nasty things he said about the divers? You            Why did Elon Musk accuse the cave-diver, Vern
     know, the ones he couldn’t speak well of on account of his seething bitterness and               Unsworth, who masterminded the Thai cave
                                                                                                      rescue, of being a pedo
                                                                                                                         pedophile?
     jealousy?
                                                                                                      What do you think of "Elon Musk wades into Thai
                                                                                                      cave to drop off tiny rescue submarine — which
                       Elon Musk                                                                      won't be used"?
                       @elonmusk
                                                                                                      What do Tesla and SpaceX employees think about
                Extremely talented dive team. Makes sense given monsoon.
                                                                                                      Elon Musk’s involvement in the Thai Cave Boys
                Godspeed. twitter.com/bbcbreaking/st…                                                 rescue?

                 BBC Breaking News     @BBCBreaking                                                   How was Elon Musk's submarine intended to help
                 Replying to @BBCBreaking                                                             the Thai Cave Rescue?
                 The complex mission to rescue the 12 trapped boys and their football
                 coach from a cave in Thailand has begun bbc.in/2u8iJ1s                               Why didn't Elon Musk get the credit he deserved
                                                                                                      for his involvement in the Thai cave rescue effort?
                 Follow our live page for more updates bbc.in/2u1WT0t
                                                                                                      Was Elon Musk helpful at the Thai cave rescue?

                   49.8K 1:48 AM - Jul 8, 2018                                                        What do you think of "Just what was the point of
                                                                                                      Elon Musk's 'non-practical' submarine rescue
                   7,821 people are talking about this                                                effort in Thailand?"?

                                                                                                      What do you think of Elon Musk's negtive
                                                                                                      comments on Thai cave rescue heros?

                                                                                                      What do you think of "Elon Musk Has Finally
                                                                                                      Apologized to the Thai Cave Diver He Called a
                                                                                                      'Pedo'"?
                                                                                                       Pedo




     He also went out of his way to give three separate shout-outs to the pump and generator
     teams — as self-obsessed types do, I guess.




     #4: The final straw.

     Thus far, Musk has come out pretty well. But that’s about to get complicated.

     To set context, Vern Unsworth is a retired British expat who’s been living in Chiang Rai. And
     it so happens that he’d been exploring the particular cave system where the boys went
     missing for some six years prior. This let him predict with fairly close accuracy where the
     lost party would be found. He was also instrumental in bringing in the overseas cave diving
     experts.

     This past Friday, after the rescue was complete and those involved were shifting into
     debrief mode, Unsworth gave an interview, a clip of which went viral.


                       Quoth the Raven
                       @QTRResearch

                Cave rescuer on Musk: “It was a PR stunt. It had no chance of
                working.”




                                                                                                                                Exhibit 46
https://www.quora.com/Whats-the-full-story-behind-Elon-Musks-involvement-with-the-Thai-cave-rescue-effort                                                   6/17
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                                                                                                      Related Questions


                                                                                                      What did the media get right/wrong re: Jeremy
                                                                                                      Arnold’s post about Elon Musk and the Thai cave
                                                                                                      rescue effort?
                   17.4K 7:33 PM - Jul 13, 2018
                                                                                                      Why did Elon Musk accuse the cave-diver, Vern
                   6,650 people are talking about this                                                Unsworth, who masterminded the Thai cave
                                                                                                      rescue, of being a pedo
                                                                                                                         pedophile?
       CNN: “We just talked about this before, what your thoughts on Elon Musk’s idea was.”
                                                                                                      What do you think of "Elon Musk wades into Thai
       Unsworth: “He can stick his submarine where it hurts. It had absolutely no chance of           cave to drop off tiny rescue submarine — which
       working. He had no conception of what the cave passage was like. The submarine, I              won't be used"?
       believe, was about 5 foot 6 long, rigid. So it wouldn’t have gone around corners, around
                                                                                                      What do Tesla and SpaceX employees think about
       any obstacles. It wouldn’t have made it the first fifty meters into the cave from the dive     Elon Musk’s involvement in the Thai Cave Boys
       start point. Just a PR stunt.”                                                                 rescue?

     As to why Unsworth chose to throw scorn at Musk’s motives, only he can say. Perhaps he           How was Elon Musk's submarine intended to help
     was simply riding the false narrative supported by so many others.                               the Thai Cave Rescue?

     All we do know is what he said — which was, at best, rather uncharitable.                        Why didn't Elon Musk get the credit he deserved
                                                                                                      for his involvement in the Thai cave rescue effort?
     Musk didn’t take it well.
                                                                                                      Was Elon Musk helpful at the Thai cave rescue?

                                                                                                      What do you think of "Just what was the point of
                                                                                                      Elon Musk's 'non-practical' submarine rescue
                                                                                                      effort in Thailand?"?

                                                                                                      What do you think of Elon Musk's negtive
                                                                                                      comments on Thai cave rescue heros?

                                                                                                      What do you think of "Elon Musk Has Finally
                                                                                                      Apologized to the Thai Cave Diver He Called a
                                                                                                      'Pedo'"?
                                                                                                       Pedo




     Yikes.

     Now, in Musk’s (very) limited defense, the pedo
                                                pedophile accusation wasn’t quite random.
     While Thailand has a reputation for sex tourism in general (particularly marketed towards
     single European pensioners), Chiang Rai itself is a known hot-spot for “sex trafficking and
     child prostitution ”.

     But does this trivia make it likely that Unsworth himself ever indulged in the local trade? Of
     course not. Unless Musk had some private information, it seems that he was seeing red
     and just grabbed at a convenient stereotype.

     Gross as that tactic is, it suggests a deeper question: what drove a well-respected public
     figure to make such an extraordinarily negative claim?

     Without attempting to exonerate him, I think that’s worth getting into briefly.


                                                                                                                                Exhibit 46
https://www.quora.com/Whats-the-full-story-behind-Elon-Musks-involvement-with-the-Thai-cave-rescue-effort                                                   7/17
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     Musk & The Criticism Machine
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     For all Donald Trump’s complaints about the “fake news” media conspiracies against him,
     Elon Musk has by far the more legitimate claim. Apart from Obama and Clinton, I’m not
     sure any other public figure has been the victim of such a relentless wave of vicious,           Related Questions
     unfounded criticism in the social media era.

     The tweets in the early sections barely do it justice. While I’m no blinders-wearing fanboy, I   What did the media get right/wrong re: Jeremy
                                                                                                      Arnold’s post about Elon Musk and the Thai cave
     read a fair amount of articles about Musk and his companies. I think what they do is
                                                                                                      rescue effort?
     important and generally worthy of regular coverage. But what they don’t deserve is the
     tone of their regular coverage.                                                                  Why did Elon Musk accuse the cave-diver, Vern
                                                                                                      Unsworth, who masterminded the Thai cave
     This deep-dive gives the sense: Elon Musk vs. Short sellers . In a nutshell, a non-trivial       rescue, of being a pedo
                                                                                                                         pedophile?
     group of people (in number, funds, and collective influence) have been crusading against
     Musk’s success for a long, long time. The net result is that it’s weirdly difficult to get a     What do you think of "Elon Musk wades into Thai
     balanced view of the man and his work. Most pieces are written by either uncritical              cave to drop off tiny rescue submarine — which
     supporters or those eager to feed the short/bear narrative (for whatever personal                won't be used"?
     motivations).
                                                                                                      What do Tesla and SpaceX employees think about
                                                                                                      Elon Musk’s involvement in the Thai Cave Boys
     While there are exceptions to the rule, the average piece looks something like this: Just
                                                                                                      rescue?
     How Many Dimensions of Chess Is Elon Musk Playing?
                                                                                                      How was Elon Musk's submarine intended to help
     To save you the read (and to prevent them from gaining from your click), I’ll sum up their       the Thai Cave Rescue?
     thesis: Elon Musk called Unsworth a pedo
                                         pedophile to distract the world from the recent
     revelations that he’s made public donations to the GOP.                                          Why didn't Elon Musk get the credit he deserved
                                                                                                      for his involvement in the Thai cave rescue effort?
     Well, about that:
                                                                                                      Was Elon Musk helpful at the Thai cave rescue?
         Those donations were small (< $40,000) in relative terms.
                                                                                                      What do you think of "Just what was the point of
         He gives often and in moderate amounts to both sides .                                       Elon Musk's 'non-practical' submarine rescue
                                                                                                      effort in Thailand?"?
         These amounts are dwarfed by his donations to issue-based causes (like his
         recent $6m give to a climate change fund).                                                   What do you think of Elon Musk's negtive
                                                                                                      comments on Thai cave rescue heros?
         His political donations have never been a secret (being publicly reported). He’s
         discussed them openly.                                                                       What do you think of "Elon Musk Has Finally
                                                                                                      Apologized to the Thai Cave Diver He Called a
     Being honest, giving token amounts to various political groups is the cost of doing
                                                                                                      'Pedo'"?
                                                                                                       Pedo
     business. This often includes giving to those you disagree with ideologically. I’m resolutely
     against the current administration (and many GOP senators), but I’d do the same in his
     shoes. Most would, with clean consciences.

     So why write an article about it as if it were news? I’ll leave that to the reader to ponder.

     This kind of sustained siege against one’s character and motives has a predictable effect
     on people (remember Obama’s before/after photos?), especially when the victim sees few
     journalists interested in stepping in to tell the full story in a way that might slow the
     deluge.

     As per a recent interview    with Bloomberg, Musk is aware that this is making him prickly.

       I never launched an attack on anyone who did not attack me first. So the question is: If
       somebody attacks you on Twitter, should you say nothing? Probably the answer in some
       cases is yes, I should say nothing. In fact, most of the time I do say nothing. I should
       probably say nothing more often.

       I have made the mistaken assumption—and I will attempt to be better at this—of
       thinking that because somebody is on Twitter and is attacking me that it is open season.
       And that is my mistake. I will correct it.

     He may yet correct it. And perhaps his failing this week will encourage him to redouble his
     efforts. Personally, I hope he hires someone to run better PR for him. Instead of the fact-
     checking service he proposed last month, perhaps he just needs a contractor to
     deconstruct stories about him and his companies on his behalf.

     (While I see why Musk often responds himself, I think some remove would be
     advantageous for him. Not only would it add a layer of objectivity, it would allow the other
     to highlight Musk’s positives in ways he could never do himself with any propriety. For
     example, did you know that he made two separate commitments to help the people of
     Flint while this other narrative was going on? Or that he donated a batch of RadioFlyer


                                                                                                                                Exhibit 46
https://www.quora.com/Whats-the-full-story-behind-Elon-Musks-involvement-with-the-Thai-cave-rescue-effort                                                   8/17
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     Teslas to children’s hospitals across Europe? I’m guessing you didn’t, and I’m guessing I
     know why.)      Search for questions, people, and topics                                                                                          Sign In

     Final Thoughts
                                                                                                      Related Questions
     Musk’s PR needs aside, I think we’re right to condemn him for words to Unsworth (a
     provoked but disproportionate response). Working under the assumption that Unsworth is
     innocent of the charge, he should sue for libel. If he can’t afford to, he should be helped.     What did the media get right/wrong re: Jeremy
                                                                                                      Arnold’s post about Elon Musk and the Thai cave
     Or Musk should reach out proactively to donate to a charity of Unsworth’s choice to begin
                                                                                                      rescue effort?
     his amends.
                                                                                                      Why did Elon Musk accuse the cave-diver, Vern
     That notwithstanding, I have a hard time identifying with the cries of villainy. Musk made a     Unsworth, who masterminded the Thai cave
     terrible judgment call, sure. But to over-focus on that is to excuse ourselves at the same       rescue, of being a pedo
                                                                                                                         pedophile?
     time. The waves of shoddy journalism exacerbating his behavior are coming from
     somewhere, supported by many a someone’s clicks. And as the old saw goes, no raindrop            What do you think of "Elon Musk wades into Thai
     likes to see itself as responsible for the flood.                                                cave to drop off tiny rescue submarine — which
                                                                                                      won't be used"?
     Overall, I think what Musk wants most is fairness. That doesn’t strike me as unreasonable.
     There’s a balance point between hero-worship and demonization, and we ought to do a              What do Tesla and SpaceX employees think about
                                                                                                      Elon Musk’s involvement in the Thai Cave Boys
     better job of demanding that our press aim for it.
                                                                                                      rescue?

                                                                                                      How was Elon Musk's submarine intended to help
                                                                                                      the Thai Cave Rescue?
     EDIT: SEP 6TH
                                                                                                      Why didn't Elon Musk get the credit he deserved
     Given how widely this post has been distributed, it felt inappropriate to make unmarked          for his involvement in the Thai cave rescue effort?
     edits. Though the edit log is open for public review, it would be a bad look. As such, a few
                                                                                                      Was Elon Musk helpful at the Thai cave rescue?
     open notes instead.
                                                                                                      What do you think of "Just what was the point of
          Back in July, I fixed a broken link about sex tourism in Chiang Rai. I also corrected
                                                                                                      Elon Musk's 'non-practical' submarine rescue
          a capitalization typo in a linked article headline (my original mistake). See edit log.
                                                                                                      effort in Thailand?"?
          I’ve just now added a transcript of Unsworth’s interview snippet, as requested.
                                                                                                      What do you think of Elon Musk's negtive
          This is for the benefit of those who can’t get the video to play. I’ve also cleaned
                                                                                                      comments on Thai cave rescue heros?
          up one bullet point that had wonky grammar.
                                                                                                      What do you think of "Elon Musk Has Finally
          It turns out I underestimated the coverage of the Musk-Flint story. As per
                                                                                                      Apologized to the Thai Cave Diver He Called a
          Buzzsumo, that story actually saw significant traction on Facebook (which I’m not
                                                                                                      'Pedo'"?
                                                                                                       Pedo
          on, and was unaware of). Interestingly, if you compare that story with this one,
          more readers shared the positive story, but more journalists wrote about the
          negative one.

          If given a redo, I would have replaced “vicious” above with “bad faith”. Vicious
          certainly fits some critics (especially on social media), but isn’t a fair description of
          the average. That was bad judgment on my part.

          Some have argued that my “in his (very) limited defense” line can be read as
          defending Musk for the slur itself. I find this ludicrous, as the immediately
          following lines made my meaning exceptionally clear. My point was that Musk
          didn’t employ a random slur. That said, I’ve gone back and forth since as far as
          which behaviour is actually worse (random use of slurs vs. application of
          stereotype). As such, I probably should have scrapped the line altogether.

          I otherwise stand by the original. I suppose the argument that I was light on
          certain examples isn’t unreasonable. That said, the piece was already 3,000 words
          long. I also feel like those making said criticism didn’t do much (or anything) to
          deal with the examples I did give. But just to entertain said idea, my follow-up is
          going to be much more expansive.

     EDIT: June, 2019

     I forgot to link this here: Jeremy Arnold's answer to What did the media get right/wrong re:
     Jeremy Arnold’s post about Elon Musk and the Thai cave rescue effort?

     It’s an expansive sequel that breaks down and responds the press coverage of the above
     answer.
     484.8k views · View 7.9k Upvoters · View Sharers




                                                                                                                                Exhibit 46
https://www.quora.com/Whats-the-full-story-behind-Elon-Musks-involvement-with-the-Thai-cave-rescue-effort                                                   9/17
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       Case                    What's the fullDocument
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                                                                  Filedinvolvement
                                                                           10/07/19with thePage
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                                                                                                  68rescue effort? Page
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                   Search for questions, people, and topics                                                                                              Sign In
     What is the best project management tool?
            Iris Yardeny, Product Expert at monday.com (2017-present)
            Updated Sep 25, 2019                                                                        Related Questions

     I recommend monday.com , a powerful yet flexible project management tool for
                                                                                                        What did the media get right/wrong re: Jeremy
     companies like yours. The tool currently supports thousands of users working on large-
                                                                                                        Arnold’s post about Elon Musk and the Thai cave
     scale projects, making it simple for them to track and complete each phase in one visual
                                                                                                        rescue effort?
     place. The biggest challenges our use... (Continue Reading)
                                                                                                        Why did Elon Musk accuse the cave-diver, Vern
                                                                                                        Unsworth, who masterminded the Thai cave
     Related Questions                                                             More Answers Below   rescue, of being a pedo
                                                                                                                           pedophile?

                                                                                                        What do you think of "Elon Musk wades into Thai
     What did the media get right/wrong re: Jeremy Arnold’s post about Elon Musk and the
                                                                                                        cave to drop off tiny rescue submarine — which
     Thai cave rescue effort?
                                                                                                        won't be used"?
     Why did Elon Musk accuse the cave-diver, Vern Unsworth, who masterminded the Thai
                                                                                                        What do Tesla and SpaceX employees think about
     cave rescue, of being a pedo
                             pedophile?
                                                                                                        Elon Musk’s involvement in the Thai Cave Boys
     What do you think of "Elon Musk wades into Thai cave to drop off tiny rescue submarine             rescue?
     — which won't be used"?
                                                                                                        How was Elon Musk's submarine intended to help
     What do Tesla and SpaceX employees think about Elon Musk’s involvement in the Thai                 the Thai Cave Rescue?
     Cave Boys rescue?
                                                                                                        Why didn't Elon Musk get the credit he deserved
     How was Elon Musk's submarine intended to help the Thai Cave Rescue?                               for his involvement in the Thai cave rescue effort?

                                                                                                        Was Elon Musk helpful at the Thai cave rescue?
            Julian Robson, Been involved in numerous startups.
            Updated Apr 5, 2019 · Author has 429 answers and 579.4k answer views                        What do you think of "Just what was the point of
                                                                                                        Elon Musk's 'non-practical' submarine rescue
     Couple of answers here are almost there except Jeremy’s which is basically defending
                                                                                                        effort in Thailand?"?
     Musk as this poor guy who tried to help and got slammed with a sprinkle of light
     condemnation for some cred. It left out one very important event. And it makes it more             What do you think of Elon Musk's negtive
     curious given the very professional lengths he went to paint the picture. And even more            comments on Thai cave rescue heros?
     curious is that Musk referred to Jeremy’s post as an “Intelligent and thoughtful piece.”
                                                                                                        What do you think of "Elon Musk Has Finally
     Hmmm… a post on Quora?! I smell a rat. And it’s mostly just a post on how mean people
                                                                                                        Apologized to the Thai Cave Diver He Called a
     are. A Twitter critique. Please. I could pen an article and copy/paste 10,000 tweets from
                                                                                                        'Pedo'"?
                                                                                                         Pedo
     Musk Sychophants who agreed Unsworth was a pedo     pedo. What does that prove either way?
     Nothing except there’s a lot of nobs in the world. Anyway on with what happened…

     Keeping it simple with events mixed with reasonable assumptions.

     First. Musk has a “knight in shining armour” complex. Nothing wrong with that. In extreme
     cases like his it is accompanied by a large ego. No big deal (if it doesn’t get in the way of
     saving lives), most ultra successful people are like this, but it has context.

     Prequel.

     Vern Unworth knows the caves like no one else. He’s mapped them. Has decades of caving
     experience. He knows EVERY passage. Every diameter. He literally points the rescuers to
     where the boys are and says you need to get “these” guys in. He is the mastermind.
     Without him (and others) the boys would be dead.

     The events:

       1. Musk hears about the rescue. His ears prick up and he’s away. Great stuff. Good
          on him.

       2. He somehow gets a line to a diver(s). Now you are in a tense situation and some
          innovative billionaire offers some crazy solution so you think “nothing lost here
          and we’re desperate, go for it dude!”

       3. He brings the sub to the site. Impressive in the timeframe. But it’s unbelievably
          tense — the first rescue has occurred and by now they’ve all but sussed it out.

       4. The EXPERTS look at the sub, talk about it and the official then tells Musk, “thanks
          for the offer but it’s not what we need and be on your way because we’ve got
          lives to save and this is now a distraction.” This is important. If you think the
          official acted alone you’d be delusional. There would be experts everywhere.
          They’d been planning the rescue for a week or so. Rehearsals. Meticulous
          planning. It was working. The sub could only bring out one at a time. It might not
          even fit through the narrow passages. The boys would have to be able to test it
                                                                                                                                  Exhibit 46
https://www.quora.com/Whats-the-full-story-behind-Elon-Musks-involvement-with-the-Thai-cave-rescue-effort                                                     10/17
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                                                                                                  69rescue effort? Page
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         too. Claustrophobia? Air systems? It would have to be tested. Etc. etc. — at the
         time it wasSearch for questions,
                     preposterous   to evenpeople,  andit.topics
                                              consider     Not Musk’s fault; he had a crack, but                                                        Sign In
         it wasn’t needed, this was a different time than when Stanton suggested he have
         a go, and the distraction definitely wasn’t welcome. And Unsworth would
         definitely have been one of the experts consulted. You know, the guy who knows                Related Questions
         every inch of the cave. In fact it’s probably reasonable to assume that he might
         have been one of the main guys who would have said, “na, no chance.”                          What did the media get right/wrong re: Jeremy
                                                                                                       Arnold’s post about Elon Musk and the Thai cave
       5. Now there’s one thing here we don’t know. What was the mood like at the site?
                                                                                                       rescue effort?
          Did Musk waltz in and the team wasn’t happy with the intrusion and there was
          tension? Because it would have been a bit of a circus all round. Did Musk react              Why did Elon Musk accuse the cave-diver, Vern
          and argue when being told to leave? Who knows. Perhaps it might in some way                  Unsworth, who masterminded the Thai cave
          explain his bitey tweet at the official?                                                     rescue, of being a pedo
                                                                                                                          pedophile?

       6. Now here’s where the shit starts, but many gloss over this important point and               What do you think of "Elon Musk wades into Thai
          think it has no bearing. Bullshit. Musk jumps on Twitter because to him he has               cave to drop off tiny rescue submarine — which
          been humiliated. He’s frantically built the sub, taken a team over, gone to the              won't be used"?
          caves and been turned away. He jumps on and has a dig at the official saying he’s
                                                                                                       What do Tesla and SpaceX employees think about
          not an expert, and his title is wrong, and then proceeds to copy tweets that only
                                                                                                       Elon Musk’s involvement in the Thai Cave Boys
          state “yeah dude, it could be useful.” See point 2. So let’s sit back and look what          rescue?
          Musk did. He effectively tried to discredit a team member and create conflict
          between a team in the middle of a crisis to make it look like he’s been wronged.             How was Elon Musk's submarine intended to help
          Not cool. Not cool at all. And when they find out that team will hit you like a ton          the Thai Cave Rescue?
          of bricks. You better believe it.
                                                                                                       Why didn't Elon Musk get the credit he deserved
       7. And why did he send the tweet anyway? What was he trying to prove? That he                   for his involvement in the Thai cave rescue effort?
          was wrong in being turned away? That the sub would have had a better
                                                                                                       Was Elon Musk helpful at the Thai cave rescue?
          outcome? He wasn’t wronged in being turned away and the outcome would not
          have been better. What purpose did the tweet serve? The boys had been saved                  What do you think of "Just what was the point of
          dude. And even then he was doubling down, saying that he’s going to go back to               Elon Musk's 'non-practical' submarine rescue
          the cave and “prove” it would be work! I’ll fix those bastards! Oh, umm, “Hey                effort in Thailand?"?
          great effort team!” Hmmm, see some classic behaviours happening here people?
          Let it go man. It doesn’t matter.                                                            What do you think of Elon Musk's negtive
                                                                                                       comments on Thai cave rescue heros?
     Now from here I am tipping that the rescue team has got wind of this and thought “what a
                                                                                                       What do you think of "Elon Musk Has Finally
     sanctimonious little prick.” Trying to discredit us and make it all about him. Why didn’t he
                                                                                                       Apologized to the Thai Cave Diver He Called a
     just walk away and go “glad I could try and help.” AND THAT’S IT. But no. These people,
                                                                                                       'Pedo'"?
                                                                                                        Pedo
     the overloaded knights in shining armour cannot handle when their offers get knocked
     back. Their ego is dented so they start dissing anyone who rejected them. Sounding like a
     certain POTUS we know?

     So when Unsworth, who no doubt has had to deal with all sorts of crazy shit for weeks —
     probably hardly any sleep and doesn’t suffer fools — gets asked what did he think of
     Musk’s idea he said what he said. Most of us in that situation would have probably done
     the same. OK, maybe he was a bit harsh. He should have offered some lube… Although it
     was apparently a tiny sub designed to fit in small crevices… jokes aside, if you’re still going
     “Oh, Musk’s tweet had nothing to do with Unsworth’s comments,” then offer an
     explanation, because the only ones I’ve seen are clutching at straws. “He was riding the
     anti-Musk narrative.” What?! “He was jealous of Stanton.” Hahaha. So he wouldn’t have
     seen Musk’s divisive tweet, but he saw Stanton’s? Please. So come on. Really, why would
     Unsworth be so salty? He’s not just going to come out at random and say that. And it’s not
     because he was riding the narrative. That’s absurd. He wouldn’t have given a shit about the
     narrative.

     And then of course Musk did what all good narcissistic egomaniacs do — he lost his shit
     and called him a pedo and a nobody (I’m seeing a “nobody” trend). Sorry? The guy who
     knows every inch of the caves. And the guy has a daughter dude and you’ve plastered it all
     over the internet to your 20 million followers! Many of who are going “yeah he’s a pedo
     alright, you go Elon, our hero.” No people, Unsworth was a hero, Musk lucked out this
     time.

     Look I didn’t have an opinion of Musk either way. I thought he was an innovator and at
     first did a good thing. But looking at it from an objective point of view and seeing the
     events unfold he is an ass and an egomaniac.

     In summary there only needs to be 2 key questions that warrant intelligent, un-biased
     answers. Everything else is by-play and a distraction:

       1. Why did Musk feel the need to tweet about the officials title and declare he
          wasn’t the “expert”?
                                                                                                                                 Exhibit 46
https://www.quora.com/Whats-the-full-story-behind-Elon-Musks-involvement-with-the-Thai-cave-rescue-effort                                                    11/17
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       2. Why was Unsworth so salty?
                    Search for questions, people, and topics                                                                                           Sign In
     Be interested in any logical and intelligent conclusions.
     51.8k views · View 162 Upvoters · View Sharers
                                                                                                      Related Questions

     Promoted by Toptal
                                                                                                      What did the media get right/wrong re: Jeremy
     What is the best way to find and hire a freelancer?                                              Arnold’s post about Elon Musk and the Thai cave
             Pablo Macias, Growth Expert at Toptal (2018-present)                                     rescue effort?
             Updated Feb 8, 2019
                                                                                                      Why did Elon Musk accuse the cave-diver, Vern
     The best methods for hiring freelancers are those that minimize time, money, and                 Unsworth, who masterminded the Thai cave
     uncertainty and maximize consistency.                                                            rescue, of being a pedo
                                                                                                                         pedophile?
         Hire through a freelance talent website: Sites like Toptal are great if you’re short
                                                                                                      What do you think of "Elon Musk wades into Thai
         on time and care about quality. With Toptal , you won’t have to find a freelancer
                                                                                                      cave to drop off tiny rescue submarine — which
         -th...                                                                                       won't be used"?

     (Continue Reading)                                                                               What do Tesla and SpaceX employees think about
                                                                                                      Elon Musk’s involvement in the Thai Cave Boys
                                                                                                      rescue?
             Øystein Runde, worked at Writing
             Updated Jul 27, 2018 · Author has 65 answers and 224.6k answer views                     How was Elon Musk's submarine intended to help
     Heavily EDITED this to clarify.                                                                  the Thai Cave Rescue?

     Elon was asked to help.                                                                          Why didn't Elon Musk get the credit he deserved
                                                                                                      for his involvement in the Thai cave rescue effort?
     He said he would do so if asked, but assumed Thai officials knew what they were doing.
                                                                                                      Was Elon Musk helpful at the Thai cave rescue?
     Leader of the dive team could not any stone lay unturned, so he accepted the offer for
                                                                                                      What do you think of "Just what was the point of
     help.
                                                                                                      Elon Musk's 'non-practical' submarine rescue
                                                                                                      effort in Thailand?"?
     Elon could (and would) not say no. Leader of the dive team could not tell Elon to stop. Elon
     asked clearly, in his email, about whether his mini-sub would be useful. The answer was          What do you think of Elon Musk's negtive
     yes.                                                                                             comments on Thai cave rescue heros?

     The guy who knew the cave system, Unsworth, for some reason decided that the sub was             What do you think of "Elon Musk Has Finally
     useless (too big to fit through the cave system). Maybe because Unsworth knew better             Apologized to the Thai Cave Diver He Called a
     than the leader of the dive team (Unsworth after all knew the system well). Maybe the            'Pedo'"?
                                                                                                       Pedo
     leader of the dive team felt he could use the minisub for SOMETHING. Maybe the leader of
     the dive team felt like he had to let Musk do something, since it would look bad to not use
     Musk when Musk was “available”. But then it would be better to say the minisub was bad
     and that Musk should build something else. So this looks weird.

     Unsworths response, that minisub is useless: Maybe true or maybe based on all the anti-
     Musk stories that are “cool” in media today. If true, then leader of dive team lied to Musk.
     Most probable is that minisub works but just barely - no matter how good the minisub is,
     it’s obviously very hard to be 100% sure if it will fit at all places.

     The “Elon Musk is the Messiah” angle has been strong for soooo long (I’ve used it a few
     times myself) and Musk is now so successful that his underdog position of the past has
     been totally forgotten. So 1. the huge amount of money invested in shorting Tesla (more
     than a BILLION dollars to be lost if Tesla goes up) and 2. the media’s need for new angles
     (build up then tear down) together generates a flurry of anti-Musk articles nowadays.

     The sad part is that Elon was winning, and then he threw an unnecessary insult on top of
     his argument. A classic moment of snatching defeat from the jaws of victory.
     11.4k views · View 26 Upvoters



             Ric Lim, Founder of Creators Node (KreyTor.org)
             Updated Jul 22, 2018

     There are a lot of conjectures on the sequence of events in some post attacking Elon,
     including what dive teams were supposedly thinking against him. Only Unsworth and the
     former Thai governor were asked by the media and responded to question about Elon’s
     submarine being unhelpful. The actual first tweet that created controversy was what
     appeared to be Elon downplaying the role of the former governor who said the submarine
     is impractical. He was trying to point out that he was dealing with Stanton, the supposed
     cave rescue expert. Maybe he had a poor choice of word and appeared to be dissing the
     former governor. But if you read the actual tweet it is not a clear insult and is open to

                                                                                                                                Exhibit 46
https://www.quora.com/Whats-the-full-story-behind-Elon-Musks-involvement-with-the-Thai-cave-rescue-effort                                                   12/17
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     interpretation, far from his tweet in anger to Unsworth in response to being told to shove
     his submarine upSearch  for questions, people, and topics
                        his rear.                                                                                                                          Sign In

     Jeremy’s answer listed the facts to set the record straight because there were a lot of angry
     comments based on misinformation of events surrounding Elon’s attempt to help.                       Related Questions

     The news link below was from a report at a time when there were a lot of uncertainties
                                                                                                          What did the media get right/wrong re: Jeremy
     about the rescue, and they reported Stanton as being the first volunteer there and that he
                                                                                                          Arnold’s post about Elon Musk and the Thai cave
     is an awarded expert in rescue. So it is understandable for Elon to defend himself and claim
                                                                                                          rescue effort?
     he was dealing with the expert who would know better if the submarine is practical or not
     for use in the cave. The former governor is not a cave rescue expert but Elon could have             Why did Elon Musk accuse the cave-diver, Vern
     chosen a better word than to sound dismissive as the guy is still the chief rescue officer           Unsworth, who masterminded the Thai cave
     coordinating the effort even if he is not a cave rescue expert.                                      rescue, of being a pedo
                                                                                                                             pedophile?

     Cave rescue for Thai soccer team has no easy solution | CBC News                                     What do you think of "Elon Musk wades into Thai
                                                                                                          cave to drop off tiny rescue submarine — which
     No excuse for the pedo comment and there’s a reason we have libel law. But some are                  won't be used"?
     commenting out of anger just like Elon did and their comment shows as they twist and
                                                                                                          What do Tesla and SpaceX employees think about
     extend the fact that is not established to paint a more negative picture of Elon in the
                                                                                                          Elon Musk’s involvement in the Thai Cave Boys
     preceding event prior to his heated and libelous exchange with Unsworth.
                                                                                                          rescue?
     On people dissing that the submarine would not have fit. If you follow Elon’s tweet he
                                                                                                          How was Elon Musk's submarine intended to help
     recognized that there are narrow spot as he was shown the map and is aware of the                    the Thai Cave Rescue?
     dimensions and limitations. It might not be practical for the plan they were going with but
     they did use stretcher which is about the same size. The submarine is small. They’ve used            Why didn't Elon Musk get the credit he deserved
     pulley in drop zone for the stretcher which could also be used on the submarine. The                 for his involvement in the Thai cave rescue effort?
     submarine was meant to be used because of fear that some of the kids might be too weak
                                                                                                          Was Elon Musk helpful at the Thai cave rescue?
     to use scuba gear and swim.
                                                                                                          What do you think of "Just what was the point of
     Unsworth was clearly pissed as the press pressed him on what he thought of Elon’s
                                                                                                          Elon Musk's 'non-practical' submarine rescue
     “useless” submarine and how Elon got kicked out for supposedly being a bother. The                   effort in Thailand?"?
     former is still disputed and the latter is being used to suggest he was in the way
     hampering the rescue effort. That was not the case. But the way questions were being                 What do you think of Elon Musk's negtive
     asked to Unsworth makes it seems like Elon is stealing their spotlight and parachuting in            comments on Thai cave rescue heros?
     with a useless submarine.
                                                                                                          What do you think of "Elon Musk Has Finally
     Is Elon a narcissist? A narcissist only cares about himself. He would not have donated to            Apologized to the Thai Cave Diver He Called a
                                                                                                          'Pedo'"?
                                                                                                           Pedo
     charities like Sierra Club and sacrificed his fortune to risk it at Tesla and other clean energy
     company. He is already rich and did not need to take on the oil companies who have
     billions in profit that can be used to ruined him. What Elon is might be sensitivity to being
     criticized or being short tempered on what he deem is unfair criticism. This might have to
     do with him being bullied as a kid. Elon Musk turns 47 today — here's the incredible story
     of how he went from getting bullied in school to the most interesting man in tech

     Edited: to expand on some points and respond to Elon being a narcissist,
     12.9k views · View 12 Upvoters



     Related Questions                                                               More Answers Below


     What do Tesla and SpaceX employees think about Elon Musk’s involvement in the Thai
     Cave Boys rescue?

     How was Elon Musk's submarine intended to help the Thai Cave Rescue?

     Why didn't Elon Musk get the credit he deserved for his involvement in the Thai cave
     rescue effort?

     Was Elon Musk helpful at the Thai cave rescue?

     What do you think of "Just what was the point of Elon Musk's 'non-practical' submarine
     rescue effort in Thailand?"?


             Petra Dudaskova, Student, interested in engineering, hobby indoor skydiver
             Answered Jul 18, 2018 · Author has 62 answers and 118.3k answer views

     I think Jeremy Arnold’s answer explains Musk’s actions during the Thai rescue mission well
     eventhough I disagree with the politcal part of his answer.

     But


                                                                                                                                    Exhibit 46
https://www.quora.com/Whats-the-full-story-behind-Elon-Musks-involvement-with-the-Thai-cave-rescue-effort                                                       13/17
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     Media and everyone seems to be defending the British diver depicting him as the victim of
     Musk's critism.Search for questions,
                    But Musk   could have people,
                                            gottenand topics
                                                   pissed  off equally when being told to                                                              Sign In
     "stick his submarine where it hurts" and just doing “a PR stunt” and could have
     considered a legal action against him too.
                                                                                                      Related Questions
     But he didn’t.

     Everyone here is talking about Musk and how he called the diver a “pedo
                                                                        pedo guy” but it seems        What did the media get right/wrong re: Jeremy
                                                                                                      Arnold’s post about Elon Musk and the Thai cave
     no one notices that Unsworth actually attacked Musk first.
                                                                                                      rescue effort?
     Calling someone a pedo guy is bad and Musk should have used different words and
                                                                                                      Why did Elon Musk accuse the cave-diver, Vern
     maybe not tweet when angry, but I understand his anger. Imagine trying to help and               Unsworth, who masterminded the Thai cave
     sending your people to the place of action and some British guy tells you to “shove your         rescue, of being a pedo
                                                                                                                         pedophile?
     submarine up your ass”. I think many people would get really angry.
                                                                                                      What do you think of "Elon Musk wades into Thai
     Both men should have better thought about the words they used but don’t try to                   cave to drop off tiny rescue submarine — which
     defend the British diver. He’s not the victim. He has his part on the whole “pedo
                                                                                  pedo guy-           won't be used"?
     thing” and should apologize too.
                                                                                                      What do Tesla and SpaceX employees think about
     12.8k views · View 68 Upvoters                                                                   Elon Musk’s involvement in the Thai Cave Boys
                                                                                                      rescue?

             Gary Stillman, Senior Software Developer at NVIDIA                                       How was Elon Musk's submarine intended to help
             Answered Jul 22, 2019 · Author has 69 answers and 33.9k answer views                     the Thai Cave Rescue?
     Why was Elon Musk at the Thai cave rescue?
                                                                                                      Why didn't Elon Musk get the credit he deserved
                                                                                                      for his involvement in the Thai cave rescue effort?

                                                                                                      Was Elon Musk helpful at the Thai cave rescue?

                                                                                                      What do you think of "Just what was the point of
                                                                                                      Elon Musk's 'non-practical' submarine rescue
                                                                                                      effort in Thailand?"?

                                                                                                      What do you think of Elon Musk's negtive
                                                                                                      comments on Thai cave rescue heros?

                                                                                                      What do you think of "Elon Musk Has Finally
                                                                                                      Apologized to the Thai Cave Diver He Called a
                                                                                                      'Pedo'"?
                                                                                                       Pedo




     Elon Musk has tweeted that he visited the Thai rescue operation but did not share images
     of himself at the site

     Tech entrepreneur Elon Musk's attempt to help the Thai cave rescue mission has attracted
     both praise and criticism.

     The SpaceX and Tesla chief posted on social media that he had visited the operation's
     command centre, where he said he had left a mini-submarine that had been designed to
     carry a trapped football team to safety.

     The head of the rescue mission thanked Mr Musk for his offer.

     But he said the sub could not be used.

     "The equipment they brought to help us is not practical with our mission," Narongsak
     Osotthanakorn explained.

     "Even though their equipment is technologically sophisticated, it doesn't fit with our
     mission to go in the cave."

     Thai Navy Seals subsequently announced that all 12 boys and their coach had been
     brought out safely.

     Mr Musk has since tweeted an email from Richard Stanton - one of two British caving
     experts called in to front the rescue - which had urged the business leader to build the
     capsule as quickly as possible.



                                                                                                                                Exhibit 46
https://www.quora.com/Whats-the-full-story-behind-Elon-Musks-involvement-with-the-Thai-cave-rescue-effort                                                   14/17
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     Two days later Mr Musk confirmed he was sending engineers from SpaceX and his Boring
     Company - whichSearch for questions,
                       specialises          people,
                                   in drilling       and topics
                                               - to Thailand.                                                                                            Sign In

     He followed with several posts speculating about possible technical solutions to the
     problem. These includeda proposal for an air tube that could be inflated "with air like a          Related Questions
     bouncy castle", which he suggested could let the cut-off party walk to freedom.

     Mr Musk ultimately settled on turning part of one of SpaceX's Falcon rockets into a "kid-          What did the media get right/wrong re: Jeremy
                                                                                                        Arnold’s post about Elon Musk and the Thai cave
     size submarine", and he posted videos of its tests online.
                                                                                                        rescue effort?
     When questioned whether the craft risked blocking a tight section of the tunnel system, he
                                                                                                        Why did Elon Musk accuse the cave-diver, Vern
     replied that his engineers had built an inflatable replica of the craft, which could be used       Unsworth, who masterminded the Thai cave
     to check that this would not happen.                                                               rescue, of being a pedo
                                                                                                                           pedophile?

     He added that a smaller version was also being built          .                                    What do you think of "Elon Musk wades into Thai
                                                                                                        cave to drop off tiny rescue submarine — which
     "Based on extensive cave video review and discussion with several divers who know [the]            won't be used"?
     journey, SpaceX engineering is absolutely certain that mini-sub can do entire journey and
     demonstrate at any time," he posted .                                                              What do Tesla and SpaceX employees think about
                                                                                                        Elon Musk’s involvement in the Thai Cave Boys
     Although the craft was not needed, Mr Musk has said that he has left the mini-sub with the         rescue?
     Thai authorities "in case it may be useful in the future".
                                                                                                        How was Elon Musk's submarine intended to help
     The billionaire has form with making eye-catching humanitarian acts.                               the Thai Cave Rescue?

     Last year, he was thanked by Puerto Rico's governor for setting up a solar panel and               Why didn't Elon Musk get the credit he deserved
     battery system to provide power to a children's hospital in San Juan after it was hit by a         for his involvement in the Thai cave rescue effort?
     hurricane.
                                                                                                        Was Elon Musk helpful at the Thai cave rescue?
     But while his most recent intervention has won him praise from some, others have
                                                                                                        What do you think of "Just what was the point of
     questioned his motivations and suggested he might even have been a distraction.                    Elon Musk's 'non-practical' submarine rescue
                                                                                                        effort in Thailand?"?
     "Elon Musk is well known to have an eye for the headlines, but to be fair he only became
     involved after a message from one of his army of fans on Twitter," commented the BBC's             What do you think of Elon Musk's negtive
     technology correspondent Rory Cellan-Jones.                                                        comments on Thai cave rescue heros?

     "The fact that his company's space technology and its much vaunted tunnelling skills               What do you think of "Elon Musk Has Finally
     proved irrelevant to the operation is a reminder that sometimes this tech superhero                Apologized to the Thai Cave Diver He Called a
     doesn't quite match up to the Iron Man of his fans' dreams."                                       'Pedo'"?
                                                                                                         Pedo

     187 views · View 1 Upvoter · Answer requested by Ranjan Dailata



             Chuck Bluestein, works at Self-Employment
             Answered Jul 18, 2019 · Author has 1.9k answers and 308.1k answer views

     I will keep it short. I think that none of this would have if this was not said “He can stick it
     where it hurts.” This is nice way of saying a nasty thing that refers to something profane.
     So this guy started it and Musk finished it. I think the billionaire has enough money to
     check out Unsworth. It sounded like Musk found out something and it was okay to
     challenge Unsworth. He said he would sue Musk but he has not. So he has proved himself
     to be a liar! Of course if he did sue Musk, he can use truth as his defense and would have
     proved that guy did something illegal.

     The reason that so many hate Musk is that he is trying to save the world by reducing the
     burning of fossil fuels that creates a gas that can kill someone in 5 minutes in a closed
     garage. A lot of people make a lot of money doing this so do not want Musk doing what
     he is trying to do. They drive a lot of gas cars in Beijing. See:

     Does breathing the air of Beijing have the same health risks as smoking 40 cigarettes a
     day?

     Was Porsche's first car, in 1898, electric?
     116 views



             Devan Bhalla, School & Student Manager at Univariety (2012-present)
             Answered Jul 19, 2018 · Author has 129 answers and 203.3k answer views

     Elon Musk’s involvement majorly came out as a PR stunt. With many of his tweets on social
     media the headline read a tale of good intentions and bad tweets.



                                                                                                                                  Exhibit 46
https://www.quora.com/Whats-the-full-story-behind-Elon-Musks-involvement-with-the-Thai-cave-rescue-effort                                                     15/17
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     Nonetheless his intentions were not bad. There are contradictions about both, but let’s not
                    Search for
     get there. The positive    questions,
                             side           people, and
                                  is that everyone’s safetopics
                                                           from the The Cave Rescue Mission.                                                           Sign In

     Here’s how it all unfolded.
                                                                                                      Related Questions
       1. http://blog.univariety.com/what-...

       2. Elon Musk and the Thai cave rescue: a tale of good intentions and bad tweets                What did the media get right/wrong re: Jeremy
                                                                                                      Arnold’s post about Elon Musk and the Thai cave
     6k views · View 4 Upvoters                                                                       rescue effort?

                                                                                                      Why did Elon Musk accuse the cave-diver, Vern
             Charlie Douglas                                                                          Unsworth, who masterminded the Thai cave
             Answered Jul 18, 2018                                                                    rescue, of being a pedo
                                                                                                                         pedophile?

     It doesn’t matter what he did or was going to do. Adults don’t call other adults pedos           What do you think of "Elon Musk wades into Thai
     unless you have actual substance behind the claim. Of all the corruption and actual pedo         cave to drop off tiny rescue submarine — which
     crimes going on, Elon looks less of a trustworthy character to the American public. All this     won't be used"?
     over a rocket that wasn’t used. Again, it does not matter what the reason or context comes
                                                                                                      What do Tesla and SpaceX employees think about
     from if it’s false and unfair accusation. And if some other kid uses his as a “well Trump does
                                                                                                      Elon Musk’s involvement in the Thai Cave Boys
     XYZ” then you’re part of the problem, not the celebrity.
                                                                                                      rescue?
     6k views · View 12 Upvoters · View Sharers
                                                                                                      How was Elon Musk's submarine intended to help
                                                                                                      the Thai Cave Rescue?
             Stacy Kerr
             Answered Jul 18, 2018                                                                    Why didn't Elon Musk get the credit he deserved
                                                                                                      for his involvement in the Thai cave rescue effort?
     So, Elon should filter his humanity and hire a PR person so that we don't see his flaws?
     Really? We all have them, and I'll take the human over a POS hiding behind someone who           Was Elon Musk helpful at the Thai cave rescue?
     runs every thought up a flagpole before commenting. That's the problem with Americans -
                                                                                                      What do you think of "Just what was the point of
     they want everyone and everything to be pretty, even if it's BS. Welcome to Panem!
                                                                                                      Elon Musk's 'non-practical' submarine rescue
     1.1k views · View 4 Upvoters                                                                     effort in Thailand?"?

                                                                                                      What do you think of Elon Musk's negtive
                                                                                                      comments on Thai cave rescue heros?
     Related Questions
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                                                                                                      Apologized to the Thai Cave Diver He Called a
     What did the media get right/wrong re: Jeremy Arnold’s post about Elon Musk and the
                                                                                                      'Pedo'"?
                                                                                                       Pedo
     Thai cave rescue effort?

     Why did Elon Musk accuse the cave-diver, Vern Unsworth, who masterminded the Thai
     cave rescue, of being a pedo
                             pedophile?

     What do you think of "Elon Musk wades into Thai cave to drop off tiny rescue submarine
     — which won't be used"?

     What do Tesla and SpaceX employees think about Elon Musk’s involvement in the Thai
     Cave Boys rescue?

     How was Elon Musk's submarine intended to help the Thai Cave Rescue?

     Why didn't Elon Musk get the credit he deserved for his involvement in the Thai cave
     rescue effort?

     Was Elon Musk helpful at the Thai cave rescue?

     What do you think of "Just what was the point of Elon Musk's 'non-practical' submarine
     rescue effort in Thailand?"?

     What do you think of Elon Musk's negtive comments on Thai cave rescue heros?

     What do you think of "Elon Musk Has Finally Apologized to the Thai Cave Diver He Called
     a 'Pedo'"?
        Pedo

     Would Elon Musk's cave rescue plan actually have worked?

     What do you think of "Elon Musk 'Can Stick His Submarine Where It Hurts,' Says Diver in
     Thai Cave Rescue"?

     What do you think of "Elon Musk’s big, failed plan to bring a mini-submarine to rescue the
     Thai boys"?

     Is Elon Musk gay?

     Why is Elon Musk continuing to verbally attack a Thai cave diver, and why has his public
     behavior been so erratic lately?

                                                                                                                                Exhibit 46
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                                                                                                            Why did Elon Musk accuse the cave-diver, Vern
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                                                                                                                               pedophile?

                                                                                                            What do you think of "Elon Musk wades into Thai
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                                                                                                            How was Elon Musk's submarine intended to help
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                                                                                                            for his involvement in the Thai cave rescue effort?

                                                                                                            Was Elon Musk helpful at the Thai cave rescue?

                                                                                                            What do you think of "Just what was the point of
                                                                                                            Elon Musk's 'non-practical' submarine rescue
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                                                                                                             Pedo




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                                 UNITED STATES DISTRICT COURT
   10
                               CENTRAL DISTRICT OF CALIFORNIA
   11
   12
        VERNON UNSWORTH,                                Case No. 2:18-cv-08048
   13
                        Plaintiff,                      Judge: Hon. Stephen V. Wilson
   14
                  vs.                                   DEFENDANT ELON MUSK’S
   15                                                   NOTICE OF MOTION AND
                                                        MOTION TO DISMISS PLAINTIFF
   16 ELON MUSK,                                        VERNON UNSWORTH’S
                                                        COMPLAINT; MEMORANDUM OF
   17                   Defendant.                      POINTS AND AUTHORITIES
   18                                                   Date: April 1, 2019
                                                        Time: 1:30 p.m.
   19                                                   Place: Courtroom 10A
   20                                                   Complaint Filed:       Sept. 17, 2018
                                                        Trial Date:            None set
   21
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    1             TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
    2             PLEASE TAKE NOTICE THAT on April 1, 2019, at 1:30 p.m., or as soon
    3 thereafter as may be heard, in Courtroom 10A (10th Floor) of the above-entitled
    4 Court, located in the First Street Courthouse, 350 W. 1st Street, Los Angeles,
    5 California 90012, Defendant Elon Musk will and hereby does move the Court for an
    6 Order dismissing Plaintiff Vernon Unsworth’s Complaint. This Motion is based on
    7 this Notice of Motion, the Memorandum of Point and Authorities filed herewith, the
    8 pleadings and papers filed in this action, and such other matters as may be presented
    9 to the Court at the time of the hearing.
   10             Elon Musk makes this Motion on the grounds that the statements identified in
   11 Vernon Unsworth’s complaint are not actionable.
   12             This Motion is made following the conference of counsel pursuant to L.R. 7-3,
   13 which took place on December 18, 2018.
   14
   15 Dated: December 26, 2018                   HUESTON HENNIGAN LLP
   16
   17                                            By: /s/ Moez M. Kaba
   18                                                 Moez M. Kaba
                                                      Attorneys for Defendant Elon Musk
   19
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    1                    MEMORANDUM OF POINTS AND AUTHORITIES
    2 I.          INTRODUCTION & BACKGROUND
    3             In June and July 2018, Elon Musk and numerous others at SpaceX, the Boring
    4 Company, and Tesla, sought to help rescue twelve boys who were trapped in one of
    5 Thailand’s caves. (Compl. ¶¶ 23-25.) Many individuals, including representatives of
    6 the Thai government, other officials, and members of the public, confronting the
    7 prospects of an unfathomable tragedy, looked to Musk—who is known for pioneering
    8 revolutionary transportation technologies at his companies Tesla, SpaceX, and the
    9 Boring Company—for help.
   10             Within hours of being in communication with Thai officials, Musk directed
   11 Tesla, SpaceX, and the Boring Company (which specializes in tunneling and
   12 construction) engineers to develop potential solutions to provide assistance to the
   13 rescue.1 And soon after, Musk sent the first of what would be several engineers to
   14 Chiang Rai. Dozens of engineers, and Musk himself, doubled down on their work,
   15 sacrificing their familial obligations and cancelling vacations, so that they could help
   16 the cave rescue efforts.2 The team worked countless hours each day for days on end,
   17 deploying the knowledge they had gained through years of developing
   18 unprecedented transportation systems. Aware of the time constraints, the team
   19 developed a groundbreaking miniature submarine that could carry the children to
   20 safety. The development efforts included not just developing rescue equipment but
   21 also providing resources for pumping water in order to provide additional capacity to
   22 keep up with oncoming rains (including delivering ground sump pumps, Tesla
   23 Powerwalls, and securing extremely high capacity pumps in Europe), and surveying
   24 in order to increase air flow into the cave and drain water out (including delivering
   25
   26   1
        Justin Wise, Elon Musk Sends Engineers to Help Thai Cave Rescue Mission, THE
      HILL
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    1 underwater surveying equipment and arranging for sonar scanners and a 3D laser
    2 tracker).3
    3             In developing their rescue vehicle, Musk communicated directly with Richard
    4 Stanton who co-led the dive rescue team and provided Musk with details and
    5 specifications. (Declaration of Moez M. Kaba, filed herewith, (“Kaba Decl.”) Ex. 1
    6 (E-mail exchange between Musk and Stanton.).) Other members of Musk’s team
    7 communicated with divers and other military officials on the ground, and
    8 incorporated their feedback in designing the rescue equipment. Stanton explicitly
    9 urged Musk to “continu[e] with the development of this system” as “it may well be
   10 used.” (Id.)
   11             In addition to other SpaceX, Tesla, and the Boring Company employees who
   12 traveled to Thailand, Musk himself put his professional and personal obligations on
   13 hold to travel to Thailand to speak to rescuers on the ground and help in any way
   14 possible. As reported in the Thai press, Musk was greeted at the airport by the Thai
   15 Prime Minister who asked him to provide equipment “that could help Thailand in the
   16 future.”4 Members of the Thai Army and Navy also greeted Musk and his team at the
   17 airport and invited them to the cave rescue site.
   18             On July 10, the children were rescued. In reaction, Musk tweeted: “Great
   19 news that they made it out safely. Congratulations to an outstanding rescue team!”
   20 Although it was ultimately not used in the rescue operation, the mini-submarine
   21 developed by Musk and his team of volunteers was given to the Thai Navy SEAL
   22 team for use in future rescue missions. SpaceX engineers spent additional time in
   23 Thailand training members of the Thai Navy to use the mini-submarine.5
   24
   25   3
        Ashley Wong, Elon Musk Sends an ‘Escape Pod’ to Help in Thailand Cave Rescue,
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    1             Musk and engineers from his companies were singularly focused on assisting
    2 the rescue efforts in any way they could. Yet, Plaintiff Vernon Unsworth decided to
    3 gratuitously attack them and insult their contributions. Unsworth appeared on CNN
    4 and, for reasons unknown, decided to pick a fight with Musk in spectacularly public
    5 fashion. (Complaint, ¶ 71.) Despite having never met Musk, Unsworth began
    6 striking at Musk and his colleagues. (Id.) Unsworth called Musk’s efforts a “PR
    7 stunt” that had “absolutely no chance of working.” (Id.) He also advised Musk to
    8 “stick his submarine where it hurts.” (Id.)
    9             Contrary to Unsworth’s assertions, the Thai Government appreciated Musk’s
   10 and his team’s help. The Prime Minister of Thailand wrote to Musk to “convey [his]
   11 deep appreciation to [Musk] and [his] engineering team for [their] expeditious and
   12 extraordinary efforts in constructing the Space-X mini-submarine “Wild Boar” to
   13 assist the rescue operation…” (Kaba Decl., Ex. 2 (Letter from Prime Minister to
   14 Musk).) The Prime Minister commented that he was “particularly touched” that
   15 Musk “personally travelled to Thailand to deliver the ‘Wild Boar’ Space-X mini-sub,
   16 which was made possible through [his] expertise and the cooperation with various
   17 experts involved with this highly complicated and urgent rescue operation.” (Id.)
   18             Similarly, the Royal Thai Army Special Forces commended Musk and
   19 SpaceX’s efforts, writing:
   20             I would like to express to you and all the SpaceX members my sincerest
                  appreciation and gratitude for your support during the “Operation Wild
   21
                  Boars.” You will be in our memory and our hearts that once you are one
   22             who made the impossible mission possible. From what you did really
                  give us hope and made us believe in humanity. We will be very pleased
   23
                  to welcome you as our guest when you come to visit Thailand
   24             again. Thank you so much from our hearts.
   25
        (Kaba Decl., Ex. 3 (Letter from Royal Thai Army Special Forces to Musk).) The
   26
        Royal Thai Army further issued a Special Warfare Command Certificate to Musk
   27
        and his team in recognition of their assistance. (Kaba Decl., Ex. 4 (Royal Thai Army
   28
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    1 Certificate).)
    2             These facts did not deter Unsworth from berating Musk and the selfless work
    3 of the engineering team he had assembled. Shocked by Unsworth’s indefensible and
    4 baseless attacks, Musk answered to defend himself and the efforts of SpaceX, Tesla,
    5 and the Boring Company employees who had given up their days and nights to help
    6 find a solution. (Complaint, Ex. B, p. 28.) Musk took to Twitter—a social
    7 networking website infamous for invective and hyperbole—to respond. (Id.) Musk,
    8 unaware even of Unsworth’s name, tweeted that he had never met the “dude” from
    9 CNN, but was nonetheless determined to prove him wrong. (Id. ¶ 75.) He vowed to
   10 demonstrate that his submarine could navigate the caves “no problemo.” (Id. ¶ 76.)
   11 And just like Unsworth did, Musk tacked on a gratuitous barb. (Id.) Referencing
   12 Thailand’s documented reputation, Musk said that Unsworth was “sus” for being a
   13 “British expat guy who lives in Thailand.” (Id. ¶ 73.) Later, referring back to these
   14 suspicions, Musk dubbed Unsworth “pedo guy.” (Id. ¶ 76.)
   15             The public knew from the outset that Musk’s insults were not intended to be
   16 statements of fact; indeed many wondered aloud why Unsworth attacked Musk’s
   17 efforts in the first place. Unsworth himself claims that Musk was criticized for
   18 making accusations “without any evidence.” (Id. ¶ 80 (emphasis added).)
   19             Musk moved on and decided to end the war of words. He deleted his prior
   20 tweets about Unsworth and publicly apologized. (Id.) Musk tweeted that his initial
   21 remarks had been impulsive—“spoken in anger”—and that Unsworth’s offensive
   22 comments did “not justify” Musk’s outburst. (Id.)
   23             Then Unsworth’s lawyer entered the fray. (Id. ¶ 82.) Like Musk, Unsworth’s
   24 lawyer also chose to communicate on the rough-and-tumble Twitter platform,
   25 chiding Musk and telling him to “check his mail before tweeting.” (Id. ¶ 87.) To
   26 this public tweet, Unsworth’s lawyer attached a picture of a demand letter that he
   27 allegedly sent Musk days earlier. (Id. Ex. H, p. 40.) In that letter, Unsworth’s
   28 lawyer escalated the rhetoric and used words Musk never did. He claimed that Musk
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    1 had accused Unsworth of engaging in “sexual exploitation of Thai children.” (Id.)6
    2             Unsworth and his team’s efforts to the stir the pot worked. Media coverage
    3 reached a fever pitch, with numerous outlets reaching out to Musk for comment on
    4 Unsworth’s lawyer’s Twitter jabs.
    5             Musk did not respond publicly. Instead, he sent an “[o]ff the record” e-mail
    6 responding to BuzzFeed’s inquiry and chewing out the journalist. (Id. Ex. K, p. 56.)
    7 As part of his insults, Musk included a hyperlink to a Google search of “Chiang Rai
    8 child trafficking.” (Id.) Musk theorized that Chiang Rai “isn’t where you go for
    9 caves, it’s where you go for something else.” (Id.) Culminating this long wind up,
   10 Musk caricatured Unsworth as having a “child bride who was about 12 years old.”
   11 (Id. ¶ 88.) Musk closed by answering Unsworth’s lawyer’s threat: “I hope he
   12 fucking sues me.” (Id.)
   13             Even though Musk designated the e-mail as “[o]ff the record,” the BuzzFeed
   14 journalist decided to publish it anyways. (Id. Ex. K, p. 55.) The journalist described
   15 Musk’s bombast as “evidenceless criticism” of Unsworth. (Id. p. 55-56.). While
   16 many readers criticized Musk for lodging what they understood to be groundless
   17 accusations (and criticized Unsworth for disparaging Musk and his team’s efforts to
   18 help), not a single reader seemed to construe Musk’s statements literally. (See, e.g.,
   19 id. Ex. J, pp. 49-50.)
   20             Shortly thereafter Unsworth filed this lawsuit, claiming that Musk’s statements
   21 were defamatory. Musk now moves to dismiss.
   22             This motion boils down to a single question: Accepting Unsworth’s well-
   23 pleaded allegations as true, would a reasonable reader believe that Musk’s statements
   24 were supported by objective facts or were instead “nonactionable opinion”? Gardner
   25
   26
      6
        To further publicize the dispute, Unsworth’s lawyer “tagged” journalists from
   27 BuzzFeed (@RMac18), TechCrunch (@yoda), and FemaleOneZero
      (@TijenOnaran). See L. Lin Wood (@LLinWood), Twitter (Aug. 29, 2018),
   28 https://twitter.com/llinwood/status/1034761900100407296?lang=en.
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    1 v. Martino, 563 F.3d 981, 987 (9th Cir. 2009); see also id. (explaining that the
    2 “threshold question” in any “defamation claim is whether a reasonable factfinder
    3 could conclude that the contested statements implies an assertion of objective fact”).
    4             A statement is one of objective fact only if the reasonable reader would
    5 believe that the speaker possesses underlying information to support it. See, e.g.,
    6 Standing Committee on Discipline of U.S. Dist. Ct for C.D. Cal. v. Yagman, 55 F.3d
    7 1430, 1441 (9th Cir. 1995) (explaining that a statement “is not actionable” unless the
    8 speaker is “claiming to be in possession of objectively verifiable facts”). Here, the
    9 reasonable reader would not have believed that Musk—without having ever met
   10 Unsworth, in the midst of a schoolyard spat on social media, and from 8,000 miles
   11 afar—was conveying that he was in possession of private knowledge that Unsworth
   12 was sexually attracted to children or engaged in sex acts with children. See Torain v.
   13 Liu, 2007 WL 2331073, at *3 (S.D.N.Y. Aug. 16, 2007), aff’d, 279 F. App’x 46 (2d
   14 Cir. 2008) (framing the inquiry in a similar defamation case as whether “an informed
   15 listener would think that defendant was accusing plaintiff of being a pedophile based
   16 on some undisclosed information known only to him”). Musk’s statements were thus
   17 necessarily just imaginative attacks; even if offensive, such speculative insults are by
   18 their nature opinion and protected by the First Amendment.
   19             Context drives the inquiry into whether the reasonable reader would infer
   20 Musk to possess a factual basis for his claims. See Knievel v. ESPN, 393 F.3d 1068,
   21 1075 (9th Cir. 2005). The reasonable reader doesn’t take everything literally: he can
   22 spot “lusty and imaginative expressions of contempt,” Considering Homeschooling
   23 v. Morningstar Educ. Network, 2008 WL 11413459, at *3 (C.D. Cal. Aug. 6, 2008)
   24 (citation omitted); he knows that disputing parties are very likely to include
   25 unsubstantiated charges against one another, Info. Control Corp. v. Genesis One
   26 Computer Corp., 611 F.2d 781, 784 (9th Cir. 1980); he recognizes that there is a set
   27 of “short-hand phrases and language [that is] not generally found in fact-based
   28 documents,” Global Telemedia Int’l, Inc. v. Doe 1, 132 F. Supp. 2d 1261, 1264 (C.D.
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    1 Cal. 2001); and he expects internet speakers to “play fast and loose with facts,”
    2 Summit Bank v. Rogers, 206 Cal. App. 4th 669, 696 (2012) (citation omitted).
    3             Unsworth’s complaint demonstrates that the reasonable reader would not—and
    4 indeed did not—make such a leap. The reasonable reader was aware: Musk and
    5 Unsworth never met (Compl. Ex. B, p. 28.); Unsworth disparaged Musk out of the
    6 blue and over the public airwaves (id. ¶ 71.); and Musk hit back with vituperative
    7 internet insults trading on Thailand’s reputation (id. Ex. D, p. 32.). And actual
    8 readers—as revealed by comments in exhibits attached to Unsworth’s Complaint—
    9 contemporaneously recognized Musk’s comments for what they were: over-the-top
   10 insults not driven by first-hand knowledge. (Id. Ex. J, p. 49.)
   11             In short, the reasonable reader would distinguish Musk’s statements from
   12 those in which factual information about child sex abuse is conveyed. Musk’s off-
   13 the-cuff tweets and e-mails differed in kind from, for example, a Boston Globe
   14 Spotlight exposé, a university press conference, or a criminal complaint.
   15             For these reasons and as set forth below, Unsworth’s suit should be dismissed.
   16 II.         LEGAL STANDARD
   17             A Federal Rule of Civil Procedure 12(b)(6) motion to dismiss is a challenge to
   18 the sufficiency of the pleadings set forth in the complaint. Ashcroft v. Iqbal, 556
   19 U.S. 662, 678 (2009). Although a Court must accept well-pleaded factual allegations
   20 as true, a court is not required to “accept any unreasonable inferences or assume the
   21 truth of legal conclusions.” Brown v. Elec. Arts, Inc., 724 F.3d 1235, 1248 (9th Cir.
   22 2013) (citation omitted). 7
   23             If the plaintiff fails this standard and “it is clear that the complaint could not be
   24 saved by any amendment,” he need not be given leave to amend. Livid Holdings Ltd.
   25
   26
      7
        For purposes of this motion to dismiss, Musk therefore assumes the truth of the
   27 allegations in the complaint and is not asking the court to consider his state of mind
      or any information known to him. See Flowers v. Carville, 310 F.3 1118, 1131 (9th
   28 Cir. 2002) (discussing the actual malice standard).
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    1 v. Salomon Smith Barney, Inc., 416 F.3d 940, 946 (9th Cir. 2005); see also ZL
    2 Techs., Inc. v. Gartner, Inc., 709 F. Supp. 2d 789, 801 (N.D. Cal. 2010), aff’d. 433 F.
    3 App’x 547 (9th Cir. 2011) (dismissing defamation claim against non-actionable
    4 statements with prejudice and collecting cases that did the same).
    5 III.        ARGUMENT
    6             The “threshold question” in any “defamation claim is whether a reasonable
    7 factfinder could conclude that the contested statement implies an assertion of
    8 objective fact.” Gardner, 563 F.3d at 987 (citations omitted). This inquiry “is a
    9 question of law” susceptible to Rule 12(b)(6) challenge. Id. at 986. Here, even
   10 accepting Unsworth’s allegations as true, no reasonable factfinder would conclude
   11 that Musk’s statements were assertions of objective fact.
   12             A.    Unsworth must prove that the reasonable reader would believe
                        Musk possessed private facts implicating Unsworth as a pedophile
   13
   14             Only false statements of fact can be defamatory. See, e.g., Gardner, 563 F.3d

   15 at 986. This is because “[u]nder the First Amendment there is no such thing as a
   16 false idea.” Gertz v. Robert Welch, Inc., 418 U.S. 323, 339 (1974). No matter how
   17 “pernicious an opinion may seem, we depend for its correction not on the conscience
   18 of judges and juries but on the competition of other ideas.” Id. It is the plaintiff’s
   19 burden to make this showing: in a defamation case, “to survive a motion to dismiss, a
   20 plaintiff must establish both that the words about which they complain are
   21 reasonably capable of sustaining a defamatory meaning, and that they are not mere
   22 comment within the ambit of the First Amendment.” Troy Group, Inc. v. Tilson, 364
   23 F. Supp. 2d 1149, 1152 (C.D. Cal. 2005) (citations omitted).
   24       A statement of fact is one that is reasonably understood to be supported by

   25 underlying and undisclosed first-hand information. See, e.g., Yagman, 55 F.3d at
   26 1441 (explaining that a statement “is not actionable” unless the speaker is “claiming
   27 to be in possession of objectively verifiable facts”); Mirage Ent., Inc. v. FEG
   28 Entretenimientos S.A., 326 F. Supp. 3d 26, 38 (S.D.N.Y. 2018) (finding a statement
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    1 non-actionable because the speaker “did not imply that she knows certain facts,
    2 unknown to the audience, which supported her opinion” (citation and alteration
    3 omitted)). This requirement makes sense: if a reader would not think a statement
    4 was backed by objective, verifiable fact, then the statement can be nothing other than
    5 “an interpretation, a theory, conjecture, or surmise.” Yagman, 55 F.3d at 1441.
    6             Courts have consistently held imaginative insults—no matter how repugnant—
    7 are nonactionable so long as a reasonable reader would not believe them to be
    8 backed by objective fact. See, e.g., Torain, 2007 WL 2331073, at *1 (statement that
    9 plaintiff was a “sick racist pedophile” was nonactionable because “no reasonable
   10 person would have believed that defendant was conveying a fact about plaintiff—i.e.,
   11 that plaintiff was engaging in acts of pedophilia”); Krinsky v. Doe 6, 159 Cal. App.
   12 4th 1154 (2008) (statement that plaintiff “has poor feminine hygiene” was not
   13 defamatory because “nothing in this [statement] suggested that the author was
   14 imparting knowledge of actual facts to the reader”); Tipping v. Martin, 2016 WL
   15 397088, *2-3 (N.D. Tex. Feb. 2, 2016) (statement that plaintiff was a “whore” and
   16 “journalist slut” was nonactionable because the audience would not have believed the
   17 speaker to have had “any knowledge concerning [the plaintiff’s] personal life or the
   18 quality of her work as a journalist”); cf. Hustler Mag., Inc. v. Falwell, 485 U.S. 46,
   19 48 (1988) (noting that a cartoon depicting plaintiff as having “a drunken incestuous
   20 rendezvous” was “doubtless gross and repugnant” but “could not reasonably have
   21 been interpreted as stating actual facts”).
   22             The question here is thus a narrow one: Did Musk’s statements signal that he
   23 was in possession of additional undisclosed facts about Unsworth showing that
   24 Unsworth was sexually attracted to children or had engaged in sex acts with
   25 children? See Torain, 2007 WL 2331073, at *3 (framing the inquiry in a similar
   26 defamation case as whether “an informed listener would think that defendant was
   27 accusing plaintiff of being a pedophile based on some undisclosed information
   28 known only to him”).
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    1             Although Unsworth attempts to make this essential showing by pleading it in
    2 his Complaint,8 he cannot plead “legal conclusions.” See Leite v. Crane Co., 749
    3 F.3d 1117, 1121 (9th Cir. 2014). And as demonstrated below, the “facts” alleged in
    4 Unsworth’s Complaint fall short of “plausibly” establishing his legal theory. Id.
    5             B.    In context, Musk’s statements cannot reasonably be read as
                        asserting underlying knowledge that Unsworth was a pedophile
    6
    7             To determine whether a statement is factual, courts consider “the totality of the

    8 circumstances in which it was made.” Underwager v. Channel 9 Austl., 69 F.3d 361,
    9 366 (9th Cir. 1995). This inquiry is driven by “context.” Knievel, 393 F.3d at 1075.
   10 “What constitutes a statement of fact in one context may be treated as a statement of
   11 opinion in another, in light of the nature and content of the communication taken as a
   12 whole.” Gregory v. McDonnell Douglas Corp., 552 P.2d 425, 428 (Cal. 1976).
   13       Context is therefore “paramount” and can alone “be dispositive.” Knievel, 393

   14 F.3d at 1075; accord Koch v. Goldway, 817 F.2d 507, 509 (9th Cir. 1987) (“Context
   15 does resolve the matter.”); see also Brahms v. Carver, 33 F. Supp. 3d 192, 198
   16 (E.D.N.Y. 2014) (“The upshot is that context is key.”).
   17       Such is the case here. Considering the “totality of the circumstances,”

   18 Underwager, 69 F.3d at 366, Musk’s statements check nearly all the boxes that
   19 courts consider when making similar fact-versus-opinion determinations. His
   20 statements are: (1) cast on a turbulent internet forum (Compl. ¶ 73); (2) part and
   21 parcel of a personal and legal dispute (id.); (3) presented as personal commentary
   22 about disclosed facts (id. ¶ 76); (4) intended as acerbic insults (id. ¶ 80); (5) full of
   23 informalities (id. ¶ 76); (6) couched in terms conveying uncertainty (id. ¶ 83); and
   24 (7) interpreted as opinion by those who received the statement (id. at Ex. J, p. 49-50).
   25               1.    Statements on unmoderated Internet forums are presumptively

   26
   27   8
       Compl. ¶ 139 (alleging that Musk “conveyed to the world that he was in possession
      of undisclosed false and defamatory facts proving Mr. Unsworth to be guilty of the
   28 accusations Musk lodged against him”).
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    1                         opinion
    2             Musk’s statements—all made online through Twitter and e-mail—receive a
    3 presumption of First Amendment protection. Internet speech is unique. “Unlike
    4 many traditional media, there are no controls on [internet] postings.” Global
    5 Telemedia , 132 F. Supp. 2d at 1264. “The low barrier to speaking online allows
    6 anyone with an Internet connection to publish his thoughts, free from the editorial
    7 constraints that serve as gatekeepers for most traditional media of disseminating
    8 information.” Sandals Resorts Int’l Ltd. v. Google, Inc., 925 N.Y.S.2d 407 (2011).
    9             Reasonable readers discount internet speech accordingly. They “expect to see
   10 strongly worded opinions rather than objective facts.” Summit Bank, 206 Cal. App.
   11 4th at 697. And they know that “online discussions” are “more like a vehicle for
   12 emotional catharsis than a forum for the rapid exchange of information.” Krinsky,
   13 159 Cal. App. 4th at 1163; see also Summit Bank, 206 Cal. App. 4th at 696
   14 (explaining that “any reader” familiar with internet culture knows that posters “play
   15 fast and loose with facts” (citations omitted)).
   16             A statement made on an unmoderated internet forum therefore comes with a
   17 heavy thumb on the scale favoring opinion. See Summit Bank, 206 Cal. App. 4th at
   18 696 (explaining that the reader “should be predisposed to view [such statements]
   19 with a certain amount of skepticism, and with an understanding that they will likely
   20 present one-sided viewpoints rather than assertions of provable facts”); Doe v.
   21 Cahill, 884 A.2d 451, 465 (Del. 2005) (explaining that internet forums are “vehicles
   22 for the expression of opinions; by their very nature, they are not a source of facts or
   23 data upon which a reasonable person would rely”).
   24       The presumption is particularly strong here because Twitter was the
   25 gravitational center of this war of words. It is where Musk first responded to
   26 Unsworth’s criticisms and where Unsworth’s lawyer reinvigorated the dispute by
   27 tweeting directly at Musk. (Compl. ¶¶ 73, 87.)
   28       Twitter facilitates the exchange of unfiltered opinion. It allows its users to
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    1 communicate directly with one another through “tweets”—messages of 140-
    2 characters or less—that are not pre-screened by any moderator. See Oracle Am., Inc.
    3 v. Google Inc., 2016 WL 1252794, at *5 (N.D. Cal. Mar. 25, 2016). As courts
    4 recognize, this format breeds informality and incivility. See United States v.
    5 Bradbury, 111 F. Supp. 3d 918, 921 (N.D. Ind. 2015) (recognizing Twitter as a place
    6 where “a lot of people spout off”); Jacobus v. Trump, 51 N.Y.S.3d 330 (N.Y. Sup.
    7 Ct.), aff’d, 64 N.Y.S.3d 889 (N.Y. App. Div. 2017) (“The informal nature of
    8 conversation on Twitter tends to encourage people to talk more freely about others,
    9 including the spreading of rumors and potential falsehoods.” (citation omitted)).
   10             Twitter participants therefore expect to read opinions, not facts. See RainSoft
   11 v. MacFarland, 2018 WL 4696737, at *5 (D.R.I. Sept. 30, 2018) (noting that
   12 “Twitter meltdowns” are an example of the “non-literal commentary [that has]
   13 become an integral part of social discourse” (citation omitted)).
   14             Applying this heavy presumption, courts routinely find that statements of
   15 apparent fact assume the character of opinion when posted on unmoderated internet
   16 forums generally and on Twitter specifically. See, e.g., Clifford v. Trump, 2018 WL
   17 4997419, at *8 (C.D. Cal. Oct. 15, 2018) (treating as “rhetorical hyperbole” a tweet
   18 accusing the plaintiff of lying and calling her a “total con job”); Chaker v. Mateo,
   19 209 Cal. App. 4th 1138, 1142 (2012) (treating as opinion statements on internet
   20 message board that the plaintiff is a “deadbeat dad,” “may be taking steroids,” “is
   21 into illegal activities,” and “picks up street walkers and homeless drug addicts”);
   22 Jacobus, 51 N.Y.S.3d at 334 (treating as opinion tweets that plaintiff had “begged”
   23 for a job and had twice been rejected); Krinsky, 159 Cal. App. 4th at 1159 (treating
   24 as opinion statements that corporation’s leaders are “crooks” and that its president
   25 had “fake medical degree”).
   26                   2.     Musk’s statements were made in the midst of a back-and-forth
                               argument and in direct response to personal and legal attacks
   27
   28             When a statement is made in a “heated and volatile setting, even seemingly
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    1 ‘factual’ statements take on an appearance more closely resembling opinion than
    2 objective fact.” Steam Press Holdings, Inc. v. Haw. Teamsters, Allied Workers
    3 Union, Loc. 996, 302 F.3d 998, 1006 (9th Cir. 2002). In that setting, the reasonable
    4 reader will “anticipate efforts by the parties to persuade others to their positions by
    5 use of epithets, fiery rhetoric or hyperbole, (and thus) language which generally
    6 might be considered as statements of fact may well assume the character of
    7 statements of opinion.” Info. Control Corp., 611 F.2d at 784 (citation omitted).
    8             A statement is particularly likely to be considered opinion when made in direct
    9 response to a personal slight. In Torain v. Liu, for example, the defendant called the
   10 plaintiff a “racist pedophile” after the plaintiff had disparaged the defendant’s family
   11 during a television interview. 2007 WL 2331073, at *1. The court acknowledged
   12 that “pedophile” could potentially signify a factual assertion that “plaintiff was
   13 engaging in acts of pedophilia.” Id. at *3. But because the defendant’s statements
   14 were “made in direct response to what he considered to be plaintiff’s outrageous and
   15 offensive on-air comments,” they “were clearly statements of opinion.” Id. at *2.
   16 Likewise, in Jacobus, the defendant’s tweet contained the facially factual assertion
   17 that he had refused to hire the plaintiff even after she “begged” him for a job. 51
   18 N.Y.S.3d at 342. That too was considered opinion because it “followed plaintiff’s
   19 negative commentary about [the defendant],” which “signals to readers that plaintiff
   20 and [defendant] were engaged in a petty quarrel.” Id.
   21             This presumption is amplified when legal threats have been made. In that
   22 setting, reasonable readers know that the speaker is representing just “one side in a
   23 controversy,” so “they are properly warned to expect that the opinions expressed may
   24 rest on passion rather than factual foundation.” Milkovich v. Lorain J. Co., 497 U.S.
   25 1, 33 n.8 (1990) (Brennan, J., dissenting). Thus, statements made in a legal dispute
   26 by one side about the other are likely to disparage the opponent and are “highly
   27 unlikely to be understood by their audience as statements of fact.” Info. Control
   28 Corp., 611 F.2d at 784 (emphasis added); see also Clifford, 2018 WL 4997419, at *8
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    1 (holding that defendant’s comments were mere “rhetorical hyperbole” when made
    2 after the plaintiff had “present[ed] herself as [the defendant’s] political adversary”
    3 and the defendant’s “tweet served as a public rejoinder to [the] allegations made by
    4 Plaintiff”); Nicosia v. De Rooy, 72 F. Supp. 2d 1093, 1101 (N.D. Cal. 1999)
    5 (explaining that defendant’s statements made on her “personal web-site, and through
    6 Internet discussion groups, as part of a heated debate concerning a bitter legal dispute
    7 [in which the plaintiff] has fully engaged” are more likely to be opinion than fact).
    8             The reasonable reader of Musk’s statements would have known that they were
    9 mere “epithets, fiery rhetoric or hyperbole.” Info. Control Corp., 611 F.2d at 784.
   10 Unsworth set the tone with a crass personal attack, telling Musk to “stick his
   11 submarine where it hurts.” (Compl. ¶ 71.) Unsworth attacked both Musk’s
   12 professional reputation and his personal motives for providing humanitarian aid.
   13             Musk fought fire with fire. He tweeted insults in direct response to
   14 Unsworth’s unflattering public comments—a point specifically pleaded by
   15 Unsworth. (Id. ¶ 72 (alleging Musk made his statements because he was “angered by
   16 Mr. Unsworth’s criticism of [him] in the CNN Interview”).) The reasonable reader
   17 would understand that this was a “petty quarrel.” Jacobus, 51 N.Y.S.3d at 341.
   18             Musk’s e-mails to BuzzFeed are likewise a direct rejoinder to Unsworth. They
   19 came after Unsworth’s lawyer took to Twitter to publish an open letter threatening to
   20 sue Musk. (Compl. ¶ 87.) Unsworth’s lawyer in fact “tagged” @elonmusk and
   21 several journalists in the tweet, ensuring that each would receive direct notice of the
   22 message. (Id. ¶ 87 & Ex. 1 at 2; supra note 6.) Unsworth’s lawyer then suggested to
   23 Musk that he “check his mail before tweeting” and made it publicly known that he
   24 was “in the process of preparing a civil complaint.” (Id. Ex. H, p. 40.) It was this
   25 goading by Unsworth’s counsel that caused the BuzzFeed journalist to e-mail Musk
   26 for comment. (Id. Ex. K, p. 53.)
   27             Only after these public provocations did Musk respond to BuzzFeed with the
   28 allegedly defamatory e-mails. (Id. ¶¶ 87-92.) But by then, the litigation lines had
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    1 been drawn. The reasonable reader would know that Musk’s statements might
    2 “include unsubstantiated charges” and “rest on passion rather than factual
    3 foundation,” Milkovich, 497 U.S. at 33 n.8 (Brennan, J., dissenting), and is therefore
    4 “highly unlikely” to have considered them “statements of fact.” Info. Control Corp.,
    5 611 F.2d at 784. This is particularly so because Unsworth was not standing on the
    6 sideline. He had his lawyer provoke Musk through Twitter—a tactic that resulted in
    7 significant media attention and prompted further comment from Musk. See Nicosia,
    8 72 F. Supp. 2d at 1101 (statements were opinion when made in a “heated debate
    9 concerning a bitter legal dispute” in which the plaintiff was “fully engaged”).
   10                   3.    Musk disclosed the basis for his personal opinion: Thailand’s
                              documented problems with sex tourism
   11
   12             “[A] speaker who outlines the factual basis for his conclusion is protected by

   13 the First Amendment.” Price v. Stossel, 620 F.3d 992, 1004 (9th Cir. 2010). This is
   14 because if “the author presents the factual basis for his statement, [it] can only be
   15 read as his personal conclusion about the information presented, not as a statement of
   16 fact.” Partington v. Bugliosi, 56 F.3d 1147, 1156 (9th Cir. 1995) (citation omitted).
   17 In Carr v. Warden, for example, members of a city planning commission filed a
   18 defamation suit against an activist who said the commission’s vote had been
   19 “bought.” 159 Cal. App. 3d 1166, 1168 (1984). The activist, however, explained his
   20 basis for this charge was a sudden change in the commission’s position. Id.
   21 (“otherwise, how could you explain a 3-3 vote at one meeting on an issue and then at
   22 the very next meeting a 6-1 vote?”). Despite the accusation of impropriety, this
   23 statement was non-actionable because it “disclose[d] the precise facts on which [it]
   24 was based.” Id. at 1170.
   25             The same is true here. Musk disclosed the basis for his opinion: he said that

   26 Unsworth was “sus” for being a “British expat guy who lives in Thailand.” (Compl.
   27 ¶ 73.) See, e.g., United States v. Durham, 902 F.3d 1180, 1261 (10th Cir. 2018)
   28 (citing congressional committee report that identifies Thailand as a country
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   1 “experiencing significant problems with sex tourism”).
   2             The reasonable reader would make this connection. See People v. Paniagua,
   3 209 Cal. App. 4th 499, 521 (2012) (reasoning that the “prosecution did not [need to]
   4 explicitly tell the jury that defendant may have gone to Thailand to have sex with
   5 children” because that “was implicit in the mere mention of Thailand” (alterations
   6 omitted)). Musk’s later statements all build on this theme. (E.g., Compl. ¶ 88.)
   7             But while the reasonable reader would infer this point from the combined
   8 effect of Musk’s statements, there is no need for inference: Musk makes the point
   9 explicitly. In Musk’s e-mail to the BuzzFeed reporter, Musk wrote:
  10
  11
  12 (Id. Ex. K., p. 56.) In other words, Musk asked why was he “suspicious” of
  13 Unsworth? He answers the question with a hyperlink, sharing a Google search of
  14 “Chiang Rai child trafficking.” (Id.)9
  15      Musk made no reference to inside information or first-hand facts as the basis
  16 for his opinion. And the hyperlink posted by Musk signaled to the reader that his
  17 comments were mere opinion. See, e.g., Nicosia, 72 F. Supp. 2d at 1103 (reasoning
  18 that the presence of hyperlink meant that the plaintiff “adequately disclosed the facts
  19 underlying her conclusion” and that her statements were therefore opinion).
  20                   4.    Musk’s over-the-top insults are not statements of fact
  21
  22   9
       Hyperlinks are the “twenty-first century equivalent of the footnote for purposes of
  23 attribution in defamation law, because [they have] become a well-recognized means
     for an author [on] the Internet to attribute a source.” Adelson v. Harris, 973 F. Supp.
  24 2d 467, 484 (S.D.N.Y. 2013), aff’d, 876 F.3d 413 (2d Cir. 2017). “Hyperlinking
     signals that an author has relied on underlying facts, which are themselves subject to
  25 multiple interpretations, and invites the reader to test the reasonableness of the
     author’s interpretation rather than accept it as gospel.” Lyrissa Barnett Lidsky et al.,
  26 Of Reasonable Readers and Unreasonable Speakers: Libel Law in a Networked
     World, 23 Va. J. Soc. Pol’y & L. 155, 165 (2016).
  27 Despite the importance of hyperlinks in internet defamation analysis, Unsworth
     omitted it from his quotation of Musk’s e-mail in the body of his Complaint.
  28 (Compare Compl. ¶ 88 with id. Ex. K, p. 56.)
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   1             Insults receive bright-line protection under the First Amendment. Therefore
   2 “vigorous epithets” and “lusty and imaginative expressions of contempt” cannot
   3 form the basis of a defamation claim. Harrell v. George, 2012 WL 3647941, at *7
   4 (E.D. Cal. Aug. 22, 2012) (alterations and citations omitted).
   5             The more colorful the invective, the more likely the reader is to understand
   6 that it is opinion. Courts trust that “the outrageous and the outlandish will be
   7 recognized for what they are.” Dworkin v. Hustler Mag. Inc., 867 F.2d 1188, 1194
   8 (9th Cir. 1989); see also id. (“Ludicrous statements are much less insidious and
   9 debilitating than falsities that bear the ring of truth.”); Clifford, 2018 WL 4997419, at
  10 *8 (“As the United States Supreme Court has held, a published statement that is
  11 ‘pointed, exaggerated, and heavily laden with emotional rhetoric and moral outrage’
  12 cannot constitute a defamatory statement.” (quoting Milkovich, 497 U.S. at 32));
  13 Ollman v. Evans, 750 F.2d 970, 983 n.25 (D.C. Cir. 1984) (“‘[T]here are some
  14 statements that are in form statements of opinion, or even of fact, which cannot
  15 reasonably be understood to be meant literally and seriously and are obviously mere
  16 vituperation and abuse.’” (quoting Restatement (Second) Torts § 566)).
  17             Internet insults are particularly likely to be construed as opinion. See SI03,
  18 Inc. v. Bodybuilding.com, LLC, 2008 WL 11348458, at *10 (D. Idaho May 1, 2008)
  19 (“[I]n the context of Internet postings and the casual dialogue that typically
  20 accompanies such ‘cyber-smackdowns,’ name-calling, hyperbole, and, generally,
  21 juvenile behavior is not unusual; indeed, it is not only expected at times, but often
  22 encouraged.”); Jacobus, 51 N.Y.S.3d at 339 (noting that insults “on social media
  23 have been held to warrant an understanding that the statements contained therein are
  24 vigorous expressions of personal opinion, rather than the rigorous and
  25 comprehensive presentation of factual matter” (citation omitted)).
  26             Courts therefore routinely find that over-the-top accusations on the internet—
  27 including ones of ostensible fact—are merely insulting opinion. See, e.g., Chaker,
  28 209 Cal. App. 4th at 1149 (internet accusation that plaintiff “picks up street walkers
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   1 and homeless drug addicts and is a dead beat dad” would be “interpreted by the
   2 average Internet reader as [nothing] more than . . . insulting name calling,” mere
   3 “embellishments” meant to convey that the plaintiff is “a dishonest and scary
   4 person”); Wallace v. Geckosystems Int’l Corp., 2013 WL 4054147, at *7-8 (Del.
   5 Super. Ct. July 31, 2013) (internet accusation that plaintiff committed acts of incest
   6 merely “amount to a scathing personal attack”); Finkel v. Dauber, 906 N.Y.S.2d 697
   7 (Sup. Ct. 2010) (internet accusation that plaintiff, among other things, had “sex with
   8 a horse” and “contracted AIDS from a male prostitute” could “only be read as puerile
   9 attempts by adolescents to outdo each other”).
  10             Musk’s statements fall comfortably within this rule. They utilize the same sort
  11 of “imaginative” and “non-literal” insults that courts deem opinion. Knievel, 393
  12 F.3d at 1074. The reasonable reader would understand that Musk’s over-the-top
  13 assertions—for example, that Unsworth was a “pedo guy” and had “a 12-year old
  14 child bride” (Compl. ¶ 116)—were “obviously . . . intended as a means of ridiculing”
  15 Unsworth. Krinsky, 159 Cal. App. 4th at 1177.
  16                   5.    Musk’s colloquial statements are not reasonably interpreted as
                             statements of facts
  17
  18             Statements that lack the “formality and polish typically found in documents []

  19 which a reader would expect to find facts” are treated instead as opinion.
  20 ComputerXpress, Inc. v. Jackson, 93 Cal. App. 4th 993, 1012 (2001) (citation
  21 omitted). To make this determination, courts scrutinize semantics. The less polish a
  22 statement has, the less likely it is to be factual. See Summit Bank, 206 Cal. App. 4th
  23 at 699 (finding that a defendant’s failure to “use proper spelling or grammar” showed
  24 that his statement was intended to be a “free-flowing diatribe” and not a statement of
  25 fact); Global Telemedia, 132 F. Supp. 2d at 1267 (finding that statements were ones
  26 of opinion because they were full of “short-hand phrases and language not generally
  27 found in fact-based documents, such as corporate press releases or SEC filings”);
  28 Rocker Mgmt. LLC v. John Does, 2003 WL 22149380, at *3 (N.D. Cal. May 29,
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   1 2003) (explaining that because a defendant did “not use proper spelling, grammar or
   2 capitalization,” that would “suggest to the reader that his messages are statements of
   3 opinion rather than fact”).
   4             Musk’s statements were “written with a great deal of linguistic informality.”
   5 Global Telemedia, 132 F. Supp. 2d at 1269.
   6                 Musk frequently employed colloquialisms. (See, e.g., Compl. ¶ 76
   7                   (stating the submarine would work “no problemo”); id. ¶ 92 (stating that
   8                   it’s “total bs” that the submarine wouldn’t work); id. ¶ 75 (referring to
   9                   Unsworth as “this dude”).)
  10                 Musk used shorthand. (Id. ¶¶ 73-74 (stating that Unsworth is “sus,” “an
  11                   abbreviated form of ‘suspicious’”); id. ¶¶ 76-77 (referring to Unsworth
  12                   as “pedo guy,” a “shorthand phrase for the term pedophile”); id. ¶ 79
  13                   (“Bet ya a signed dollar it’s true.”).)
  14                 Musk used curse words. (Id. ¶ 88 (calling the BuzzFeed reporter a
  15                   “fucking asshole”); id. (“I fucking hope he sues me.”).)
  16                 Musk’s statements have typos. (Id. ¶ 76 (“We will make one of the
  17                   mini-sub/pod going [sic] all the way to Cave 5.”).)
  18                 Musk wrote in fragments. (Id. ¶ 92 (“Never saw Unsworth at any
  19                   point.”); id. (“Was told he was banned from the site.”).)
  20             This informal style “alert[s] a reasonable reader to the fact that these
  21 observations are probably not written by someone with authority or firm factual
  22 foundations for his beliefs.” Global Telemedia, 132 F. Supp. 2d at 1269.
  23             Compare this to Musk’s measured approach when apologizing for his
  24 statements. There, Musk writes in complete sentences and with a restrained and
  25 professional tone. (Compl. ¶ 80 (“[H]is actions against me do not justify my actions
  26 against him, and for that I apologize to Mr. Unsworth and to the companies I
  27 represent as leader. The fault is mine and mine alone.”). The reasonable reader
  28 would know which statement to take seriously and which to discount.
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   1                   6.     Musk’s expressions of uncertainty show that his statements did
                              not have a concrete factual foundation and were therefore
   2
                              opinion
   3
                 Unless a speaker is “claiming to be in possession of objectively verifiable
   4
       facts,” his statement is necessarily just “an interpretation, a theory, conjecture, or
   5
       surmise” and “is not actionable.” Yagman, 55 F.3d at 1441.
   6
                 Not only did Musk never claim to be in possession of such facts, but he was
   7
       open that he did not and could not have such facts in his possession:
   8
                     Musk stated that he did not meet Unsworth when they were in Thailand.
   9
                       (Compl. ¶ 73 (“Never saw [Unsworth] . . . at any point when we were in
  10
                       the caves.”); id. ¶ 92 (“Never saw Unsworth at any point.”).) From then
  11
                       on, Musk and Unsworth were separated by 8,000 miles and an ocean.
  12
                     Musk demonstrated a lack of familiarity with Unsworth, referring to
  13
                       him with generic placeholders. (Id. ¶ 73 (referring to Unsworth as the
  14
                       “British expat guy who lives in Thailand”); id. ¶ 75 (referring to
  15
                       Unsworth as “this dude”).)
  16
                     Musk made clear on numerous occasions that his suspicions were just
  17
                       unverified theories. His statements are flatly inconsistent with the
  18
                       notion that he possessed first-hand information about Unsworth. (Id.
  19
                       ¶ 79 (“Bet ya a signed dollar it’s true.”); id. ¶ 83 (“You don’t think it’s
  20
                       strange he hasn’t sued me?”); id. ¶ 88 (“[M]ost of the actual dive team
  21
                       refused to hang out with him. I wonder why . . .”).)
  22
                     Musk publicly disavowed his Twitters statements. He deleted the
  23
                       offending tweets, “apologize[d] to Mr. Unsworth,” and admitted he
  24
                       overreacted. (Id. ¶ 80.)
  25
                     Musk’s Buzzfeed comments over e-mails were expressly not meant to
  26
                       be relied on as fact, as Musk designated his diatribe “off the record.”
  27
                       (Id. Ex. K., p. 55.)
  28
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   1             This context shows that Musk’s statements would not have been interpreted as
   2 statements of literal fact. See Tipping, 2016 WL 397088, at *5 (granting defendant’s
   3 motion to dismiss where there were “no allegations that [the defendant] had any
   4 knowledge about Plaintiff before encountering her for the first time at the [event
   5 where he allegedly defamed her], much less any knowledge concerning her personal
   6 life or the quality of her [professional] work”).
   7             At most, Musk told others to investigate for themselves. (Compl. ¶ 88 (“I
   8 suggest that you call people you know in Thailand, find out what’s actually going.”);
   9 id. Ex. J, p. 47 (“‘Did you investigate at all?’ [Musk] said in a follow-up tweet to [a
  10 Twitter user]. ‘I’m guessing answer is no. Why?’”).) Such suggestions—even if
  11 unreasonable—are not defamatory. See Brian v. Richardson, 87 N.Y.2d 46, 53
  12 (1995) (explaining that when “the purpose of defendant’s article was to advocate an
  13 independent governmental investigation,” the “reasonable reader would understand
  14 the statements defendant made about plaintiff as mere allegations to be investigated
  15 rather than as facts”).
  16                   7.    Readers did not interpret Musk’s statements as factual assertions
  17             Good evidence of how a “reasonable reader” would view Musk’s statements is
  18 how readers actually did. Those who read and commented on Musk’s comments
  19 uniformly treated them as opinion. The reasonable reader interprets an internet post
  20 alongside its comments. Global Telemedia, 132 F. Supp. 2d at 1268 (explaining that
  21 the “reasonable reader” would interpret the statement in question by “looking at the
  22 hundreds and thousands of postings about the company from a wide variety of
  23 posters”); Feld v. Conway, 16 F. Supp. 3d 1, 4 (D. Mass. 2014) (“The tweet cannot
  24 be read in isolation, but in the context of the entire discussion.”); see also Knievel,
  25 393 F.3d at 1076 (“Just as a reader must absorb a printed statement in the context of
  26 the media in which it appears, a computer user necessarily views web pages in the
  27 context of the links through which the user accessed those pages.”).
  28             Therefore when a statement is published alongside commentary doubting its
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   1 veracity, that statement is more likely to be viewed as opinion. See Cahill, 884 A.2d
   2 at 467 (finding that a statement was opinion in part because “a[t] least one reader of
   3 the blog quickly reached the conclusion that Doe’s comments were no more than
   4 unfounded and unconvincing opinion”); Redmond v. Gawker Media, LLC, 2012 WL
   5 3243507, at *6 (Cal. Ct. App. Aug. 10, 2012) (noting that a statement was treated as
   6 opinion by readers “[a]s shown by the comments posted” below the article). Even
   7 limited to the cherrypicked information included in Unsworth’s Complaint, it’s clear
   8 that none of Musk’s statements were treated as fact by those who encountered them:
   9              Twitter user @yoda wrote to Musk: “one other thing, elon. your
  10                dedication to facts and truth would have been wonderful if applied to
  11                that time when you called someone a pedo.” (Compl. Ex. I, p. 42.)
  12                @yoda also communicated his incredulity when he tweeted: “what i
  13                think is especially strange here is that you’re wondering why
  14                [Unsworth] hasn’t sued you while the rest of us are wondering why you
  15                did something so egregious that he could sue you for in the first place.”
  16                (Id. Ex. J, p. 47.)
  17              As pleaded by Unsworth, the public criticized Musk for making an
  18                “accusation of pedophilia against Mr. Unsworth without any evidence.”
  19                (Id. ¶ 80.)
  20              BuzzFeed news titled its article about Musk’s tweets: “Elon Musk Has
  21                Revisited His Baseless Pedophile Claims.” (Id. Ex. J, p. 44 (emphasis
  22                added).) The article further characterized Musk’s tweets as
  23                “groundless.” (Id.) It also notes that the public generally understood
  24                Musk’s statements to be unfounded insults, since Musk “fac[ed]
  25                widespread condemnation” after the tweets. (Id.)
  26              User comments on the BuzzFeed article were uniformly critical of
  27                Musk. But none appear to have interpreted Musk’s comments as
  28                statements of fact. (Id. at p. 49 (“Social media is destroying society!”);
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   1                     id. (describing comments as “mind-bendingly stupid”); id. (noting that
   2                     this isn’t the first time an executive had made “idiotic comments”).)
   3                   BuzzFeed described Musk’s e-mail as lodging “evidenceless criticism of
   4                     the rescuer.” (Id. Ex. K, p. 55.)
   5             Determining the views of the reasonable reader is simplified when actual
   6 readers react. Cahill, 884 A.2d at 467; Redmond, 2012 WL 3243507, at *6. While
   7 readers were disappointed in Musk or offended by him, none took his statements as
   8 true. “Context does resolve the matter.” Koch, 817 F.2d at 509. Musk’s
   9 statements—when examined in context—were non-actionable opinion.
  10             C.      Musk’s Statements are Not Sufficiently Factual to be Susceptible of
                         Being Proved True or False
  11
  12             Even if context here is not dispositive on its own, Musk’s statements constitute

  13 nonactionable opinion because they are not “sufficiently factual to be susceptible of
  14 being proved true or false.” Underwager, 69 F.3d at 366. The determination of
  15 whether a statement can be “proved true or false” must account for the context in
  16 which the statement is made; “the fact that [a] literal interpretation could be proven
  17 true or false is immaterial.” Knievel, 393 F.3d at 1078. Here, an assessment of
  18 Musk’s statements in context reveals that they are not sufficiently factual to be
  19 susceptible of being proved true or false.
  20       First, Musk’s conclusions about Unsworth were “inherently subjective”

  21 because they were based on his personal judgment and assessment of the fact that
  22 Unsworth was a British expat who lived in Thailand. Partington, 56 F.3d at 1157-58
  23 (“assessments . . . [that] are inherently subjective . . . [are] not susceptible of being
  24 proved true or false”); Dreamstone Ent. v. Maysalward Inc., 2014 WL 4181026, at
  25 *8 (C.D. Cal. Aug. 18, 2014) (opinion of party’s “subjective state of mind [] is less
  26 susceptible to being proven true or false”); Mattel, Inc. v. MCA Recs., 28 F. Supp. 2d
  27 1120, 1161 (C.D. Cal. 1998) (speaker’s “judgment” is not “susceptible to an
  28 objective determination of truth or falsehood”).
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   1             In fact, a district court in this circuit considering similar subject matter rejected
   2 a defamation claim on these grounds. The court held that when the defendant stated
   3 she thought the plaintiff corporation was “a front for pedophilia,” that statement was
   4 “not susceptible to empirical testing” because the proof of truth or falsity required an
   5 assessment of what the facts looked like to the defendant. Higher Balance, LLC v.
   6 Quantum Future Group, 2008 WL 5281487, at *9-10 (D. Or. Dec. 18, 2008). The
   7 same is true here. See Price v. Viking Penguin, Inc., 881 F.2d 1426, 1443 (8th Cir.
   8 1989) (explaining that what constitutes “‘suspicious’ is a matter of opinion”).
   9             Second, Musk’s claims that Unsworth is “sus” or a “pedo guy” are, at most,
  10 conclusions that are “too loose and hyperbolic” to be proved true or false. Art of
  11 Living Found. v. Does, 2011 WL 2441898, at *8 (N.D. Cal. June 15, 2011) (finding
  12 defendant’s conclusion that plaintiff must be a “front-end name for a group of
  13 fraudulent NGOs” that are committing “large-scale organized fraud according to the
  14 laws of several countries” cannot be proven true or false).
  15             The “lack of precision” in terms like “sus” and “pedo guy” make them
  16 “incapable of being proven true or false.” McCabe v. Rattiner, 814 F.2d 839, 841-42
  17 (1st Cir. 1987) (finding “scam” to be insufficiently precise); Buckley v. Littell, 539
  18 F.2d 882, 893 (2d Cir. 1976) (“[T]he use of ‘fascist,’ ‘fellow traveler’ and ‘radical
  19 right’ as political labels in Wild Tongues cannot be regarded as having been proved
  20 to be statements of fact.”). And the Ninth Circuit holds that informal terms such as
  21 “pimp”—much like “sus” and “pedo guy”—cannot be proven true or false because
  22 they are nothing more than “sophomoric slang.” Knievel, 393 F.3d at 1078. This is
  23 especially true when made, as here, in the context of a website like Twitter that is rife
  24 with sophomoric commentary (Knievel, 393 F.3d at 1078 (reading “pimp” in context
  25 of the “satirical, risqué, and sophomoric slang found on the rest of the site”)) and as
  26 part of a “stream of [] rhetoric” (Lieberman v. Fieger, 338 F.3d 1076, 1080 (9th Cir.
  27 2003)).
  28             Musk’s later comments that Unsworth alleges are defamatory (Compl. ¶¶ 80,
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   1 83, 88) are nothing more than a continuation of the same ongoing stream of rhetoric
   2 that began with his “sus” and “pedo guy” comments, and therefore are similarly not
   3 susceptible to an objective determination of truth or falsehood. In Mattel, the court
   4 found that the claims of a “crime,” “heist,” and “theft” could not be proven true or
   5 false because they were made at a time “where the audience would anticipate efforts
   6 by the parties to persuade others to their positions by use of epit[hets], fiery rhetoric,
   7 or hyperbole.” 28 F. Supp. 2d at 1161 (citations omitted). Here, Musk’s later
   8 comments were all published with reference to his earlier comments that had created
   9 an ongoing public debate (Compl. ¶¶ 79-80, 83)—a public debate engaged in and
  10 stoked by Unsworth and his team. (See id. ¶¶ 82-87.) The fiery context in which
  11 Musk’s later comments were made therefore make them insusceptible to an objective
  12 determination of truth or falsehood. See Stolatis v. Hernandez, 77 N.Y.S.3d 473
  13 (2018) (“[V]iewing the entire series of posts as a whole, as we must, we conclude
  14 that the posts constituted an expression of protected opinion.”).
  15             Finally, Unsworth also alleges that Musk’s statement that Unsworth made an
  16 “utterly false” claim about Musk is defamatory because it “false[ly] accuses Mr.
  17 Unsworth of being a liar.” (Compl. ¶¶ 92-93.) But “lying” is not by itself
  18 defamatory because it applies to a “spectrum of untruths including ‘white lies,’
  19 ‘partial truths,’ ‘misinterpretation,’ and ‘deception.’” Underwager, 69 F.3d at 367.
  20 Where “plaintiff fail[s] to show that the challenged statement implied a verifiable
  21 assertion of perjury, [] the statement [is] protected under the First Amendment.”
  22 Gardner, 563 F.3d at 987; Clifford, 2018 WL 4997419, at *7-8 (rejecting plaintiff’s
  23 claim that defendant’s assertions that she had lied was defamatory). Here, the
  24 Complaint does not allege that Musk’s accusation that Unsworth’s claim was “utterly
  25 false” is a “verifiable assertion of perjury” (Compl. ¶¶ 92, 125-26) and thus
  26 Unsworth cannot show that Musk’s “utterly false” comment is actionable.
  27
  28
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   1 Dated: December 26, 2018              HUESTON HENNIGAN LLP
   2
   3                                       By: /s/ John C. Hueston
   4                                           John C. Hueston
                                               Attorneys for Defendant Elon Musk
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   9
                                UNITED STATES DISTRICT COURT
  10
                              CENTRAL DISTRICT OF CALIFORNIA
  11
  12
       VERNON UNSWORTH,                             Case No. 2:18-cv-08048
  13
                       Plaintiff,                   Judge: Hon. Stephen V. Wilson
  14
                 vs.                                DECLARATION OF MOEZ M.
  15                                                KABA IN SUPPORT OF
                                                    DEFENDANT ELON MUSK’S
  16 ELON MUSK,                                     MOTION TO DISMISS PLAINTIFF
                                                    VERNON UNSWORTH’S
  17                   Defendant.                   COMPLAINT
  18                                                Hearing Date: April 1, 2019
                                                    Time: 1:30 p.m.
  19                                                Place: Courtroom 10A
  20                                                Complaint Filed:    Sept. 17, 2018
                                                    Trial Date:         None set
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                         KABA DECL. ISO DEFENDANT ELON MUSK’S MOTION TO DISMISS
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   1
                               DECLARATION OF MOEZ M. KABA
   2
                 I, Moez M. Kaba, declare as follows:
   3
                 1.    I am an attorney at the law firm of Hueston Hennigan LLP, counsel of
   4
       record in this action for Defendant Elon Musk. I am a member in good standing of
   5
       the Bar of the State of California and admitted to practice before this Court. I have
   6
       personal knowledge of the facts set forth in this declaration and, if called to testify, I
   7
       could and would testify competently thereto.
   8
                 2.    Attached hereto as Exhibit 1 is a true and correct copy of excerpts of an
   9
       e-mail exchange between Richard Stanton, a British diver who assisted in the cave
  10
       rescue, and Elon Musk, retrieved on December 26, 2018 from the following link:
  11
       https://twitter.com/elonmusk/status/1016684366083190785?lang=en
  12
                 3.    Attached hereto as Exhibit 2 is a true and correct copy of a letter from
  13
       the Prime Minister of the Kingdom of Thailand to Elon Musk, dated July 26, 2018.
  14
                 4.    Attached hereto as Exhibit 3 is a true and correct copy of a letter from
  15
       Sunai Praphuchanay, Lieutenant General in the Royal Thai Army, to Elon Musk,
  16
       dated July 20, 2018.
  17
                 5.    Attached hereto as Exhibit 4 is a true and correct copy of a “Royal Thai
  18
       Army Special Warfare Command Certificate” awarded by the Royal Thai Army, to
  19
       Elon Musk.
  20
  21
       Dated: December 26, 2018                  HUESTON HENNIGAN LLP
  22
  23
                                                 By: ____/s/ Moez M. Kaba
  24
                                                      Moez M. Kaba
  25                                                  Attorney for Defendant Elon Musk
  26
  27
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           EXHIBIT 1 TO
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          DECLARATION




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                             Elon Musk                                                                   Follow            
                             @elonmusk

                 Replying to @BBCWorld

                 The former Thai provincial governor
                 (described inaccurately as “rescue chief”) is
                 not the subject matter expert. That would be
                 Dick Stanton, who co-led the dive rescue
                 team. This is our direct correspondence:

   Elon Musk                                          © 2018 Twitter
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                                                     Terms Privacy policy

       Joined June 2009
                                                       Cookies Ads info




                 7:03 AM - 10 Jul 2018


                 4,560 Retweets 32,264 Likes

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           EXHIBIT 2 TO
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           EXHIBIT 3 TO
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           EXHIBIT 4 TO
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   9
                                UNITED STATES DISTRICT COURT
 10
                              CENTRAL DISTRICT OF CALIFORNIA
 11
 12
       VERNON UNSWORTH,                            Case No. 2:18-cv-08048
 13
                       Plaintiff,                  Judge: Hon. Stephen V. Wilson
 14
                 vs.                               [PROPOSED] ORDER GRANTING
 15                                                DEFENDANT ELON MUSK’S
                                                   MOTION TO DISMISS PLAINTIFF
 16 ELON MUSK,                                     VERNON UNSWORTH’S
                                                   COMPLAINT
 17                    Defendant.
                                                   Hearing Date: April 1, 2019
 18                                                Time: 1:30 p.m.
                                                   Place: Courtroom 10A
 19
                                                   Complaint Filed:    Sept. 17, 2018
 20                                                Trial Date:         None set
 21
 22
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                   [PROPOSED] ORDER GRANTING DEFENDANT ELON MUSK’S MOTION TO DISMISS
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   1             Before this Court is Defendant Elon Musk’s Motion to Dismiss Plaintiff
   2 Vernon Unsworth’s Complaint. After reviewing and considering the papers filed in
   3 connection with the motion, and hearing the arguments from the parties, the Court
   4 GRANTS Elon Musk’s Motion to Dismiss.
   5             IT IS HEREBY ORDERED that Plaintiff’s Complaint in the above-captioned
   6 case is DISMISSED.
   7
   8 Dated: _____________, 2019
                                                   Hon. Stephen V. Wilson
   9                                               Judge, United States District Court
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                   [PROPOSED] ORDER GRANTING DEFENDANT ELON MUSK’S MOTION TO DISMISS
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                             EXHIBIT 48




                             EXHIBIT 48



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 FT Collections Global trade

 Opinion Elon Musk
 Elon Musk’s weakness for self-promotion masks his potential
 The billionaire’s meddling in the Thai cave rescue looks like a narcissistic PR stunt

 PILITA CLARK




Tesla's Elon Musk shocked investors with his belligerent demeanour on an earnings call © AFP

Pilita Clark JULY 13 2018


There has never been anyone quite like Elon Musk in my lifetime. Other tech billionaires have built
extraordinary companies, disrupted industries and launched their own space rockets. Fewer have
been compared with Thomas Edison or amassed Mr Musk’s rock star-sized fan base.

None has sent a red electric sports car into orbit with a space-suited dummy in the driver’s seat
called Starman, as Mr Musk did in February. Or raised millions of dollars by selling $500 flame-
throwers. Or designed a gigantic rocket to go to Mars codenamed the BFR, short for “Big F . . . ing
Rocket”.

Like so many others, I have long found it hard to resist Mr Musk’s exuberant approach to life. I was
never convinced that he was motivated purely by a desire to tackle humanity’s biggest problems.
And yet, his Tesla electric cars and gigafactory battery plant have helped do that, spurring more
traditional carmakers to hasten their plug-in plans.

I never much cared for his plans to colonise Mars either, but who could ignore his SpaceX
company’s reusable rocket technology and its promise to slash launch costs? Mr Musk’s
                                                                                 Exhibit 48
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hucksterish gift for self-publicity could grate, especially when a burst of tweets to his 22m Twitter
followers seemed timed to distract from setbacks in his empire. But even this was forgivable for a
man with so many undeniable achievements.

Yet, recently, something has shifted. As the billionaire has struggled to speed up production of
Tesla’s mass-market Model 3 car, his behaviour has noticeably soured.

In April, he described media reports questioning Tesla’s safety record as the work of union-backed
extremists. The following month Tesla shares slumped after a bizarre earnings call during which
Mr Musk cut off an analyst trying to ask if the company needed to raise more money from
investors, saying “boring bonehead questions are not cool”. Then came his intervention in the
global drama surrounding the 12 boys who were trapped in a flooded cave in Thailand last week.

Responding to a Twitter user, Mr Musk came up with the idea of building a “kid-sized submarine”
to help in the rescue efforts. It ultimately was not needed and when the BBC reported a Thai official
had said the equipment was “not practical with our mission”, Mr Musk lashed out.

The official in question was “not the subject matter expert”, he snapped in a tweet. “That would be
Dick Stanton, who co-led the dive rescue team.” Astonishingly, he then tried to prove his point by
posting his email exchange with Mr Stanton, who had politely urged him to continue working on
the capsule.

Perhaps Mr Stanton truly was grateful for his help and not merely fobbing off a powerful billionaire
in the middle of a nightmarishly complex rescue mission. Either way, what had begun as an offer of
help started to look more like a PR stunt from a meddling narcissist.

That is a shame, because it arms critics of a billionaire who can use his one-man-marketing
machine prowess to far better effect. Last year he made a headline-grabbing bet on Twitter that if
Tesla could not build a huge battery in 100 days in an Australian state plagued by blackout, he
would deliver it for free. The world’s biggest battery was duly powered up ahead of schedule in a
country where coal-friendly federal politicians have ridiculed promising new energy technologies.

Another Muskian intervention saw crates of his battery packs shipped to Puerto Rico last year after
Hurricane Maria left thousands of people without power.

In Thailand though, he misstepped. I hope there is no repeat. For all his over-promising and PR
antics, Mr Musk remains broadly a force for good. One of his most appealing traits has been his
cheerful embrace of failure. Witness the blooper reel of spectacular SpaceX rocket blow-ups he
released last year. SpaceX, of course, is no longer causing anything like the headache of Tesla’s
Model 3 production woes.



                                                                                       Exhibit 48
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Perhaps this turmoil will prove helpful. Mr Musk is sometimes compared with another tech genius:
the late Apple co-founder Steve Jobs. A recent book suggests Jobs changed after leaving Apple in
1985 and suffering setbacks in his other ventures.

In The Asshole Survival Guide, Stanford professor, Robert Sutton, reports a conversation with
Pixar’s president, Ed Catmull, who worked closely with Jobs for many years. He said the Apple
chief’s wilderness years made him a more thoughtful and better leader, who returned to create the
Apple success story we know.

The comparison only goes so far. Mr Musk is doing very different things to Jobs, or indeed anyone.
And, as he tweeted last week to a critic: “If I am a narcissist (which might be true), at least I am a
useful one.”


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                                                                                        Exhibit 48
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